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                                                              APPEAL,E−FILE,PSEUDO−GR,TYPE−D
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                  CIVIL DOCKET FOR CASE #: 1:25−cv−00766−JEB
                                   Internal Use Only

  J.G.G. et al v. TRUMP et al                                 Date Filed: 03/15/2025
  Assigned to: Chief Judge James E. Boasberg                  Jury Demand: None
  Related Case: 1:25−cv−01774−JEB                             Nature of Suit: 440 Civil Rights: Other
  Case in other court: USCA, 25−05068                         Jurisdiction: U.S. Government Defendant
                       USCA, 25−05068
                       USCA, 25−05124
  Cause: 28:1331 Federal Question: Other Civil Rights
  Plaintiff
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    Case 1:25-cv-00766-JEB Document 151   Filed 06/10/25 Page 9 of 122
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    Case 1:25-cv-00766-JEB Document 151   Filed 06/10/25 Page 10 of 122
USCA Case #25-5217    Document #2120080      Filed: 06/10/2025 Page 10 of 122

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USCA Case #25-5217    Document #2120080      Filed: 06/10/2025 Page 13 of 122



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    Case 1:25-cv-00766-JEB Document 151       Filed 06/10/25 Page 16 of 122
USCA Case #25-5217    Document #2120080          Filed: 06/10/2025 Page 16 of 122

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                                                    Michael King Thomas Tan
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Lee Gelernt
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

  Plaintiff
  DORYS MENDOZA                         represented by Aditi Shah
  as next friend on behalf of M.R.M.                   (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                    Michael King Thomas Tan
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Lee Gelernt
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


  V.
  Defendant


                                                                                    16
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  DONALD J. TRUMP                                represented by Abhishek Kambli
  in his official capacity as President of the                  DOJ−USAO
  United States                                                 950 Pennsylvania Avenue, NW
                                                                Washington, DC 20530−0001
                                                                202−445−5496
                                                                Email: abhishek.kambli@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                               August Edward Flentje
                                                               DOJ−Civ
                                                               PO Box 868 Ben Franklin Station
                                                               Washington, DC 20044
                                                               202−514−3309
                                                               Email: august.flentje@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Christina Greer
                                                               US DEPARTMENT OF JUSTICE, CIVIL
                                                               DIVISION
                                                               P.O. Box 878
                                                               Ben Franklin Station
                                                               Washington, DC 20044
                                                               (202) 598−8770
                                                               Email: christina.p.greer@usdoj.gov
                                                               TERMINATED: 03/19/2025
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Drew C Ensign
                                                               U.S. DEPARTMENT OF JUSTICE
                                                               950 Pennsylvania Avenue
                                                               Washington, DC 20004
                                                               202−514−2331
                                                               Email: drew.c.ensign@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Ernesto Horacio Molina , Jr.
                                                               U.S. DEPARTMENT OF JUSTICE
                                                               Office of Immigration Litigation,
                                                               Appellate Section
                                                               PO BOX 878
                                                               Ben Franklin Station
                                                               Washington, DC 20044
                                                               (202) 616−9344
                                                               Email: ernesto.h.molina@usdoj.gov
                                                               ATTORNEY TO BE NOTICED

                                                               Tiberius T Davis
                                                               DOJ−Civ


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                                                          Civil Division
                                                          950 Pennsylvania Avenue
                                                          Suite 400
                                                          Washington, DC 20530−0001
                                                          202−326−7924
                                                          Email: tiberius.davis@usdoj.gov
                                                          ATTORNEY TO BE NOTICED

  Defendant
  PAMELA J. BONDI                             represented by Abhishek Kambli
  Attorney General of the United States, in                  (See above for address)
  her official capacity                                      LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                          August Edward Flentje
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Christina Greer
                                                          (See above for address)
                                                          TERMINATED: 03/19/2025
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Drew C Ensign
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Ernesto Horacio Molina , Jr.
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Tiberius T Davis
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

  Defendant
  KRISTI NOEM                                 represented by Abhishek Kambli
  Secretary of the U.S. Department of                        (See above for address)
  Homeland Security, in her official                         LEAD ATTORNEY
  capacity                                                   ATTORNEY TO BE NOTICED

                                                          August Edward Flentje
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Christina Greer
                                                          (See above for address)


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                                                            TERMINATED: 03/19/2025
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Drew C Ensign
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Ernesto Horacio Molina , Jr.
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Tiberius T Davis
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

  Defendant
  U.S. DEPARTMENT OF                         represented by Abhishek Kambli
  HOMELAND SECURITY                                         (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            August Edward Flentje
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Christina Greer
                                                            (See above for address)
                                                            TERMINATED: 03/19/2025
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Drew C Ensign
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Ernesto Horacio Molina , Jr.
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Tiberius T Davis
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

  Defendant
  MADISON SHEAHAN                            represented by Abhishek Kambli
  Acting Director and Senior Official                       (See above for address)
  Performing the Duties of the Director of                  LEAD ATTORNEY


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  U.S. Immigration and Customs                        ATTORNEY TO BE NOTICED
  Enforcement, in her official capacity
                                                      August Edward Flentje
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Christina Greer
                                                      (See above for address)
                                                      TERMINATED: 03/19/2025
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Drew C Ensign
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ernesto Horacio Molina , Jr.
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Tiberius T Davis
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

  Defendant
  U.S. IMMIGRATION AND                    represented by Abhishek Kambli
  CUSTOMS ENFORCEMENT                                    (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      August Edward Flentje
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Christina Greer
                                                      (See above for address)
                                                      TERMINATED: 03/19/2025
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Drew C Ensign
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ernesto Horacio Molina , Jr.
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED


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                                                             Tiberius T Davis
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  MARCO RUBIO                                    represented by Abhishek Kambli
  Secretary of State, in his official capacity                  (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                             August Edward Flentje
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Christina Greer
                                                             (See above for address)
                                                             TERMINATED: 03/19/2025
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Drew C Ensign
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Ernesto Horacio Molina , Jr.
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Tiberius T Davis
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

  Defendant
  U.S. STATE DEPARTMENT                          represented by Abhishek Kambli
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                             August Edward Flentje
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Christina Greer
                                                             (See above for address)
                                                             TERMINATED: 03/19/2025
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED



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                                                        Drew C Ensign
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Ernesto Horacio Molina , Jr.
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Tiberius T Davis
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Defendant
  PETER B. HEGSETH                        represented by Tiberius T Davis
  Secretary of Defense, in his official                  (See above for address)
  capacity                                               ATTORNEY TO BE NOTICED

  Defendant
  U.S. DEPARTMENT OF DEFENSE              represented by Drew C Ensign
                                                         U.S. DEPARTMENT OF JUSTICE
                                                         Civil Division
                                                         950 Pennsylvania Avenue
                                                         Washington, DC 20004
                                                         202−514−2331
                                                         Email: drew.c.ensign@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Tiberius T Davis
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

  Movant
  BRANDON GILL                            represented by Andrew Block
  The Honorable                                          AMERICA FIRST LEGAL
                                                         FOUNDATION
                                                         611 Pennsylvania Avenue SE
                                                         #231
                                                         Washington, DC 20003
                                                         202−836−7958
                                                         Email: andrew.block@aflegal.org
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

  Movant
  JANICE WOLK GRENADIER                   represented by JANICE WOLK GRENADIER
  TERMINATED: 03/27/2025                                 15 West Spring Street
                                                         Alexandria, VA 22301
                                                         (202) 268−7178


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                                                PRO SE

  Movant
  JOHN W. KEKER                    represented by Steven A. Hirsch
                                                  COMPLEX APPELLATE LITIGATION
                                                  GROUP LLP
                                                  96 Jessie Street
                                                  San Francisco, CA 94105
                                                  415−649−6700
                                                  Email: steve.hirsch@calg.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

  Movant
  ROBERT A. VAN NEST               represented by Steven A. Hirsch
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

  Movant
  ELLIOT R. PETERS                 represented by Steven A. Hirsch
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

  Movant
  LAURIE CARR MIMS                 represented by Steven A. Hirsch
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

  Movant
  COOLIDGE REAGAN                  represented by Dan Backer
  FOUNDATION                                      CHALMERS, ADAMS, BACKER &
                                                  KAUFMAN LLC
                                                  10521 Judicial Drive
                                                  Suite 200−A
                                                  Fairfax, VA 22030
                                                  202−210−5431
                                                  Fax: 202−478−0750
                                                  Email: dbacker@ChalmersAdams.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

  Movant
  JOSHUA HALL                      represented by JOSHUA HALL
  TERMINATED: 06/04/2025                          #104525
                                                  DAUPHIN COUNTY PRISON
                                                  501 MALL ROAD


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                                                              HARRISBURG, PA 17111−1299
                                                              PRO SE

  Amicus
  MARK J. ROZELL                               represented by Kelly Brian McClanahan
                                                              NATIONAL SECURITY COUNSELORS
                                                              1451 Rockville Pike
                                                              Suite 250
                                                              Rockville, MD 20852
                                                              501−301−4672
                                                              Fax: 240−681−2189
                                                              Email: kel@nationalsecuritylaw.org
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

  Amicus
  HEIDI KITROSSER                              represented by Kelly Brian McClanahan
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

  Amicus
  MITCHEL A. SOLLENBERGER                      represented by Kelly Brian McClanahan
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

  Amicus
  MEGHAN KELLY                                 represented by MEGHAN KELLY
                                                              34012 Shawnee Drive
                                                              34012 Shawnee Drive
                                                              Dagsboro, DE 19939
                                                              302−278−2975
                                                              Email: meghankellyesq@yahoo.com
                                                              PRO SE


   Date Filed   #   Docket Text
   03/15/2025   1   COMPLAINT against All Defendants ( Filing fee $ 405 receipt number
                    ADCDC−11544662) filed by J.G.O., G.F.F., J.G.G., W.G.H., J.A.V.. (Attachments: #
                    1 Civil Cover Sheet, # 2 Summons Donald J. Trump, # 3 Summons Pamela Bondi, # 4
                    Summons Kristi Noem, # 5 Summons DHS, # 6 Summons Madison Sheahan, # 7
                    Summons ICE, # 8 Summons Marco Rubio, # 9 Summons DOS, # 10 Summons
                    USAO)(Gelernt, Lee) (Entered: 03/15/2025)
   03/15/2025   2   SEALED MOTION to Proceed Under Pseudonym filed by J.G.G., G.F.F., J.G.O.,
                    W.G.H., J.A.V. (Attachments: # 1 Declaration of J.G.G., # 2 Declaration of W.G.H., #
                    3 Declaration of Molly Lauterback, # 4 Declaration of J.A.V., # 5 Declaration of
                    Grace Carney, # 6 Text of Proposed Order)(Gelernt, Lee) (Entered: 03/15/2025)



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   03/15/2025   3   MOTION for Temporary Restraining Order by J.G.G., G.F.F., J.G.O., W.G.H.,
                    J.A.V.. (Attachments: # 1 Certificate of Counsel, # 2 Memorandum in Support, # 3
                    Declaration of J.G.G., # 4 Declaration of Grace Carney, # 5 Declaration of J.G.O., # 6
                    Declaration of W.G.H., # 7 Declaration of Molly Laterback, # 8 Declaration of
                    J.A.V., # 9 Text of Proposed Order)(Gelernt, Lee) (Entered: 03/15/2025)
   03/15/2025   4   MOTION to Certify Class by J.G.G., G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: #
                    1 Declaration of Daniel Galindo, # 2 Text of Proposed Order)(Gelernt, Lee) (Entered:
                    03/15/2025)
   03/15/2025   5   NOTICE of Appearance by Daniel Antonio Galindo on behalf of All Plaintiffs
                    (Galindo, Daniel) (Entered: 03/15/2025)
   03/15/2025       MINUTE ORDER granting 2 SEALED MOTION to Proceed Under Pseudonym. The
                    Court has reviewed Plaintiffs' 2 Motion to Proceed Pseudonymously. Given the
                    expedited nature of this matter, it determines that a full Opinion is not practical at this
                    time. Believing that Plaintiffs have made the required showing on the relevant factors,
                    the Court ORDERS that: 1) Their 2 Motion is GRANTED; and 2) They shall be
                    permitted to proceed pseudonymously unless and until the assigned judge determines
                    otherwise. Signed by Chief Judge James E. Boasberg on 3/15/2025. (zjd) Modified on
                    3/15/2025 (zjd). (Entered: 03/15/2025)
   03/15/2025       Case Assigned to Chief Judge James E. Boasberg. (zjd) (Entered: 03/15/2025)
   03/15/2025   6   SUMMONS (9) Issued Electronically as to All Defendants, U.S. Attorney, and U.S.
                    Attorney General. (Attachments: # 1 Notice and Consent) (zjd) (Entered: 03/15/2025)
   03/15/2025   7   NOTICE of Appearance by Bradley Girard on behalf of All Plaintiffs (Girard,
                    Bradley) (Entered: 03/15/2025)
   03/15/2025       MINUTE ORDER: The Court has reviewed Plaintiffs' Complaint and Motion for
                    Temporary Restraining Order. Given the exigent circumstances that it has been made
                    aware of this morning, it has determined that an immediate Order is warranted to
                    maintain the status quo until a hearing can be set. As Plaintiffs have satisfied the four
                    factors governing the issuance of preliminary relief, the Court accordingly ORDERS
                    that: 1) Plaintiffs' 3 Motion for TRO is GRANTED; 2) Defendants shall not remove
                    any of the individual Plaintiffs from the United States for 14 days absent further Order
                    of the Court; and 3) The parties shall appear for a Zoom hearing on March 17, 2025,
                    at 4:00 p.m. The hearing will proceed by videoconference for the parties and by
                    telephone for members of the public. Toll free number: 833−990−9400. Meeting ID:
                    049550816. So ORDERED by Chief Judge James E. Boasberg on 3/15/2025. (lcjeb1)
                    Modified to add public access line on 3/15/2025 (znbn). (Entered: 03/15/2025)
   03/15/2025   8   NOTICE of Appearance by Skye Perryman on behalf of All Plaintiffs (Perryman,
                    Skye) (Entered: 03/15/2025)
   03/15/2025   9   NOTICE of Appearance by Somil Trivedi on behalf of All Plaintiffs (Trivedi, Somil)
                    (Entered: 03/15/2025)
   03/15/2025       MINUTE ORDER: The Court ORDERS that the parties shall appear for Zoom
                    hearing on Plaintiffs' 4 Motion for Class Certification on March 15, 2025, at 5:00 p.m.
                    The hearing will proceed by videoconference for the parties and by telephone for
                    members of the public. Toll free number: 833−990−9400. Meeting ID: 049550816. So
                    ORDERED by Chief Judge James E. Boasberg on 3/15/2025. (lcjeb1) (Entered:
                    03/15/2025)


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   03/15/2025   10   NOTICE of Appearance by Scott Michelman on behalf of All Plaintiffs (Michelman,
                     Scott) (Entered: 03/15/2025)
   03/15/2025        Set/Reset Hearings: Hearing set for 3/17/2025 at 04:00 PM via Zoom (Audio Line
                     Available) before Chief Judge James E. Boasberg. (znbn) Modified to correct hearing
                     location on 3/15/2025 (znbn). (Entered: 03/15/2025)
   03/15/2025   11   NOTICE of Appearance by Christina Greer on behalf of All Defendants (Greer,
                     Christina) (Entered: 03/15/2025)
   03/15/2025   12   NOTICE OF APPEAL TO DC CIRCUIT COURT as to Order on Motion for TRO,,,
                     by MADISON SHEAHAN, U.S. IMMIGRATION AND CUSTOMS
                     ENFORCEMENT, MARCO RUBIO, U.S. STATE DEPARTMENT, DONALD J.
                     TRUMP, PAMELA BONDI, KRISTI NOEM, U.S. DEPARTMENT OF
                     HOMELAND SECURITY. Fee Status: No Fee Paid. Parties have been notified.
                     (Greer, Christina) (Entered: 03/15/2025)
   03/15/2025   13   NOTICE of Appearance by Arthur B. Spitzer on behalf of All Plaintiffs (Spitzer,
                     Arthur) (Entered: 03/15/2025)
   03/15/2025   14   Transmission of the Notice of Appeal, Minute Order Appealed, and Docket Sheet to
                     US Court of Appeals. The Court of Appeals docketing fee was not paid because the
                     appeal was filed by the government re 12 Notice of Appeal to DC Circuit Court. (zjd)
                     (Entered: 03/15/2025)
   03/15/2025   15   ENTERED IN ERROR.....NOTICE of Appearance by Christina Greer on behalf of
                     All Defendants (Greer, Christina) Modified on 3/17/2025; refiled as docket entry 16
                     (znmw). (Entered: 03/15/2025)
   03/15/2025   16   NOTICE of Appearance by Drew C Ensign on behalf of All Defendants (Ensign,
                     Drew) (Entered: 03/15/2025)
   03/15/2025        Minute Entry for proceedings held before Chief Judge James E. Boasberg: Motion
                     Hearing held via Zoom (with public access line) on 3/15/2025 re 4 MOTION to
                     Certify Class filed by J.G.O., W.G.H., J.G.G., G.F.F., J.A.V.. Oral arguments heard.
                     Order forthcoming. (Court Reporter Tammy Nestor) (znbn) (Entered: 03/15/2025)
   03/15/2025        MINUTE ORDER: As discussed in today's hearing, the Court ORDERS that: 1)
                     Plaintiffs' 4 Motion for Class Certification is GRANTED insofar as a class consisting
                     of "All noncitizens in U.S. custody who are subject to the March 15, 2025,
                     Presidential Proclamation entitled 'Invocation of the Alien Enemies Act Regarding the
                     Invasion of The United States by Tren De Aragua' and its implementation" is
                     provisionally certified; 2) The Government is ENJOINED from removing members of
                     such class (not otherwise subject to removal) pursuant to the Proclamation for 14 days
                     or until further Order of the Court; 3) The Government shall file any Motion to Vacate
                     this TRO by March 17, 2025, with Plaintiffs' Opposition due by March 19, 2025; and
                     4) The hearing set for March 17, 2025, is VACATED and RESET for March 21,
                     2025, at 2:30 p.m. via Zoom. So ORDERED by Chief Judge James E. Boasberg on
                     3/15/2025. (lcjeb1) (Entered: 03/15/2025)
   03/15/2025   17   NOTICE OF APPEAL TO DC CIRCUIT COURT as to Order on Motion to Certify
                     Class,,,, Set/Reset Deadlines,,, by MADISON SHEAHAN, U.S. IMMIGRATION
                     AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S. STATE
                     DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM, U.S.
                     DEPARTMENT OF HOMELAND SECURITY. Fee Status: No Fee Paid. Parties


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                     have been notified. (Greer, Christina) (Entered: 03/15/2025)
   03/15/2025   18   Transmission of the Notice of Appeal, Minute Order Appealed, and Docket Sheet to
                     US Court of Appeals. The Court of Appeals docketing fee was not paid because the
                     appeal was filed by the government re 17 Notice of Appeal to DC Circuit Court. (zjd)
                     (Entered: 03/15/2025)
   03/15/2025        USCA Case Number 25−5067 for 12 Notice of Appeal to DC Circuit Court, filed by
                     DONALD J. TRUMP, MADISON SHEAHAN, U.S. IMMIGRATION AND
                     CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S. DEPARTMENT OF
                     HOMELAND SECURITY, KRISTI NOEM, U.S. STATE DEPARTMENT,
                     PAMELA BONDI. (zjm) Modified on 3/17/2025 to correct case number (zjm).
                     (Entered: 03/17/2025)
   03/15/2025        USCA Case Number 25−5068 for 17 Notice of Appeal to DC Circuit Court, filed by
                     DONALD J. TRUMP, MADISON SHEAHAN, U.S. IMMIGRATION AND
                     CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S. DEPARTMENT OF
                     HOMELAND SECURITY, KRISTI NOEM, U.S. STATE DEPARTMENT,
                     PAMELA BONDI. (zjm) (Entered: 03/17/2025)
   03/16/2025   19   NOTICE by MADISON SHEAHAN, U.S. IMMIGRATION AND CUSTOMS
                     ENFORCEMENT, MARCO RUBIO, U.S. STATE DEPARTMENT, DONALD J.
                     TRUMP, PAMELA BONDI, KRISTI NOEM, U.S. DEPARTMENT OF
                     HOMELAND SECURITY (Ensign, Drew) (Entered: 03/16/2025)
   03/16/2025   20   TRANSCRIPT OF PROCEEDINGS before Chief Judge James E. Boasberg held on
                     3/15/25; Page Numbers: 1−47. Court Reporter/Transcriber Tammy Nestor,
                     tammy_nestor@dcd.uscourts.gov, Transcripts may be ordered by submitting the
                     Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our
                     website at www.dcd.uscourts.gov.

                     Redaction Request due 4/6/2025. Redacted Transcript Deadline set for 4/16/2025.
                     Release of Transcript Restriction set for 6/14/2025.(Nestor, Tammy) (Entered:
                     03/16/2025)
   03/17/2025   21   RESPONSE re 19 Notice (Other) filed by J.G.G., G.F.F., J.G.O., W.G.H., J.A.V..
                     (Gelernt, Lee) (Entered: 03/17/2025)
   03/17/2025        MINUTE ORDER: The Court ORDERS that the parties shall appear in person (or by
                     Zoom if necessary) for a hearing at 4:00 p.m. today regarding the 19 Notice and 21
                     Response. The Government shall be prepared to provide answers to the questions
                     raised by Plaintiffs on page 6 of their Response. So ORDERED by Chief Judge James
                     E. Boasberg on 3/17/2025. (lcjeb1) (Entered: 03/17/2025)


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   03/17/2025        MINUTE ORDER: The Court ORDERS that, in order to accommodate the parties'
                     schedules, the hearing set for today at 4:00 p.m. is VACATED and RESET for 5:00
                     p.m. The hearing will proceed in−person for the parties and by telephone for members
                     of the public. Toll free number: 833−990−9400. Meeting ID: 049550816. Any use of
                     the public−access telephone line requires adherence to the general prohibition against
                     photographing, recording, livestreaming, and rebroadcasting of court proceedings
                     (including those held by telephone or videoconference), as set out in Standing Order
                     No. 24−31 (JEB). Violation of these prohibitions may result in sanctions, including
                     removal of court−issued media credentials, restricted entry to future hearings, denial
                     of entry to future hearings, or other sanctions deemed necessary by the Court. So
                     ORDERED by Chief Judge James E. Boasberg on 3/17/2025. (lcjeb1) (Entered:
                     03/17/2025)
   03/17/2025   22   NOTICE of Appearance by August Edward Flentje on behalf of All Defendants
                     (Flentje, August) (Entered: 03/17/2025)
   03/17/2025        Set/Reset Hearings: Miscellaneous Hearing set for 3/17/2025 at 05:00 PM in
                     Courtroom 22A− In Person (Audio Line Available) before Chief Judge James E.
                     Boasberg. Motion Hearing set for 3/21/2025 at 02:30 PM via Zoom (Audio Line
                     Available) before Chief Judge James E. Boasberg. (znbn) (Entered: 03/17/2025)
   03/17/2025   23   NOTICE of Appearance by Abhishek Kambli on behalf of All Defendants (Kambli,
                     Abhishek) (Entered: 03/17/2025)
   03/17/2025   24   MOTION to Vacate Response and Motion to Vacate Hearing re 19 Notice (Other),
                     Order,,,, Set Hearings,,, Set/Reset Hearings, 21 Response to Document by MADISON
                     SHEAHAN, U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO
                     RUBIO, U.S. STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI,
                     KRISTI NOEM, U.S. DEPARTMENT OF HOMELAND SECURITY. (Ensign,
                     Drew) Modified event on 3/17/2025 (znmw). (Entered: 03/17/2025)
   03/17/2025        MINUTE ORDER: The Court ORDERS that Defendants' 24 Motion to Vacate is
                     DENIED. The hearing will proceed as scheduled. So ORDERED by Chief Judge
                     James E. Boasberg on 3/17/2025. (lcjeb1) (Entered: 03/17/2025)
   03/17/2025        Minute Entry for proceedings held before Chief Judge James E. Boasberg: Hearing
                     held on 3/17/2025. Oral arguments heard. Order forthcoming. (Court Reporter
                     Tammy Nestor) (znbn) (Entered: 03/17/2025)
   03/17/2025        MINUTE ORDER: As discussed in today's hearing, the Court ORDERS that by 12:00
                     p.m. on March 18, 2025, the Government shall file a Notice, which may, if necessary,
                     be sealed in part, setting forth: 1) A sworn declaration that no one on any flight
                     departing the United States after 7:25 p.m. on March 15, 2025, was removed solely on
                     the basis of the Proclamation at issue; 2) A sworn declaration setting forth when the
                     Proclamation at issue was signed, when it was made public, and when it went into
                     effect; 3) The Government's best estimate of the number of individuals subject to the
                     Proclamation currently remaining in the United States and how many are currently in
                     U.S. custody; and 4) The Government's position on whether, and in what form, it will
                     provide answers to the Court's questions regarding the particulars of the flights. Such
                     form could include in camera review or in a classified setting. If the Government
                     takes the position that it will not provide that information to the Court under any
                     circumstances, it must support such position, including with classified authorities if
                     necessary. So ORDERED by Chief Judge James E. Boasberg on 3/17/2025. (lcjeb1)
                     (Entered: 03/17/2025)


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   03/17/2025   25   TRANSCRIPT OF PROCEEDINGS before Chief Judge James E. Boasberg held on
                     3/17/25; Page Numbers: 1−31. Court Reporter/Transcriber Tammy Nestor,
                     tammy_nestor@dcd.uscourts.gov, Transcripts may be ordered by submitting the
                     Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our
                     website at www.dcd.uscourts.gov.

                     Redaction Request due 4/7/2025. Redacted Transcript Deadline set for 4/17/2025.
                     Release of Transcript Restriction set for 6/15/2025.(Nestor, Tammy) (Entered:
                     03/17/2025)
   03/17/2025   26   MOTION to Vacate re 3/15/2025 Minute Orders on Temporary Restraining Order and
                     Certification of Class by MADISON SHEAHAN, U.S. IMMIGRATION AND
                     CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S. STATE DEPARTMENT,
                     DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM, U.S. DEPARTMENT OF
                     HOMELAND SECURITY. (Attachments: # 1 Declaration Declaration of Robert L.
                     Cerna, # 2 Declaration Declaration of Michael G. Kozak)(Flentje, August) Modified
                     event and docket text on 3/18/2025 (znmw). (Entered: 03/17/2025)
   03/18/2025   27   NOTICE of Appearance by Hina Shamsi on behalf of All Plaintiffs (Shamsi, Hina)
                     (Entered: 03/18/2025)
   03/18/2025   28   NOTICE in Response to March 17 Minute Order by MADISON SHEAHAN, U.S.
                     IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S.
                     STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM,
                     U.S. DEPARTMENT OF HOMELAND SECURITY (Attachments: # 1 Affidavit
                     Cerna Declaration)(Ensign, Drew) (Entered: 03/18/2025)
   03/18/2025        MINUTE ORDER: The Court ORDERS that the Zoom hearing set for March 21,
                     2025, at 2:30 p.m. shall now take place in Courtroom 22A. Members of the public
                     may attend in person or by telephone. Toll free number: 833−990−9400. Meeting ID:
                     049550816. Any use of the public−access telephone line requires adherence to the
                     general prohibition against photographing, recording, livestreaming, and
                     rebroadcasting of court proceedings (including those held by telephone or
                     videoconference), as set out in Standing Order No. 24−31 (JEB). Violation of these
                     prohibitions may result in sanctions, including removal of court−issued media
                     credentials, restricted entry to future hearings, denial of entry to future hearings, or
                     other sanctions deemed necessary by the Court. So ORDERED by Chief Judge James
                     E. Boasberg on 3/18/2025. (lcjeb1) (Entered: 03/18/2025)
   03/18/2025   29   NOTICE of Appearance− Pro Bono by Noelle Smith on behalf of All Plaintiffs
                     (Smith, Noelle) (Entered: 03/18/2025)
   03/18/2025   30

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                     NOTICE of Appearance− Pro Bono by Omar C. Jadwat on behalf of All Plaintiffs
                     (Jadwat, Omar) (Entered: 03/18/2025)
   03/18/2025        MINUTE ORDER: In response to Defendants' 28 Notice at page 2, the Court
                     ORDERS that by 12:00 p.m. on March 19, 2025, Defendants shall file ex parte and
                     under seal (or submit to the Court) a declaration providing the following details
                     regarding each of the two flights leaving U.S. airspace before 7:25 p.m. on March 15,
                     2025: 1) What time did the plane take off from U.S. soil and from where? 2) What
                     time did it leave U.S. airspace? 3) What time did it land in which foreign country
                     (including if it made more than one stop)? 4) What time were individuals subject
                     solely to the Proclamation transferred out of U.S. custody? and 5) How many people
                     were aboard solely on the basis of the Proclamation? So ORDERED by Chief Judge
                     James E. Boasberg on 3/18/2025. (lcjeb1) (Entered: 03/18/2025)
   03/18/2025   31   NOTICE of Appearance− Pro Bono by Sidra Mahfooz on behalf of All Plaintiffs
                     (Mahfooz, Sidra) (Entered: 03/18/2025)
   03/18/2025   32   NOTICE of Appearance− Pro Bono by Oscar Sarabia Roman on behalf of All
                     Plaintiffs (Sarabia Roman, Oscar) (Entered: 03/18/2025)
   03/18/2025   33   NOTICE of Appearance− Pro Bono by Ashley Gorski on behalf of All Plaintiffs
                     (Gorski, Ashley) (Entered: 03/18/2025)
   03/18/2025   34   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Sarah M. Rich, Filing
                     fee $ 100, receipt number ADCDC−11550426. Fee Status: Fee Paid. by J.G.G.,
                     G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: # 1 Declaration, # 2 Certificate of
                     Good Standing)(Girard, Bradley) (Entered: 03/18/2025)
   03/18/2025   35   NOTICE of Appearance− Pro Bono by Patrick Toomey on behalf of All Plaintiffs
                     (Toomey, Patrick) (Entered: 03/18/2025)
   03/18/2025        MINUTE ORDER: The Court ORDERS that the 34 Motion for Leave to Appear Pro
                     Hac Vice of Sarah Marion Rich is GRANTED. Counsel should register for e−filing
                     via PACER and file a notice of appearance pursuant to LCvR 83.6(a). Click for
                     instructions. So ORDERED by Chief Judge James E. Boasberg on 3/18/2025. (lcjeb1)
                     (Entered: 03/18/2025)
   03/18/2025   36   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Audrey Wiggins,
                     Filing fee $ 100, receipt number ADCDC−11551084. Fee Status: Fee Paid. by J.G.G.,
                     G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: # 1 Declaration, # 2 Certificate of
                     Good Standing)(Girard, Bradley) (Entered: 03/18/2025)
   03/18/2025        MINUTE ORDER: The Court ORDERS that the 36 Motion for Leave to Appear Pro
                     Hac Vice of Audrey J. Wiggins is GRANTED. Counsel should register for e−filing
                     via PACER and file a notice of appearance pursuant to LCvR 83.6(a). Click for
                     instructions. So ORDERED by Chief Judge James E. Boasberg on 3/18/2025. (lcjeb1)
                     (Entered: 03/18/2025)
   03/19/2025   37   Emergency MOTION to Stay re Order,,,, Set Deadlines,,, by MADISON SHEAHAN,
                     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S.
                     STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM,
                     U.S. DEPARTMENT OF HOMELAND SECURITY. (Ensign, Drew) (Entered:
                     03/19/2025)
   03/19/2025   38   ORDER: The Court ORDERS that: 1) Defendants' 37 Motion is GRANTED IN
                     PART and DENIED IN PART; and 2) Defendants shall have until March 20, 2025, at

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                     12:00 p.m. to provide the information discussed in the Minute Order of March 18,
                     2025, or to invoke the state−secrets doctrine and explain the basis for such invocation.
                     Signed by Chief Judge James E. Boasberg on March 19, 2025. (lcjeb3) (Entered:
                     03/19/2025)
   03/19/2025   39   NOTICE of Appearance by Sarah Rich on behalf of J.G.G., G.F.F., J.G.O., W.G.H.,
                     J.A.V. (Rich, Sarah) (Entered: 03/19/2025)
   03/19/2025   40   NOTICE of Appearance by Audrey Jordan Wiggins on behalf of J.G.G., G.F.F.,
                     J.G.O., W.G.H., J.A.V. (Wiggins, Audrey) (Entered: 03/19/2025)
   03/19/2025   41   NOTICE of Appearance by Cody H. Wofsy on behalf of All Plaintiffs (Wofsy, Cody)
                     (Entered: 03/19/2025)
   03/19/2025   42   NOTICE OF WITHDRAWAL OF APPEARANCE as to MADISON SHEAHAN,
                     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S.
                     STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM,
                     U.S. DEPARTMENT OF HOMELAND SECURITY. Attorney Christina Greer
                     terminated. (Greer, Christina) (Entered: 03/19/2025)
   03/19/2025   43   NOTICE of Appearance− Pro Bono by My Khanh Ngo on behalf of All Plaintiffs
                     (Ngo, My Khanh) (Entered: 03/19/2025)
   03/19/2025   44   RESPONSE re 26 MOTION to Vacate TRO filed by J.G.G., G.F.F., J.G.O., W.G.H.,
                     J.A.V.. (Attachments: # 1 Index of Exhibits, # 2 Declaration of Deborah Fleishaker, #
                     3 Declaration of Juanita Goebertus, # 4 Declaration of Sarah Bishop, # 5 Declaration
                     of Linette Tobin, # 6 Declaration of Austin Thierry, # 7 Declaration of Osvaldo E.
                     Caro−Cruz, # 8 Declaration of Katherine Kim, # 9 Declaration of Karyn Ann Shealy,
                     # 10 Declaration of Stephanie Quintero, # 11 Declaration of Grace Carney, # 12
                     Declaration of Melissa Smyth, # 13 Declaration of Solanyer Michell Sarabia
                     Gonzalez, # 14 Declaration of Jennifer Venghaus, # 15 Declaration of Oscar Sarabia
                     Roman)(Gelernt, Lee) (Entered: 03/19/2025)
   03/20/2025   45   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Christine L. Coogle,
                     Filing fee $ 100, receipt number ADCDC−11556213. Fee Status: Fee Paid. by J.G.G.,
                     G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: # 1 Declaration, # 2 Certificate of
                     Good Standing)(Girard, Bradley) (Entered: 03/20/2025)
   03/20/2025   46   NOTICE of Appearance by Michael Lawrence Waldman on behalf of J.G.G., G.F.F.,
                     J.G.O., W.G.H., J.A.V. (Waldman, Michael) (Entered: 03/20/2025)
   03/20/2025   47   ORDER: The Court ORDERS that: 1) By March 21, 2025, at 10:00 a.m., Defendants
                     shall submit a sworn declaration by a person with direct involvement in the
                     Cabinet−level discussions regarding invocation of the state−secrets privilege; 2) By
                     March 25, 2025, Defendants shall submit a declaration indicating whether or not the
                     Government is invoking the privilege; 3) By March 25, 2025, Defendants shall file a
                     brief showing cause why they did not violate the Court's Temporary Restraining
                     Orders by failing to return class members removed from the United States on the two
                     earliest planes that departed on March 15, 2025; and 4) Plaintiffs may file any
                     response to such brief by March 31, 2025. Signed by Chief Judge James E. Boasberg
                     on 3/20/2025. (lcjeb1) (Entered: 03/20/2025)
   03/20/2025   48   MOTION for Leave to File Amicus Curiae Brief by BRANDON GILL. (Attachments:
                     # 1 Exhibit Proposed Brief, # 2 Text of Proposed Order)(Block, Andrew) (Entered:
                     03/20/2025)


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   03/20/2025   49   NOTICE by MADISON SHEAHAN, U.S. IMMIGRATION AND CUSTOMS
                     ENFORCEMENT, MARCO RUBIO, U.S. STATE DEPARTMENT, DONALD J.
                     TRUMP, PAMELA BONDI, KRISTI NOEM, U.S. DEPARTMENT OF
                     HOMELAND SECURITY (Attachments: # 1 Declaration Declaration of Robert L.
                     Cerna)(Flentje, August) (Entered: 03/20/2025)
   03/20/2025        MINUTE ORDER: The Court ORDERS that the 45 Motion for Leave to Appear Pro
                     Hac Vice of Christine L. Coogle is GRANTED. Counsel should register for e−filing
                     via PACER and file a notice of appearance pursuant to LCvR 83.6(a). Click for
                     instructions. Signed by Chief Judge James E. Boasberg on 3/20/2025. (lcjeb1)
                     (Entered: 03/20/2025)
   03/21/2025   50   RESPONSE TO ORDER OF THE COURT re 47 Order by MADISON SHEAHAN,
                     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S.
                     STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM,
                     U.S. DEPARTMENT OF HOMELAND SECURITY (Attachments: # 1
                     Declaration)(Flentje, August) Modified event title on 3/21/2025 (znmw). (Entered:
                     03/21/2025)
   03/21/2025        Minute Entry for proceedings held before Chief Judge James E. Boasberg: Motion
                     Hearing held on 3/21/2025. Oral arguments heard. Order forthcoming. (Court
                     Reporter Sonja Reeves) (znbn) (Entered: 03/21/2025)
   03/21/2025        MINUTE ORDER: The Court ORDERS that Amicus's 48 Motion for Leave to File is
                     DENIED as untimely. Filing the night before the hearing does not permit the Court
                     sufficient time to consider the arguments asserted. So ORDERED by Chief Judge
                     James E. Boasberg on 3/21/2025. (lcjeb1) (Entered: 03/21/2025)
   03/21/2025   51   TRANSCRIPT OF MOTION HEARING before Chief Judge James E. Boasberg held
                     on March 21, 2025; Page Numbers: 1−65. Date of Issuance:March 21, 2025. Court
                     Reporter/Transcriber Sonja L. Reeves, RDR, CRR, Sonja_Reeves@dcd.uscourts.gov,
                     Transcripts may be ordered by submitting the Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our
                     website at www.dcd.uscourts.gov.

                     Redaction Request due 4/11/2025. Redacted Transcript Deadline set for 4/21/2025.
                     Release of Transcript Restriction set for 6/19/2025.(Reeves, Sonja) (Entered:
                     03/21/2025)
   03/24/2025   52   ORDER: For the reasons set forth in the accompanying Memorandum Opinion, the
                     Court ORDERS that: 1) Defendants' 26 Motion to Vacate is DENIED; and 2) If
                     Plaintiffs wish to convert the Temporary Restraining Order into a preliminary
                     injunction, they shall so inform the Court by March 26, 2025. Signed by Chief Judge
                     James E. Boasberg on 3/24/2025. (lcjeb1) (Entered: 03/24/2025)

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   03/24/2025   53   MEMORANDUM OPINION re 52 Order on Motion to Vacate. Signed by Chief
                     Judge James E. Boasberg on 3/24/2025. (lcjeb1) (Entered: 03/24/2025)
   03/24/2025   54   NOTICE of Appearance by Christine L. Coogle on behalf of J.G.G., G.F.F., J.G.O.,
                     W.G.H., J.A.V. (Coogle, Christine) (Entered: 03/24/2025)
   03/24/2025   55   NOTICE in Response to March 19 Minute Order by J.G.G., G.F.F., J.G.O., W.G.H.,
                     J.A.V. re 47 Order,,,, Set Deadlines,,, (Attachments: # 1 Exhibit A: Declaration of
                     S.Z.F.R., # 2 Exhibit B: Declaration of E.E.P.B.)(Gelernt, Lee) (Entered: 03/24/2025)
   03/24/2025   56   NOTICE Invoking State Secrets Privilege by MADISON SHEAHAN, U.S.
                     IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S.
                     STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM,
                     U.S. DEPARTMENT OF HOMELAND SECURITY re 47 Order,,,, Set Deadlines,,,
                     (Attachments: # 1 Affidavit Attorney General Bondi Declaration, # 2 Affidavit
                     Secretary Rubio Declaration, # 3 Affidavit Secretary Noem Declaration)(Ensign,
                     Drew) (Entered: 03/24/2025)
   03/25/2025        MINUTE ORDER: Given the Government's 56 Notice Invoking State Secrets
                     Privilege, the Court ORDERS that if Plaintiffs wish to respond, they shall file any
                     Response by March 31, 2025. So ORDERED by Chief Judge James E. Boasberg on
                     3/25/2025. (lcjeb1) (Entered: 03/25/2025)
   03/25/2025   57   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Pooja A. Boisture,
                     Filing fee $ 100, receipt number ADCDC−11566919. Fee Status: Fee Paid. by J.G.G.,
                     G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: # 1 Declaration, # 2 Certificate of
                     Good Standing)(Girard, Bradley) (Entered: 03/25/2025)
   03/25/2025   58   RESPONSE TO ORDER TO SHOW CAUSE re 47 Order by MADISON
                     SHEAHAN, U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO
                     RUBIO, U.S. STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI,
                     KRISTI NOEM, U.S. DEPARTMENT OF HOMELAND SECURITY. (Ensign,
                     Drew) Modified event title on 3/26/2025 (znmw). (Entered: 03/25/2025)
   03/25/2025   59   LEAVE TO FILE DENIED− Janice Wolk Grenadier − Motion. This document is
                     unavailable as the Court denied its filing. Pro Se party has been notified by first class
                     mail. "Leave to file DENIED." Signed by Chief Judge James E. Boasberg on
                     3/25/2025. (zjm) (Entered: 03/26/2025)
   03/25/2025   63   MOTION to Intervene by JANICE WOLK GRENADIER. "Leave to file
                     GRANTED." signed by Chief Judge James E. Boasberg on 3/25/2025 (Attachment: #
                     1 Exhibits)(zjm) Modified on 3/27/2025 to correct docket text (zjm). (Entered:
                     03/27/2025)
   03/26/2025        MINUTE ORDER: The Court ORDERS that the 57 Motion for Leave to Appear Pro
                     Hac Vice of Pooja Ashok Boisture is GRANTED. Counsel should register for
                     e−filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a).
                     Click for instructions. Signed by Chief Judge James E. Boasberg on 3/26/2025.
                     (lcjeb1) (Entered: 03/26/2025)
   03/26/2025   60   Unopposed MOTION for Leave to File Amicus Brief by MARK J. ROZELL, HEIDI
                     KITROSSER, MITCHEL A. SOLLENBERGER. (Attachments: # 1 Text of Proposed
                     Order)(McClanahan, Kelly) (Entered: 03/26/2025)
   03/26/2025        MINUTE ORDER: The Court ORDERS that: 1) The consent 60 Motion for Leave to
                     File Amicus Brief is GRANTED; and 2) Movants shall file any such brief by April 1,

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                     2025. So ORDERED by Chief Judge James E. Boasberg on 3/26/2025. (lcjeb1)
                     (Entered: 03/26/2025)
   03/26/2025   61   NOTICE re 52 Order Regarding Plaintiffs' Motion for a Preliminary Injunction by
                     J.G.G., G.F.F., J.G.O., W.G.H., J.A.V. (Gelernt, Lee) Modified to add link on
                     3/27/2025 (znmw). (Entered: 03/26/2025)
   03/26/2025        MINUTE ORDER: Given Plaintiffs' 61 Notice, the Court ORDERS that: 1) Plaintiffs
                     shall file a Motion to Extend the TRO by 5:00 p.m. on March 27, 2025, and
                     Defendants shall file any Opposition by 12:00 p.m. on March 28, 2025; 2) Plaintiffs
                     shall file their PI Motion by March 28, 2025; Defendants' Opposition shall be due by
                     April 1, 2025; and Plaintiffs' Reply shall be due by April 4, 2025; and 3) The parties
                     shall appear for a hearing on the Motion on April 8, 2025, at 3:00 p.m. So ORDERED
                     by Chief Judge James E. Boasberg on 3/26/2025. (lcjeb1) (Entered: 03/26/2025)
   03/27/2025   62   NOTICE of Appearance by Pooja Boisture on behalf of J.G.G., G.F.F., J.G.O.,
                     W.G.H., J.A.V. (Boisture, Pooja) (Entered: 03/27/2025)
   03/27/2025   64   MOTION for Temporary Restraining Order , Motion to Extend Temporary
                     Restraining Order by J.G.G., G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: # 1 Text
                     of Proposed Order)(Gelernt, Lee) (Entered: 03/27/2025)
   03/27/2025        MINUTE ORDER: The Court ORDERS that the 63 Motion to Intervene is DENIED.
                     So ORDERED by Chief Judge James E. Boasberg on 3/27/2025. (lcjeb1) (Entered:
                     03/27/2025)
   03/28/2025   65   RESPONSE re 64 MOTION for Temporary Restraining Order , Motion to Extend
                     Temporary Restraining Order filed by MADISON SHEAHAN, U.S.
                     IMMIGRATION AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S.
                     STATE DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, U.S.
                     DEPARTMENT OF HOMELAND SECURITY. (Ensign, Drew) (Entered:
                     03/28/2025)
   03/28/2025   66   ORDER: The Court ORDERS that the TROs entered on March 15, 2025, are
                     extended and shall remain in effect until April 12, 2025, or until further order of the
                     Court. Signed by Chief Judge James E. Boasberg on 3/28/2025. (lcjeb1) (Entered:
                     03/28/2025)
   03/28/2025   67   MOTION for Preliminary Injunction by J.G.G., G.F.F., J.G.O., W.G.H., J.A.V..
                     (Attachments: # 1 Memorandum in Support, # 2 Index of Exhibits, # 3 Exhibit, # 4
                     Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, #
                     11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17
                     Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22 Text of Proposed
                     Order)(Gelernt, Lee) (Entered: 03/29/2025)
   03/31/2025        MINUTE ORDER: The Court ORDERS that the parties shall appear on April 3, 2025,
                     at 3:00 p.m. for a hearing on the Court's 47 Order to Defendants to show cause why
                     they did not violate the Court's Temporary Restraining Orders. Members of the public
                     may attend in person or by telephone. Toll free number: 833−990−9400. Meeting ID:
                     049550816. Any use of the public−access telephone line requires adherence to the
                     general prohibition against photographing, recording, livestreaming, and
                     rebroadcasting of court proceedings (including those held by telephone or
                     videoconference), as set out in Standing Order No. 24−31 (JEB). Violation of these
                     prohibitions may result in sanctions, including removal of court−issued media
                     credentials, restricted entry to future hearings, denial of entry to future hearings, or


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                     other sanctions deemed necessary by the Court. So ORDERED by Chief Judge James
                     E. Boasberg on March 31, 2025. (lcjeb2) (Entered: 03/31/2025)
   03/31/2025   68   NOTICE of Appearance by Cecillia D. Wang on behalf of All Plaintiffs (Wang,
                     Cecillia) (Entered: 03/31/2025)
   03/31/2025   69   RESPONSE re 56 Notice (Other), Re: Invocation of State Secrets Privilege filed by
                     J.G.G., G.F.F., J.G.O., W.G.H., J.A.V.. (Gelernt, Lee) (Entered: 03/31/2025)
   03/31/2025   70   REPLY re 58 Memorandum, Re: Order to Show Cause filed by J.G.G., G.F.F.,
                     J.G.O., W.G.H., J.A.V.. (Gelernt, Lee) (Entered: 03/31/2025)
   03/31/2025   74   LEAVE TO FILE DENIED− DANA ALBRECHT − Motion. This document is
                     unavailable as the Court denied its filing. Pro Se party has been notified by first class
                     mail. "Leave to file DENIED. Improper to file such motion in this case." Signed by
                     Chief Judge James E. Boasberg on 3/31/25. (zjm) (Entered: 04/02/2025)
   04/01/2025   71   NOTICE of Appearance− Pro Bono by Evelyn Danforth−Scott on behalf of All
                     Plaintiffs (Danforth−Scott, Evelyn) (Entered: 04/01/2025)
   04/01/2025   72   Memorandum in opposition to re 67 Motion for Preliminary Injunction, filed by
                     MADISON SHEAHAN, U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT,
                     MARCO A. RUBIO, U.S. STATE DEPARTMENT, DONALD J. TRUMP,
                     PAMELA J. BONDI, KRISTI NOEM, U.S. DEPARTMENT OF HOMELAND
                     SECURITY. (Attachments: # 1 Declaration Declaration of Selwyn Smith, # 2
                     Declaration Declaration of Marcos Charles)(Flentje, August) (Entered: 04/01/2025)
   04/01/2025   75   LEAVE TO FILE DENIED− DANA ALBRECHT − Motion for CM/ECF.. This
                     document is unavailable as the Court denied its filing. Pro Se party has been notified
                     by first class mail. "Leave to fine DENIED." Signed by Chief Judge James E.
                     Boasberg on 4/1/2025. (zjm) (Entered: 04/03/2025)
   04/02/2025   73   AMICUS BRIEF re 56 Notice (Other), (Amici Curiae) filed by MARK J. ROZELL,
                     HEIDI KITROSSER, MITCHEL A. SOLLENBERGER. (McClanahan, Kelly)
                     Modified event title on 4/2/2025 (znmw). (Entered: 04/02/2025)
   04/03/2025        Minute Entry for Show Cause Hearing held before Chief Judge James E. Boasberg on
                     4/3/2025. Matter taken under advisement; forthcoming Order. (Court Reporter:
                     Tammy Nestor) (lsj) (Entered: 04/03/2025)
   04/04/2025   76   TRANSCRIPT OF PROCEEDINGS before Chief Judge James E. Boasberg held on
                     4/3/25; Page Numbers: 1−31. Court Reporter/Transcriber Tammy Nestor,
                     tammy_nestor@dcd.uscourts.gov, Transcripts may be ordered by submitting the
                     Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our


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                     website at www.dcd.uscourts.gov.

                     Redaction Request due 4/25/2025. Redacted Transcript Deadline set for 5/5/2025.
                     Release of Transcript Restriction set for 7/3/2025.(Nestor, Tammy) (Entered:
                     04/04/2025)
   04/04/2025   77   REPLY to opposition to motion re 67 Motion for Preliminary Injunction, filed by
                     G.F.F., J.A.V., J.G.G., J.G.O., W.G.H.. (Gelernt, Lee) (Entered: 04/04/2025)
   04/07/2025        MINUTE ORDER: The Court ORDERS that the hearing set for April 8, 2025, at 3:00
                     p.m. shall take place in Courtroom 22A. Members of the public may attend in person
                     or by telephone. Toll free number: 833−990−9400. Meeting ID: 049550816. Any use
                     of the public−access telephone line requires adherence to the general prohibition
                     against photographing, recording, livestreaming, and rebroadcasting of court
                     proceedings (including those held by telephone or videoconference), as set out in
                     Standing Order No. 24−31 (JEB). Violation of these prohibitions may result in
                     sanctions, including removal of court−issued media credentials, restricted entry to
                     future hearings, denial of entry to future hearings, or other sanctions deemed
                     necessary by the Court. So ORDERED by Chief Judge James E. Boasberg on
                     4/7/2025. (lcjeb3) (Entered: 04/07/2025)
   04/07/2025   78   NOTICE Regarding Supreme Court Decision by PAMELA J. BONDI, KRISTI
                     NOEM, MARCO A. RUBIO, MADISON SHEAHAN, DONALD J. TRUMP, U.S.
                     DEPARTMENT OF HOMELAND SECURITY, U.S. IMMIGRATION AND
                     CUSTOMS ENFORCEMENT, U.S. STATE DEPARTMENT (Attachments: # 1
                     Exhibit JGG Supreme Court Decision)(Ensign, Drew) (Entered: 04/07/2025)
   04/08/2025        MINUTE ORDER: In yesterday's ruling vacating this Court's TROs, the Supreme
                     Court held that Plaintiffs cannot be deported under the Alien Enemies Act without an
                     opportunity to challenge their removal in federal court. It also determined that the
                     appropriate venue for such proceedings is the Southern District of Texas or wherever
                     Plaintiffs are currently held. This Court accordingly ORDERS that: 1) Today's
                     preliminary−injunction hearing is VACATED; and 2) Plaintiffs shall file a Notice by
                     April 16, 2025, indicating whether they believe that they still have a basis to proceed
                     on their Motion for Preliminary Injunction in this Court and, if so, proposing a
                     briefing schedule. So ORDERED by Chief Judge James E. Boasberg on 4/8/2025.
                     (lcjeb1) (Entered: 04/08/2025)
   04/11/2025   79   REQUEST FOR LEAVE TO FILE REVIEW. The attached document requires leave
                     to file: LAMAR C. CHAPMAN, III − MOTION. Reason(s): Filer is not a party to the
                     case. (Attachments: # 1 Motion, # 2 Motion) (zjm) (Entered: 04/11/2025)
   04/14/2025   82   REQUEST FOR LEAVE TO FILE REVIEW. The attached document requires leave
                     to file: MIKE YELLEN's Motion. Reason(s): Filer is not a party to the case. (znmw)
                     (Entered: 04/16/2025)
   04/15/2025        MINUTE ORDER re 79 Request for Leave to File Review. Leave to file is denied. So
                     ORDERED by Chief Judge James E. Boasberg on 4/15/2025. (lcjeb1) Modified filed
                     date on 4/16/2025 (znmw). (Entered: 04/15/2025)
   04/16/2025   80   ORDER: Given the finding of probable cause for contempt set forth in the
                     accompanying Memorandum Opinion, the Court ORDERS that: (1) If Defendants opt
                     to purge their contempt, they shall file by April 23, 2025, a declaration explaining the
                     steps they have taken and will take to do so; and (2) If Defendants opt not to purge
                     their contempt, they shall instead file by April 23, 2025, declaration(s) identifying the

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                     individual(s) who, with knowledge of the Court's classwide Temporary Restraining
                     Order, made the decision not to halt the transfer of class members out of U.S. custody
                     on March 15 and 16, 2025. Signed by Chief Judge James E. Boasberg on April 16,
                     2025. (lcjeb2) (Entered: 04/16/2025)
   04/16/2025   81   MEMORANDUM OPINION re: 80 Probable Cause Order. Signed by Chief Judge
                     James E. Boasberg on April 16, 2025. (lcjeb2) (Entered: 04/16/2025)
   04/16/2025   83   NOTICE of Appearance by Ernesto Horacio Molina, Jr on behalf of All Defendants
                     (Molina, Ernesto) (Entered: 04/16/2025)
   04/16/2025   84   NOTICE OF APPEAL TO DC CIRCUIT COURT by U.S. IMMIGRATION AND
                     CUSTOMS ENFORCEMENT, PAMELA J. BONDI, U.S. STATE DEPARTMENT,
                     DONALD J. TRUMP, U.S. DEPARTMENT OF HOMELAND SECURITY,
                     MARCO A. RUBIO, KRISTI NOEM, MADISON SHEAHAN. Fee Status: No Fee
                     Paid. Parties have been notified. (Molina, Ernesto) (Entered: 04/16/2025)
   04/16/2025   85   MOTION for Temporary Restraining Order and Notice in Response to the Court's
                     April 8, 2025 Order by G.F.F., J.A.V., J.G.G., J.G.O., W.G.H.. (Attachments: # 1
                     Text of Proposed Order)(Gelernt, Lee) (Entered: 04/16/2025)
   04/16/2025        MINUTE ORDER: The Court ORDERS that the 82 Request for Leave to File is
                     DENIED. So ORDERED by Chief Judge James E. Boasberg on 4/16/2025. (lcjeb1)
                     (Entered: 04/16/2025)
   04/16/2025   86   RESPONSE TO ORDER OF THE COURT re 4/8/2025 Minute Order filed by G.F.F.,
                     J.A.V., J.G.G., J.G.O., W.G.H.. (See Docket Entry 85 to view document). (znmw)
                     (Entered: 04/17/2025)
   04/17/2025   87   Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                     Docket Sheet to US Court of Appeals. The Court of Appeals docketing fee was not
                     paid because the appeal was filed by the government re 84 Notice of Appeal to DC
                     Circuit Court. (znmw) (Entered: 04/17/2025)
   04/17/2025        MINUTE ORDER: The Court ORDERS that: 1) The Government shall file any
                     Opposition to Plaintiffs' 85 Motion for TRO by April 19, 2025, at 9:00 a.m.; Plaintiffs
                     shall file any Reply by April 21, 2025, at 9:00 a.m.; and the parties shall appear for a
                     hearing on April 21, 2025, at 5:00 p.m.; and 2) Plaintiffs shall amend their Complaint
                     and file any new motion for preliminary relief by April 24, 2025; Defendants shall file
                     their Opposition by May 1, 2025; Plaintiffs shall file their Reply by May 5, 2025; and
                     the parties shall appear for a hearing on the motion on May 7, 2025, at 5:00 p.m.
                     Signed by Chief Judge James E. Boasberg on 4/17/2025. (lcjeb1) (Entered:
                     04/17/2025)
   04/17/2025        Set/Reset Hearings: Motion Hearing set for 4/21/2025 at 05:00 PM in Courtroom
                     22A− In Person before Chief Judge James E. Boasberg. Motion Hearing set for
                     5/7/2025 at 05:00 PM in Courtroom 22A− In Person before Chief Judge James E.
                     Boasberg. (znbn) (Entered: 04/17/2025)
   04/17/2025        USCA Case Number 25−5124 for 84 Notice of Appeal to DC Circuit Court, filed by
                     DONALD J. TRUMP, MADISON SHEAHAN, U.S. IMMIGRATION AND
                     CUSTOMS ENFORCEMENT, U.S. DEPARTMENT OF HOMELAND SECURITY,
                     MARCO A. RUBIO, KRISTI NOEM, PAMELA J. BONDI, U.S. STATE
                     DEPARTMENT. (zdp) (Entered: 04/17/2025)
   04/17/2025   96

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                     REQUEST FOR LEAVE TO FILE REVIEW. The attached documents require leave
                     to file: MEGHAN KELLY − Motion to File Amicus Brief, Motion to Proceed In
                     Forma Pauperis, Motion for Exception to Pro Hac Vice Rules. Reason(s): Filer is not
                     a party to the case. (Attachments: # 1 Amicus Motion − Exhibit A, # 2 Amicus
                     Motion − Exhibit B, # 3 Amicus Motion − Exhibit C, # 4 Amicus Motion − Propose
                     Order, # 5 Motion to Proceed IFP, # 6 IFP Motion − Exhibit 1, # 7 IFP Motion −
                     Exhibit 2, # 8 IFP Motion − Proposed Order, # 9 Motion for Exception to PHV, # 10
                     PHV Motion − Appendix A, # 11 PHV Motion − Appendix B, # 12 PHV Motion −
                     Appendix C, # 13 PHV Motion − Appendix D, # 14 PHV Motion − Appendix E, # 15
                     PHV Motion − Appendix F, # 16 PHV Motion − Appendix J−K, # 17 PHV Motion −
                     Appendix L, # 18 PHV Motion − Proposed Order, # 19 Certificate of Service) (znmw)
                     (Entered: 04/22/2025)
   04/18/2025   88   Emergency MOTION to Stay re 81 Memorandum & Opinion, 80 Order,,, Set
                     Deadlines,, Pending Appeal by PAMELA J. BONDI, KRISTI NOEM, MARCO A.
                     RUBIO, MADISON SHEAHAN, DONALD J. TRUMP, U.S. DEPARTMENT OF
                     HOMELAND SECURITY, U.S. IMMIGRATION AND CUSTOMS
                     ENFORCEMENT, U.S. STATE DEPARTMENT. (Attachments: # 1
                     Exhibit)(Molina, Ernesto) (Entered: 04/18/2025)
   04/18/2025   89   ERRATA by PAMELA J. BONDI, KRISTI NOEM, MARCO A. RUBIO,
                     MADISON SHEAHAN, DONALD J. TRUMP, U.S. DEPARTMENT OF
                     HOMELAND SECURITY, U.S. IMMIGRATION AND CUSTOMS
                     ENFORCEMENT, U.S. STATE DEPARTMENT re 88 Motion to Stay,.
                     (Attachments: # 1 Corrected Emergency Motion For A Stay Pending Appeal)(Molina,
                     Ernesto) (Entered: 04/18/2025)
   04/18/2025   90   Emergency MOTION to Expedite TRO in Light of AEA Removals by G.F.F., J.A.V.,
                     J.G.G., J.G.O., W.G.H.. (Attachments: # 1 Declaration − Brown, # 2 Declaration −
                     Brane)(Gelernt, Lee) (Entered: 04/18/2025)
   04/18/2025   91   ORDER: The Court ORDERS that Defendants' 88 Emergency Motion to Stay is
                     DENIED. Signed by Chief Judge James E. Boasberg on April 18, 2025. (lcjeb2)
                     (Entered: 04/18/2025)
   04/18/2025        MINUTE ORDER: Having reviewed Plaintiffs' 85 Motion for Temporary Restraining
                     Order and 90 Emergency Motion to Expedite, the Court ORDERS that the parties
                     shall appear for a Zoom hearing on April 18, 2025, at 6:15 p.m. The hearing will
                     proceed by videoconference for the parties and by telephone for members of the
                     public. Toll free number: 833−990−9400. Meeting ID: 049550816. So ORDERED by
                     Chief Judge James E. Boasberg on April 18, 2025. (lcjeb2) (Entered: 04/18/2025)
   04/18/2025   92   NOTICE by G.F.F., J.A.V., J.G.G., J.G.O., W.G.H. re 90 Motion to Expedite
                     (Attachments: # 1 Exhibit)(Gelernt, Lee) (Entered: 04/18/2025)
   04/18/2025        MINUTE ORDER: For the reasons discussed in today's hearing, the Court ORDERS
                     that: 1) Plaintiff's 90 Emergency Motion to Expedite the Temporary Restraining
                     Order is DENIED; and 2) The briefing schedule for the TRO and the hearing set for
                     Monday, April 21, 2025, at 5 p.m. are VACATED. So ORDERED by Chief Judge
                     James E. Boasberg on 4/18/2025. (lcjeb4) (Entered: 04/18/2025)
   04/18/2025        Minute Entry for proceedings held before Chief Judge James E. Boasberg: Motion
                     Hearing held on 4/18/2025 re 90 Emergency MOTION to Expedite TRO in Light of
                     AEA Removals filed by J.G.O., W.G.H., J.G.G., G.F.F., J.A.V.. Oral argument heard.
                     (Court Reporter Tammy Nestor) (znbn) (Entered: 04/18/2025)

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   04/18/2025   93   TRANSCRIPT OF PROCEEDINGS before Chief Judge James E. Boasberg held on
                     4/18/25; Page Numbers: 1−34. Court Reporter/Transcriber Tammy Nestor, Telephone
                     number tammy_nestor@dcd.uscourts.gov, Transcripts may be ordered by submitting
                     the Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our
                     website at www.dcd.uscourts.gov.

                     Redaction Request due 5/9/2025. Redacted Transcript Deadline set for 5/19/2025.
                     Release of Transcript Restriction set for 7/17/2025.(Nestor, Tammy) (Entered:
                     04/18/2025)
   04/18/2025   94   Unopposed MOTION for Leave to File Amicus Briefof John W. Keker, Robert A. Van
                     Nest, Elliot R. Peters and Laurie Carr Mims by JOHN W KEKER, ROBERT A.
                     VAN NEST, ELLIOT R. PETERS, LAURIE CARR MIMS. (Attachments: # 1
                     Exhibit Proposed Amici Curiae Brief, # 2 Text of Proposed Order)(Hirsch, Steven)
                     (Entered: 04/18/2025)
   04/19/2025        MINUTE ORDER: The Court ORDERS that the Unopposed 94 Motion for Leave to
                     File Amicus Brief is GRANTED. So ORDERED by Chief Judge James E. Boasberg
                     on 4/19/2025. (lcjeb1) (Entered: 04/19/2025)
   04/19/2025   95   MOTION for Leave to File Amicus Brief by COOLIDGE REAGAN
                     FOUNDATION. (Attachments: # 1 Brief of Putative Amicus Curiae, # 2 Text of
                     Proposed Order)(Backer, Dan) (Entered: 04/19/2025)
   04/21/2025        RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 95
                     MOTION for Leave to File Amicus Brief by COOLIDGE REAGAN
                     FOUNDATION. (Attachments: # 1 Brief of Putative Amicus Curiae, # 2 Text of
                     Proposed Order)(Backer, Dan).

                     Your attorney renewal/government certification has not been received. As a result,
                     your membership with the U.S. District & Bankruptcy Courts for the District of
                     Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                     Civil Rule 83.9, you must immediately correct your membership status by following
                     the appropriate instructions on this page of our website:
                     https://www.dcd.uscourts.gov/attorney−renewal.

                     Please be advised that the presiding judge in this case has been notified that you are
                     currently not in good standing to file in this court. Renewal Due by 4/28/2025. (zapb)
                     4/21/2025 (zapb). (Entered: 04/21/2025)
   04/21/2025   97   REQUEST FOR LEAVE TO FILE REVIEW. The attached document requires leave
                     to file: MEGHAN KELLY − Motion to Serve by Email and E−File. Reason(s): Filer


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                      is not a party to the case. (Attachments: # 1 E−File − Exhibit 1, # 2 E−File − Exhibit
                      2, # 3 E− File − Proposed Order, # 4 Certificate of Service) (znmw) (Entered:
                      04/22/2025)
   04/22/2025    98   REQUEST FOR LEAVE TO FILE REVIEW. The attached document requires leave
                      to file: MEGHAN KELLY − Proposed Amicus Brief. Reason(s): Filer is not a party
                      to the case. (Attachments: # 1 Amicus Brief − Exhibits, # 2 Certificate of Service)
                      (znmw) (Entered: 04/22/2025)
   04/22/2025         MINUTE ORDER: The Court ORDERS that the 95 Motion for Leave to File Amicus
                      Brief is GRANTED. So ORDERED by Chief Judge James E. Boasberg on 4/22/2025.
                      (lcjeb1) (Entered: 04/22/2025)
   04/22/2025         MINUTE ORDER re 97 Request for Leave to File Review. The Court ORDERS that
                      leave to file is granted. So ORDERED by Chief Judge James E. Boasberg on
                      4/22/2025. (lcjeb1) (Entered: 04/22/2025)
   04/22/2025   104   MOTION for CM/ECF Password by MEGHAN KELLY. (Attachments: # 1 Exhibit
                      1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(zjm) (Entered: 04/25/2025)
   04/23/2025   105   REQUEST FOR LEAVE TO FILE REVIEW. The attached document requires leave
                      to file: MEGHAN KELLY − Corrected Proposed Amicus Brief. Reason(s): Filer is
                      not a party to the case. (Attachments: # 1 Corrected Amicus Brief, # 2 Exhibit 1−12, #
                      3 Exhibit 13, # 4 Exhibit 14, # 5 Exhibit 15, # 6 Certificate of Service) (zjm) (Entered:
                      04/28/2025)
   04/24/2025    99   NOTICE of Appearance by Brian D. Netter on behalf of G.F.F., J.A.V., J.G.G.,
                      J.G.O., W.G.H. (Netter, Brian) (Entered: 04/24/2025)
   04/24/2025   100   REDACTED DOCUMENT− Redacted Public Version of ECF No. 2 Unsealed
                      Motion to Proceed Under Pseudonyms by G.F.F., J.A.V., J.G.G., J.G.O., W.G.H..
                      (Galindo, Daniel) (Entered: 04/24/2025)
   04/24/2025   101   AMENDED COMPLAINT against All Defendants filed by G.F.F., J.G.G., J.G.O.,
                      W.G.H., J.A.V., M.Z.V.V., M.Y.O.R., M.M.A.A., D.A.R.H., EYLAN SCHILMAN,
                      LIYANARA SANCHEZ, DORYS MENDOZA.(Gelernt, Lee) (Entered: 04/24/2025)
   04/25/2025   102   MOTION for Preliminary Injunction by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O.,
                      M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ,
                      EYLAN SCHILMAN, W.G.H.. (Attachments: # 1 Memorandum in Support, # 2
                      Exhibit Declaration of Rebecca Hanson, # 3 Exhibit Declaration of Andres Antillano,
                      # 4 Exhibit Declaration of Steven Dudley, # 5 Exhibit Declaration of Sarah Bishop, #
                      6 Exhibit Declaration of Juanita Goebertus, # 7 Exhibit Declaration of Liyanara
                      Sanchez, # 8 Exhibit Declaration of DARH, # 9 Exhibit Declaration of MZVV, # 10
                      Exhibit Declaration of MYOR, # 11 Exhibit Declaration of MMAA, # 12 Exhibit
                      Declaration of Dorys Mendoza, # 13 Exhibit Declaration of Elyan Schulman, # 14
                      Exhibit Declaration of Oscar Sarabia Roman, # 15 Text of Proposed Order)(Gelernt,
                      Lee) (Entered: 04/25/2025)
   04/25/2025   103   MOTION to Certify Class by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O., M.M.A.A.,
                      M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ, EYLAN
                      SCHILMAN, W.G.H.. (Attachments: # 1 Memorandum in Support, # 2 Declaration, #
                      3 Text of Proposed Order)(Gelernt, Lee) (Entered: 04/25/2025)
   04/29/2025   106   REQUEST FOR SUMMONS TO ISSUE filed by LIYANARA SANCHEZ,
                      M.Z.V.V., G.F.F., J.G.G., M.Y.O.R., EYLAN SCHILMAN, M.M.A.A., J.G.O.,

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                      DORYS MENDOZA, D.A.R.H., W.G.H., J.A.V.. (Attachments: # 1
                      Summons)(Gelernt, Lee) (Entered: 04/29/2025)
   04/30/2025   107   SUMMONS (2) Issued Electronically as to PETE HEGSETH, U.S. DEPARTMENT
                      OF DEFENSE. (znmw) (Entered: 04/30/2025)
   05/01/2025   108   Memorandum in opposition to re 102 MOTION for Preliminary Injunction filed by
                      DONALD J. TRUMP, U.S. DEPARTMENT OF DEFENSE, U.S. DEPARTMENT
                      OF HOMELAND SECURITY, U.S. IMMIGRATION AND CUSTOMS
                      ENFORCEMENT, U.S. STATE DEPARTMENT. (Attachments: # 1 Exhibit A:
                      Landau Declaration, # 2 Exhibit B:, # 3 Text of Proposed Order)(Ensign, Drew)
                      (Entered: 05/01/2025)
   05/02/2025   109   NOTICE of Appearance by Tiberius T Davis on behalf of All Defendants (Davis,
                      Tiberius) (Entered: 05/02/2025)
   05/05/2025   110   NOTICE of Appearance by Aditi Shah on behalf of All Plaintiffs (Shah, Aditi) (Main
                      Document 110 replaced on 5/6/2025) (znmw). (Entered: 05/05/2025)
   05/05/2025   111   REPLY to opposition to motion re 102 Motion for Preliminary Injunction,,, filed by
                      D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS
                      MENDOZA, LIYANARA SANCHEZ, EYLAN SCHILMAN, W.G.H.. (Gelernt,
                      Lee) (Entered: 05/05/2025)
   05/06/2025         MINUTE ORDER: The Court ORDERS that Proposed Amicus's 104 Motion, which
                      it construes as a Motion for CM/ECF Password, is GRANTED, provided that she
                      comply with any requirements imposed by the Clerk's Office. So ORDERED by
                      Chief Judge James E. Boasberg on 5/6/2025. (lcjeb1) (Entered: 05/06/2025)
   05/06/2025         MINUTE ORDER: The Court ORDERS that Proposed Amicus's [98, 105] Requests
                      for Leave to File are DENIED. She must file a motion for leave to file an amicus brief
                      before simply filing one. So ORDERED by Chief Judge James E. Boasberg on
                      5/6/2025. (lcjeb1) (Entered: 05/06/2025)
   05/06/2025   112   NOTICE OF SUPPLEMENTAL AUTHORITY by D.A.R.H., G.F.F., J.A.V., J.G.G.,
                      J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H. (Attachments: # 1 Supplement
                      Memorandum Opinion from G.F.F. v. Trump, # 2 Supplement Memorandum Opinion
                      from D.B.U. v. Trump)(Gelernt, Lee) (Entered: 05/06/2025)
   05/06/2025   113   MOTION for Order to Proceed under Pseudonyms − Supplemental Motion for Leave
                      to Proceed Under Pseudonyms by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O.,
                      M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ,
                      EYLAN SCHILMAN, W.G.H.. (Attachments: # 1 Text of Proposed Order)(Gelernt,
                      Lee) Modified on 5/8/2025 to correct event (zjm). (Entered: 05/06/2025)
   05/07/2025         MINUTE ORDER: The Court ORDERS that the hearing set for today at 5:00 p.m.
                      shall take place in Courtroom 22A. Members of the public may attend in person or by
                      telephone. Toll free number: 833−990−9400. Meeting ID: 049550816. Any use of the
                      public−access telephone line requires adherence to the general prohibition against
                      photographing, recording, livestreaming, and rebroadcasting of court proceedings
                      (including those held by telephone or videoconference), as set out in Standing Order
                      No. 24−31 (JEB). Violation of these prohibitions may result in sanctions, including
                      removal of court−issued media credentials, restricted entry to future hearings, denial
                      of entry to future hearings, or other sanctions deemed necessary by the Court. So


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                      ORDERED by Chief Judge James E. Boasberg on 5/7/2025. (lcjeb1) (Entered:
                      05/07/2025)
   05/07/2025   114   Memorandum in opposition to re 103 MOTION to Certify Class filed by PAMELA J.
                      BONDI, PETE HEGSETH, KRISTI NOEM, MARCO A. RUBIO, MADISON
                      SHEAHAN, DONALD J. TRUMP, U.S. DEPARTMENT OF DEFENSE, U.S.
                      DEPARTMENT OF HOMELAND SECURITY, U.S. IMMIGRATION AND
                      CUSTOMS ENFORCEMENT, U.S. STATE DEPARTMENT. (Davis, Tiberius)
                      (Entered: 05/07/2025)
   05/07/2025   115   NOTICE of Proposed Order re 114 Memorandum in opposition to re 103 MOTION to
                      Certify Class (Proposed Order) filed by PAMELA J. BONDI, PETE HEGSETH,
                      KRISTI NOEM, MARCO A. RUBIO, MADISON SHEAHAN, DONALD J.
                      TRUMP, U.S. DEPARTMENT OF DEFENSE, U.S. DEPARTMENT OF
                      HOMELAND SECURITY, U.S. IMMIGRATION AND CUSTOMS
                      ENFORCEMENT, U.S. STATE DEPARTMENT. (Davis, Tiberius) Modified event
                      title on 5/9/2025 (znmw). (Entered: 05/07/2025)
   05/07/2025         Minute Entry for proceedings held before Chief Judge James E. Boasberg: Motion
                      Hearing held on 5/7/2025 re 85 MOTION for Temporary Restraining Order and
                      Notice in Response to the Court's April 8, 2025 Order filed by J.G.O., W.G.H.,
                      J.G.G., G.F.F., J.A.V.. Oral argument heard, order forthcoming. (Court Reporter
                      Janice Dickman) (znbn) (Entered: 05/07/2025)
   05/08/2025   116   ORDER: As explained at the conclusion of yesterday's hearing, the Court ORDERS
                      that: 1) By May 9, 2025, Respondents shall submit any declarations they wish to
                      provide regarding whether the United States has constructive custody over the
                      proposed CECOT class; 2) By May 12, 2025, Petitioners shall submit to the Court a
                      notice regarding whether they wish to seek jurisdictional discovery, and, if so, the
                      specific discovery they propose to propound; and 3) By May 14, 2025, Respondents
                      shall submit any response to Petitioners' discovery proposal. Signed by Chief Judge
                      James E. Boasberg on 5/8/2025. (lcjeb4) (Entered: 05/08/2025)
   05/08/2025   117   ORDER: The Court ORDERS that: 1) Petitioners' 113 Motion for Leave to File
                      Under Pseudonym is GRANTED; 2) All parties shall use the pseudonyms listed in the
                      Amended Complaint in all documents filed in this action; and 3) Within fourteen days
                      of this Order, Petitioners and their next friends must file a sealed declaration
                      containing their real names and residential addresses. Signed by Chief Judge James E.
                      Boasberg on 5/8/2025. (lcjeb1) (Entered: 05/08/2025)
   05/09/2025   118   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed by
                      PAMELA J. BONDI, PETE HEGSETH, KRISTI NOEM, MARCO A. RUBIO,
                      MADISON SHEAHAN, DONALD J. TRUMP, U.S. DEPARTMENT OF
                      DEFENSE, U.S. DEPARTMENT OF HOMELAND SECURITY, U.S.
                      IMMIGRATION AND CUSTOMS ENFORCEMENT, U.S. STATE DEPARTMENT
                      (This document is SEALED and only available to authorized persons.) (Attachments:
                      # 1 Exhibit Sealed Declaration, # 2 Exhibit Sealed Redacted Declaration, # 3 Exhibit
                      Sealed Document 1, # 4 Exhibit Sealed Document 2, # 5 Exhibit Sealed Document 3,
                      # 6 Exhibit Sealed Document 4, # 7 Text of Proposed Order Sealed Proposed
                      Order)(Davis, Tiberius) (Entered: 05/09/2025)
   05/10/2025   119   CERTIFICATE OF SERVICE re 118 by PAMELA J. BONDI, PETE HEGSETH,
                      KRISTI NOEM, MARCO A. RUBIO, MADISON SHEAHAN, DONALD J.
                      TRUMP, U.S. DEPARTMENT OF DEFENSE, U.S. DEPARTMENT OF


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                      HOMELAND SECURITY, U.S. IMMIGRATION AND CUSTOMS
                      ENFORCEMENT, U.S. STATE DEPARTMENT of Sealed Filing. (Davis, Tiberius)
                      Modified to add link on 5/12/2025 (znmw). (Entered: 05/10/2025)
   05/10/2025   120   NOTICE (Filing Statement) by PAMELA J. BONDI, PETE HEGSETH, KRISTI
                      NOEM, MARCO A. RUBIO, MADISON SHEAHAN, DONALD J. TRUMP, U.S.
                      DEPARTMENT OF DEFENSE, U.S. DEPARTMENT OF HOMELAND
                      SECURITY, U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, U.S.
                      STATE DEPARTMENT re 116 Order,,, Set Deadlines,, (Davis, Tiberius) (Entered:
                      05/10/2025)
   05/11/2025   121   MOTION for Leave to File Excess Pages by MEGHAN KELLY. (Attachments: # 1
                      proposed order for leave to exceed page limits in Meghan Kelly's amicus
                      brief)(KELLY, MEGHAN) (Entered: 05/11/2025)
   05/11/2025   122   MOTION for Leave to File Amicus Brief by MEGHAN KELLY. (Attachments: # 1 4
                      exhibit A Affidavit Texas venue prejudicial against Plaintiffs to Motion to file
                      Amicus Brief, # 2 5 Exhibit B Meg proposed 5 art of impeachment including
                      protecting kids and folks at the border sent to all 541 congress people to Motion to
                      File Amicus, # 3 6 Exhibit C Texas Governor Abbott's Border_Statement to Motion to
                      file Amicus, # 4 7 Exhibit D Ice court case detained college kid in one state moved
                      her in night across state lines Appellate Court said unlawful government change
                      venue to manipulate forums to motion to file amicus, # 5 8 Exhibit E Leaked Memo to
                      search without a warrant to Motion to file amicus, # 6 Certificate of Service to Motion
                      to exceed page limits, Motion for Leave to file amicus and exhibits thereto, and
                      proffered Amicus Brief and Exhibits thereto)(KELLY, MEGHAN) (Entered:
                      05/11/2025)
   05/11/2025   123   SUPPLEMENT (Proposed Amicus Brief) re 122 MOTION for Leave to File Amicus
                      Brief by MEGHAN KELLY. (Attachments: # 1 Exhibits 1−12 to proposed amicus
                      brief above, # 2 Exhibit 13 USSC order Texas evaded by declaring insurrection Jan 24
                      2024 to proposed amicus brief, # 3 Exhibit 14 annexing Canada, Greenland, Panama
                      Canal to proposed amicus brief above, # 4 Exhibit 15 Trump's potentially conflicting
                      corporate interests to proposed amicus brief above, # 5 Proposed order on Meghan
                      Kelly's Motion for Leave to file amicus brief)(KELLY, MEGHAN) Modified event
                      title on 5/12/2025 (znmw). (Entered: 05/11/2025)
   05/12/2025         MINUTE ORDER: The Court ORDERS that Defendants' 118 Motion for Leave to
                      File Document Under Seal is GRANTED. In the event that the Court, after review,
                      believes that a redacted version of the filing should be placed on the public record, it
                      will so order. So ORDERED by Chief Judge James E. Boasberg on 5/12/2025.
                      (lcjeb1) (Entered: 05/12/2025)
   05/12/2025         MINUTE ORDER: The Court ORDERS that the 121 Motion for Leave to File Excess
                      Pages is DENIED. So ORDERED by Chief Judge James E. Boasberg on 5/12/2025.
                      (lcjeb1) (Entered: 05/12/2025)
   05/12/2025   124   TRANSCRIPT OF PROCEEDINGS before Chief Judge James E. Boasberg held on
                      May 7, 2025; Page Numbers: 1−42. Date of Issuance: May 12, 2025. Court Reporter:
                      Janice Dickman, Telephone number: 202−354−3267, Transcripts may be ordered by
                      submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.


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                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be
                      made available to the public via PACER without redaction after 90 days. The policy,
                      which includes the five personal identifiers specifically covered, is located on our
                      website at www.dcd.uscourts.gov.

                      Redaction Request due 6/2/2025. Redacted Transcript Deadline set for 6/12/2025.
                      Release of Transcript Restriction set for 8/10/2025.(Dickman, Janice) (Entered:
                      05/12/2025)
   05/12/2025   125   NOTICE Regarding Jurisdictional Discovery by D.A.R.H., G.F.F., J.A.V., J.G.G.,
                      J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H. (Attachments: # 1 Exhibit A Proposed
                      Discovery Requests)(Gelernt, Lee) (Entered: 05/12/2025)
   05/13/2025         MINUTE ORDER: The Court ORDERS that Amicus's 122 Motion for Leave is
                      DENIED WITHOUT PREJUDICE. She must attach her proposed brief to any motion
                      for leave to file. So ORDERED by Chief Judge James E. Boasberg on 5/13/2025.
                      (lcjeb1) (Entered: 05/13/2025)
   05/14/2025   126   RESPONSE re 125 Notice (Other), in Opposition to Petitioners−Plaintiffs' Request
                      for Further Discovery, filed by PAMELA J. BONDI, PETE HEGSETH, KRISTI
                      NOEM, MARCO A. RUBIO, MADISON SHEAHAN, DONALD J. TRUMP, U.S.
                      DEPARTMENT OF DEFENSE, U.S. DEPARTMENT OF HOMELAND
                      SECURITY, U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, U.S.
                      STATE DEPARTMENT. (Davis, Tiberius) (Entered: 05/14/2025)
   05/14/2025   127   REPLY to opposition to motion re 103 Motion to Certify Class, filed by D.A.R.H.,
                      G.F.F., J.A.V., J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS
                      MENDOZA, LIYANARA SANCHEZ, EYLAN SCHILMAN, W.G.H.. (Gelernt,
                      Lee) (Entered: 05/14/2025)
   05/15/2025   131   REQUEST FOR LEAVE TO FILE REVIEW. The attached document requires
                      leave to file: Motion to Intervene. Joshua Hall & Eric Heilner. Reason(s): Filer is not
                      a party to the case. (zjm) (Entered: 05/21/2025)
   05/16/2025   128   ORDER: The Court ORDERS that: 1) By May 19, 2025, Petitioners shall serve the
                      requests listed in this Order upon Respondents in the finalized form contemplated by
                      the Federal Rules of Civil Procedure; 2) By May 23, 2025, Respondents shall provide
                      responses to the requests listed in this Order, assert any applicable privileges, and
                      explain why such privilege applies; and 3) By May 26, 2025, Petitioners shall file any
                      response to Respondents' submissions. Signed by Chief Judge James E. Boasberg on
                      5/16/2025. (lcjeb1) (Entered: 05/16/2025)
   05/16/2025         MINUTE ORDER: Per the Court's Minute Order of May 12, 2025, granting
                      Defendants' 118 Motion for Leave to File Under Seal, and because they have now
                      informed the Court that they do not oppose filing the redacted exhibit comprising ECF
                      No. 118−2 on the public docket, the Court ORDERS that they shall do so by May 19,
                      2025. So ORDERED by Chief Judge James E. Boasberg on May 16, 2025. (lcjeb2)
                      (Entered: 05/16/2025)


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   05/16/2025   129   REDACTED DOCUMENT− Declaration to Order, filed in response to minute order
                      of May 16, 2025, by PAMELA J. BONDI, PETE HEGSETH, KRISTI NOEM,
                      MARCO A. RUBIO, MADISON SHEAHAN, DONALD J. TRUMP, U.S.
                      DEPARTMENT OF DEFENSE, U.S. DEPARTMENT OF HOMELAND
                      SECURITY, U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, U.S.
                      STATE DEPARTMENT. (Davis, Tiberius) (Entered: 05/16/2025)
   05/21/2025   130   MOTION for Leave to File Amicus Brief by MEGHAN KELLY. (Attachments: # 1
                      declaration to Motion for leave to file an amicus brief by Meghan Kelly, # 2 Exhibit 1
                      Redacted admission Fraud in AEA by Defendants, # 3 Exhibit 2 proof of secretly
                      concealing evidence in my favor to affect outcome of case on appeal Kelly v Trump
                      Due Process violations and in future planned discipline to discredit me in cover ups
                      and demean relig belief in Jesus, # 4 Exhibits 3 & 4 kelly v trump docs secretly sealed
                      to hide evidence in my favor, # 5 Exhibit 5 and 6 exemption form bar dues in DE, # 6
                      Exhibit 7 Lexis published Motion to Reign in arms from gov force to compel Meghan
                      forgo or interfere case kelly v trump, # 7 Exhibit 8 Danger against Meg and solicitor
                      generalfuneral US Supreme Court accepted only one full copy the original and the
                      original and 10 copies of the IFP with the required exhibit and 10 copies of Pet for
                      rehearing without exhibits, # 8 9 Yahoo Mail − Number 23−7360_ Fw_ Thank you
                      Lisa Nesbitt Kelly v Swartz_Meg asserts right to live_religious objections to
                      healthcare, science and mental healthcare by..., # 9 Exhibit 10 Exhibit 43 to Appendix
                      F kelly v trump, # 10 Exhibit 11 USSC fired court staff Lisa nesbitt same as state
                      court to cover up mistakes that may be cured not concealed Meg wants to protect and
                      correct not destroy, # 11 Exhibit 12 Proposed amicus brief by Meghan Kelly, # 12
                      Declaration proposed Amicus Brief, # 13 Certificate of Service og Meghan Kelly's
                      May 21 Motion for leave to file amicus)(KELLY, MEGHAN) (Entered: 05/21/2025)
   05/21/2025   132   SEALED DOCUMENT filed by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O., M.M.A.A.,
                      M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ, EYLAN
                      SCHILMAN, W.G.H. re 117 Order on Motion for Order,, Set/Reset Deadlines, (This
                      document is SEALED and only available to authorized persons.)(Galindo, Daniel)
                      (Entered: 05/21/2025)
   05/22/2025         MINUTE ORDER re 131 Request for Leave to File Review. Leave to file is
                      granted. The Clerk is directed to file the attached document on the public docket. So
                      ORDERED by Chief Judge James E. Boasberg on 5/22/2025. (lcjeb1) (Entered:
                      05/22/2025)
   05/22/2025         MINUTE ORDER: The Court ORDERS that Amicus's 130 Motion is GRANTED and
                      her [130−11] Brief is deemed FILED. So ORDERED by Chief Judge James E.
                      Boasberg on 5/22/2025. (lcjeb1) (Entered: 05/22/2025)
   05/22/2025         MINUTE ORDER: The Court ORDERS that Petitioners−Plaintiffs' Reply to the
                      Government's discovery submissions shall now be due by May 27, 2025. So
                      ORDERED by Chief Judge James E. Boasberg on 5/22/2025. (lcjeb1) (Entered:
                      05/22/2025)
   05/22/2025   133   MOTION to Intervene by JOSHUA HALL. (znmw) (Entered: 05/23/2025)
   05/22/2025   143   AMICUS BRIEF by MEGHAN KELLY. (zjm) (Entered: 05/28/2025)
   05/23/2025   134   NOTICE OF WITHDRAWAL OF APPEARANCE as to D.A.R.H., G.F.F., J.A.V.,
                      J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H.. Attorney Pooja Boisture terminated.
                      (Boisture, Pooja) (Entered: 05/23/2025)

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   05/23/2025   135   NOTICE OF WITHDRAWAL OF APPEARANCE as to D.A.R.H., G.F.F., J.A.V.,
                      J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H.. Attorney Skye Perryman terminated.
                      (Perryman, Skye) (Entered: 05/23/2025)
   05/23/2025   136   NOTICE OF WITHDRAWAL OF APPEARANCE as to D.A.R.H., G.F.F., J.A.V.,
                      J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H.. Attorney Somil Trivedi terminated.
                      (Trivedi, Somil) (Entered: 05/23/2025)
   05/23/2025   137   NOTICE OF WITHDRAWAL OF APPEARANCE as to D.A.R.H., G.F.F., J.A.V.,
                      J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H.. Attorney Michael Lawrence Waldman
                      terminated. (Waldman, Michael) (Entered: 05/23/2025)
   05/23/2025   138   NOTICE OF WITHDRAWAL OF APPEARANCE as to D.A.R.H., G.F.F., J.A.V.,
                      J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H.. Attorney Audrey Jordan Wiggins
                      terminated. (Wiggins, Audrey) (Entered: 05/23/2025)
   05/23/2025   139   STIPULATION of Agreed Confidentiality Order by PAMELA J. BONDI, PETER B.
                      HEGSETH, KRISTI NOEM, MARCO RUBIO, MADISON SHEAHAN, DONALD
                      J. TRUMP, U.S. DEPARTMENT OF DEFENSE, U.S. DEPARTMENT OF
                      HOMELAND SECURITY, U.S. IMMIGRATION AND CUSTOMS
                      ENFORCEMENT, U.S. STATE DEPARTMENT. (Davis, Tiberius) Modified on
                      5/27/2025 (znmw). (Entered: 05/23/2025)
   05/27/2025         ENTERED IN ERROR.....NOTICE OF ERROR regarding 139 Stipulation,. The
                      following error(s) need correction: Missing signatures − Please refile. (znmw)
                      Modified on 5/27/2025; per request from chambers (znmw). (Entered: 05/27/2025)
   05/27/2025   140   ORDER: The Court ORDERS that the 139 Stipulated Confidentiality Order is
                      ADOPTED. Signed by Chief Judge James E. Boasberg on 5/27/2025. (lcjeb4)
                      (Entered: 05/27/2025)
   05/27/2025   141   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed by
                      D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS
                      MENDOZA, LIYANARA SANCHEZ, EYLAN SCHILMAN, W.G.H. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1
                      Exhibit Sealed Document 1, # 2 Exhibit Sealed Document 2, # 3 Exhibit Sealed
                      Document 3)(Gelernt, Lee) (Entered: 05/27/2025)
   05/27/2025   142   CERTIFICATE OF SERVICE by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O.,
                      M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ,
                      EYLAN SCHILMAN, W.G.H. re 141 SEALED MOTION FOR LEAVE TO FILE
                      DOCUMENT UNDER SEAL filed by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O.,
                      M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ,
                      EYLAN SCHILMAN, W.G.H. (This document is SEALED and only available to
                      authorized person . (Gelernt, Lee) (Entered: 05/27/2025)
   05/28/2025   144   NOTICE OF WITHDRAWAL OF APPEARANCE as to D.A.R.H., G.F.F., J.A.V.,
                      J.G.G., J.G.O., M.M.A.A., M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA
                      SANCHEZ, EYLAN SCHILMAN, W.G.H.. Attorney Sarah Rich terminated. (Rich,
                      Sarah) (Entered: 05/28/2025)



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   05/28/2025         MINUTE ORDER: The Court ORDERS that the 141 Sealed Motion for Leave to File
                      Document Under Seal is GRANTED. So ORDERED by Chief Judge James E.
                      Boasberg on 5/28/2025. (lcjeb1) (Entered: 05/28/2025)
   05/28/2025   145   SEALED Response filed by D.A.R.H., G.F.F., J.A.V., J.G.G., J.G.O., M.M.A.A.,
                      M.Y.O.R., M.Z.V.V., DORYS MENDOZA, LIYANARA SANCHEZ, EYLAN
                      SCHILMAN, W.G.H.. (This document is SEALED and only available to authorized
                      persons.) (Attachments: # 1 Exhibit)(zjm) (Entered: 05/29/2025)
   06/04/2025   146   NOTICE of Appearance by Michael King Thomas Tan on behalf of All Plaintiffs
                      (Tan, Michael) (Entered: 06/04/2025)
   06/04/2025   147   ORDER: For the reasons set forth in the accompanying Memorandum Opinion, the
                      Court ORDERS that: 1) Plaintiffs' 102 Motion for Preliminary Injunction is
                      GRANTED IN PART and DENIED IN PART; 2) Plaintiffs' 103 Motion for Class
                      Certification is DENIED WITHOUT PREJUDICE as to the Criminal Custody Class
                      and GRANTED as to the CECOT Class with modifications. The latter Class shall be
                      defined as follows:

                              All noncitizens removed from U.S. custody and transferred to the
                              Terrorism Confinement Center (CECOT) in El Salvador on March 15
                              and 16, 2025, pursuant solely to the Presidential Proclamation
                              entitled, "Invocation of the Alien Enemies Act Regarding the
                              Invasion of The United States by Tren De Aragua"; and

                      3) By June 11, 2025, Defendants shall submit a Notice to the Court advising how they
                      intend to facilitate the ability of the CECOT Class to seek habeas relief. SIGNED by
                      Chief Judge James E. Boasberg on 6/4/2025. (lcjeb3) (Entered: 06/04/2025)
   06/04/2025   148   MEMORANDUM OPINION re 147 Order on Preliminary Injunction and Class
                      Certification Motions. SIGNED by Chief Judge James E. Boasberg on 6/4/2025.
                      (lcjeb3) (Entered: 06/04/2025)
   06/04/2025         MINUTE ORDER: Given the Court's ruling today on Plaintiffs' PI Motion, it
                      ORDERS that Plaintiffs' 85 Motion for TRO is DENIED as moot. Similarly,
                      Plaintiffs' 67 prior PI Motion is DENIED as moot. Finally, proposed Intervenor's 133
                      Motion to Intervene is DENIED as not satisfying Fed. R. Civ. P. 24. So ORDERED
                      by Chief Judge James E. Boasberg on 6/4/2025. (lcjeb1) (Entered: 06/04/2025)
   06/04/2025         MINUTE ORDER: As set forth in the Court's 148 Memorandum Opinion, the Court
                      ORDERS that Plaintiffs shall by June 6, 2025, post a $1.00 bond in accordance with
                      Fed. R. Civ. P. 65(c). So ORDERED by Chief Judge James E. Boasberg on 6/4/2025.
                      (lcjeb1) (Entered: 06/04/2025)
   06/05/2025         DEPOSIT of Funds for Bond in the amount of $ 1.00, Receipt Number 209726,
                      pursuant to 06/04/2025 Minute Order. (zjm) (Entered: 06/06/2025)
   06/10/2025   149   ENTERED IN ERROR.....NOTICE OF APPEAL TO DC CIRCUIT COURT as to
                      147 Order on Motion for Preliminary Injunction,,,, Order on Motion to Certify
                      Class,,,, Set/Reset Deadlines,,, by PAMELA J. BONDI, MADISON SHEAHAN, U.S.
                      IMMIGRATION AND CUSTOMS ENFORCEMENT, U.S. STATE
                      DEPARTMENT, DONALD J. TRUMP, U.S. DEPARTMENT OF HOMELAND
                      SECURITY, U.S. DEPARTMENT OF DEFENSE, MARCO RUBIO, KRISTI
                      NOEM, PETER B. HEGSETH. Fee Status: No Fee Paid. Parties have been notified.
                      (Davis, Tiberius) Modified on 6/10/2025 (znmw). (Entered: 06/10/2025)

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   06/10/2025         NOTICE OF ERROR regarding 149 Notice of Appeal to DC Circuit Court,. The
                      following error(s) need correction: Incorrect case number. Please refile. (znmw)
                      (Entered: 06/10/2025)
   06/10/2025   150   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 147 Order on Motion for
                      Preliminary Injunction,,,, Order on Motion to Certify Class,,,, Set/Reset Deadlines,,,
                      by PAMELA J. BONDI, MADISON SHEAHAN, U.S. IMMIGRATION AND
                      CUSTOMS ENFORCEMENT, U.S. STATE DEPARTMENT, DONALD J. TRUMP,
                      U.S. DEPARTMENT OF HOMELAND SECURITY, U.S. DEPARTMENT OF
                      DEFENSE, MARCO RUBIO, KRISTI NOEM, PETER B. HEGSETH. Fee Status:
                      No Fee Paid. Parties have been notified. (Davis, Tiberius) (Entered: 06/10/2025)




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                                 In the United States District Court
                                     for the District of Columbia


  J.G.G. et al.,                                      Case No. 1:25-cv-00766-JEB

                   Plaintiffs;

  LIYANARA SANCHEZ, as next friend
  on behalf of FRENGEL REYES MOTA,
  et al.,

                   Petitioners–Plaintiffs,

         v.                                           NOTICE OF APPEAL

  DONALD J. TRUMP, in his official
  capacity as President of the United
  States, et al.,

                   Respondents–Defendants.


        PLEASE TAKE NOTICE that all Respondents–Defendants appeal to the

 United States Court of Appeals for the District of Columbia Circuit from the order of

 this Court entered in this case on June 4, 2025, docketed at ECF No. 147, and all

 orders merging therewith.

                                               Respectfully submitted,

                                               Yaakov M. Roth
                                               Acting Assistant Attorney General
                                               Civil Division

                                               Drew C. Ensign
                                               Deputy Assistant Attorney General
                                               Office of Immigration Litigation

                                               August Flentje
                                               Special Counsel for Immigration




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                                 s/Tiberius T. Davis
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                                 Counsel to the Assistant Attorney General
                                 Civil Division
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                                 Anthony Nicastro
                                 Acting Director
                                 Office of Immigration Litigation

                                 Ernesto Molina
                                 Deputy Director
                                 Office of Immigration Litigation

 Dated: June 10, 2025            Counsel for Respondents–Defendants




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                                   Certificate of Service

       I hereby certify that I served this document on June 10, 2025, by filing it with

 the Court’s CM/ECF system, which will electronically deliver the document to all

 other parties or their counsel.

                                           s/Tiberius T. Davis
                                           Counsel for Respondents–Defendants




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  J.G.G., et al.,

          Plaintiffs,

  LIYANARA SANCHEZ, as next friend on
  behalf of FRENGEL REYES MOTA, et al.,
                                                         Civil Action No. 25-766 (JEB)
          Petitioners-Plaintiffs,
                    v.
  DONALD J. TRUMP, et al.,

          Respondents-Defendants.


                                              ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, the Court

 ORDERS that:

        1. Plaintiffs’ [102] Motion for Preliminary Injunction is GRANTED IN PART and

            DENIED IN PART;

        2. Plaintiffs’ [103] Motion for Class Certification is DENIED WITHOUT PREJUDICE

            as to the Criminal Custody Class and GRANTED as to the CECOT Class with

            modifications. The latter Class shall be defined as follows:

                         All noncitizens removed from U.S. custody and transferred
                         to the Terrorism Confinement Center (CECOT) in El
                         Salvador on March 15 and 16, 2025, pursuant solely to the
                         Presidential Proclamation entitled, “Invocation of the Alien
                         Enemies Act Regarding the Invasion of The United States by
                         Tren De Aragua”; and

        3. By June 11, 2025, Defendants shall submit a Notice to the Court advising how they

            intend to facilitate the ability of the CECOT Class to seek habeas relief.




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                                             /s/ James E. Boasberg
                                             JAMES E. BOASBERG
                                             Chief Judge
 Date: June 4, 2025




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  J.G.G., et al.,

          Plaintiffs,

  LIYANARA SANCHEZ, as next friend on
  behalf of FRENGEL REYES MOTA, et al.,
                                                          Civil Action No. 25-766 (JEB)
          Petitioners-Plaintiffs,
                    v.
  DONALD J. TRUMP, et al.,

          Respondents-Defendants.


                                    MEMORANDUM OPINION

         One morning, Kafka’s Josef K. awakens to encounter two strange men outside his room.

 As he gets his bearings, he realizes that he is under arrest. When he asks the strangers why, he

 receives no answer. “We weren’t sent to tell you that,” one says. “Proceedings are under way

 and you’ll learn everything in due course.” Franz Kafka, The Trial 5 (Breon Mitchell trans.,

 Schocken Books Inc. 1998). Bewildered by these men and distressed by their message, K. tries

 to comfort himself that he lives in “a state governed by law,” one where “all statutes [are] in

 force.” Id. at 6. He therefore demands again, “How can I be under arrest? And in this manner?”

 “Now there you go again,” the guard replies. “We don’t answer such questions.” Undeterred, K.

 offers his “papers” and demands their arrest warrant. “Good heavens!” the man scolds. “There’s

 been no mistake.” “[O]ur department,” he assures K., is only “attracted by guilt”; it “doesn’t

 seek [it] out . . . . That’s the Law.” Id. at 8–9. “I don’t know that law,” K. responds. “You’ll feel

 it eventually,” the guard says. Id. at 9.



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        Such was the situation into which Frengel Reyes Mota, Andry Jose Hernandez Romero,

 and scores of other Venezuelan noncitizens say they were plunged on March 15, 2025. In the

 early morning hours, Venezuelans held by the Department of Homeland Security at El Valle

 Detention Facility in Texas were awakened from their cells, taken to a separate room, shackled,

 and informed that they were being transferred. See J.G.G. v. Trump, 2025 WL 1119481, at *2

 (D.D.C. Apr. 16, 2025); ECF Nos. 44-9 (Karyn Ann Shealy Second Decl.), ¶¶ 7–8; 44-10

 (Stephanie Quintero Decl.), ¶ 3; 44-11 (Grace Carney First Decl.), ¶ 11; 44-12 (Melissa Smyth

 Decl.), ¶ 13. To where? That they were not told. See ECF No. 101 (Am. Compl.), ¶ 69; Smyth

 Decl., ¶ 13. When asked, some guards reportedly laughed and said that they did not know;

 others told the detainees, incorrectly, that they were being transferred to another immigration

 facility or to Mexico or Venezuela. See Shealy Second Decl., ¶ 10; Quintero Decl., ¶ 3; ECF

 Nos. 67-6 (Grace Carney Second Decl.), ¶ 3; 67-11 (Abigail Beckman Decl.), ¶ 9; 102-8

 (D.A.R.H. Decl.), ¶ 8.

        Before long, Reyes Mota, Hernandez Romero, and the other detainees were shuttled onto

 buses, driven to a nearby airport, and loaded onto planes. J.G.G, 2025 WL 1119481, at *2. As

 the planes waited on the tarmac, many passengers aboard reportedly began to panic and beg

 officials for more information, but none was provided. See Shealy Second Decl., ¶ 10. The

 planes eventually departed that evening and, after a stop in Honduras, landed in El Salvador.

 J.G.G., 2025 WL 1119481, at *4. Upon their arrival, the detainees were transferred into a

 Salvadoran mega-prison known as the Center for Terrorism Confinement (CECOT).

        Under what authority? It turned out that mere hours before the planes took off, President

 Trump had invoked the Alien Enemies Act of 1798. When the country is at war or has suffered

 an invasion or predatory incursion, the Act authorizes the President to apprehend and remove




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 citizens of the enemy nation — so-called “alien enemies.” Asserting that a Venezuelan gang

 named Tren de Aragua had committed an invasion and predatory incursion upon the United

 States, the President directed immigration officials to apprehend and remove any such gang

 members from the United States. Reyes Mota and Hernandez Romero were among the men the

 Government deemed members of Tren de Aragua. Both vehemently deny any such affiliation

 and claim that they were never able to challenge the accusation before being removed. See ECF

 No. 102-7 (Liyanara Sánchez Decl.), ¶¶ 5–7; D.A.R.H. Decl., ¶¶ 6–7, 13.

        This Court, at a swiftly convened hearing on March 15, ordered the Government not to

 relinquish custody of the men, but that mandate was ignored. Such defiance is currently the

 subject of the Court’s contempt inquiry. See J.G.G. v. Trump, 2025 WL 1119481 (D.D.C. Apr.

 16, 2025), appeal filed, No. 25-5124 (D.C. Cir. Apr. 17, 2025). Plaintiffs have now amended

 their Complaint to bring class claims on behalf of those deported to CECOT. In addition, T.C.I.

 brings separate class claims on behalf of those in U.S. criminal custody who fear future removal

 under the Alien Enemies Act. Both putative Classes invoke their due-process rights and assert

 that the Government has violated or will violate those fundamental protections. They also, more

 expansively, seek class-wide habeas relief on the basis that any detention or removal under the

 Alien Enemies Act is unlawful. The Court concludes that only one of these claims is likely to

 succeed on the merits and thus warrants preliminary class-wide relief: the CECOT Plaintiffs’

 claim that their summary removal violated their due-process rights.

        Indeed, following the March 15 flights, the Supreme Court held — not just once, but

 twice — that such hurried removals violate the Fifth Amendment’s Due Process Clause. See

 Trump v. J.G.G., 145 S. Ct. 1003, 1006 (2025) (per curiam); A.A.R.P. v. Trump, 145 S. Ct. 1364,

 1367–68 (2025) (per curiam). All nine Justices agreed that due process requires providing




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 potential deportees notice “that they are subject to removal under the Act,” which must be done

 “within a reasonable time and in such a manner as will allow them to actually seek habeas relief”

 before being removed. J.G.G., 145 S. Ct. at 1006; see id. at 1012 (Sotomayor, J., dissenting).

 The reason should be self-evident: the “due process of law” exists so that no “person” within our

 borders — regardless of citizenship — is deprived of his “liberty” on insufficient evidence or a

 spurious charge. See Carey v. Piphus, 435 U.S. 247, 259 (1978). In our nation — unlike the one

 into which K. awakes — the Government’s mere promise that there has been no mistake does not

 suffice. Any government confident of the legal or evidentiary basis for its actions has nothing to

 fear from that requirement. It is, after all, “central to our system of ordered liberty.” Memphis

 Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 308 (1986).

        In light of those Supreme Court holdings, this Court ultimately agrees with the CECOT

 Plaintiffs that they are likely to succeed on the merits of their due-process claim. Defendants

 plainly deprived these individuals of their right to seek habeas relief before their summary

 removal from the United States — a right that need not itself be vindicated through a habeas

 petition. Perhaps the President lawfully invoked the Alien Enemies Act. Perhaps, moreover,

 Defendants are correct that Plaintiffs are gang members. But — and this is the critical point —

 there is simply no way to know for sure, as the CECOT Plaintiffs never had any opportunity to

 challenge the Government’s say-so. Defendants instead spirited away planeloads of people

 before any such challenge could be made. And now, significant evidence has come to light

 indicating that many of those currently entombed in CECOT have no connection to the gang and

 thus languish in a foreign prison on flimsy, even frivolous, accusations. See, e.g., Sánchez Decl.,

 ¶ 6 (Reyes Mota); D.A.R.H. Decl., ¶¶ 6–7 (Hernandez Romero); ECF Nos. 67-10 (Paulina Reyes

 Decl.), Exh. A (Hernandez Romero); 102-9 (M.Z.V.V. Decl.), ¶ 6 (J.A.B.V.); 102-10 (M.Y.O.R.




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 Decl.), ¶¶ 5–6 (M.A.O.R.); see also ECF Nos. 102-2 (Rebecca Hanson Decl.), ¶¶ 21–27; 102-3

 (Andres Antillano Decl.), ¶ 14; 102-4 (Steven Dudley Decl.), ¶ 25.

           Because the other preliminary-injunction factors also support the CECOT Plaintiffs, the

 Court concludes that their Class is entitled to preliminary relief. In short, the Government must

 facilitate the Class’s ability to seek habeas relief to contest their removal under the Act. Exactly

 what such facilitation must entail will be determined in future proceedings. Although the Court

 is mindful that such a remedy may implicate sensitive diplomatic or national-security concerns

 within the exclusive province of the Executive Branch, it also has a constitutional duty to provide

 a remedy that will “make good the wrong done.” Bell v. Hood, 327 U.S. 678, 684 (1946).

 I.        Background

           The Court has twice covered the relevant factual and procedural background for this

 dispute in great detail, see J.G.G. v. Trump, 2025 WL 890401, at *3–5 (D.D.C. Mar. 24, 2025);

 J.G.G., 2025 WL 1119481, at *1–7, so it focuses below on the facts relevant to the current

 claims.

           A.     Factual Background

           In early March, the Department of Homeland Security began interviewing Venezuelan

 noncitizens in its custody about gang membership and moving them to El Valle Detention

 Facility. J.G.G., 2025 WL 890401, at *3. These actions were a prelude to a series of steps taken

 in rapid succession between March 14 and 16 that culminated in the deportation of several

 hundred Venezuelans to CECOT in El Salvador, where they currently remain.

           On the evening of March 14, noncitizen detainees were pulled from their cells in El Valle

 and told that they would be deported the next day to an unknown destination. Id. They were

 allegedly given “no advance notice of the basis for their removal,” nor were they informed that




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 they could challenge it. See Am. Compl., ¶ 69. A lucky few, however, were able to contact their

 counsel, who surmised that President Trump had signed or would imminently sign a presidential

 proclamation invoking the Alien Enemies Act, a wartime measure passed by the Fifth Congress

 that grants the President the power to summarily remove “alien enemies” once he makes “public

 proclamation” of a declared war, invasion, or predatory incursion. Id.; see 50 U.S.C. § 21. In

 the very early hours of March 15, those individuals — the original Plaintiffs here — filed a

 putative class-action lawsuit in this Court seeking a temporary restraining order preventing their

 deportation under the Act. See ECF Nos. 1 (Compl.); 3 (TRO Mot.); 4 (First Class Cert. Mot.).

 They claimed that the forthcoming Proclamation would announce that a Venezuelan transnational

 criminal organization and recently designated Foreign Terrorist Organization — Tren de Aragua

 — was perpetrating an invasion or predatory incursion against the territory of the United States,

 and that all Venezuelans deemed members of that gang would be removed as “alien enemies.”

 See ECF No. 3-2 (TRO Br.) at 1–2. Plaintiffs argued that the Proclamation was illegal and that,

 even if it were not, they were not members of Tren de Aragua and thus could not be removed

 under the Alien Enemies Act. Id. They sought not release from custody, but merely an

 opportunity to challenge the lawfulness of their removal, including through contesting their

 alleged gang membership. See J.G.G., 2025 WL 890401, at *3.

        Later that morning, this Court granted a TRO as to several named Plaintiffs, ordering the

 Government not to remove them. See Minute Order of Mar. 15, 2025, 9:40 a.m. It did so “to

 maintain the status quo until a hearing can be set.” Id. It subsequently set an emergency hearing

 for 5:00 p.m. the same day to consider Plaintiffs’ claim that relief should be broadened to a class

 of all noncitizens in U.S. custody subject to the anticipated Proclamation. See Minute Order of

 Mar. 15, 2025, 11:04 a.m. By this point, Defendants had already begun putting Plaintiffs and




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 other putative class members on airplanes, despite knowing that a lawsuit had been filed to halt

 the removals, and despite the fact that the Proclamation had still not yet been made public. See

 J.G.G., 2025 WL 890401, at *3; Am. Compl., ¶ 66.

        Approximately an hour before the 5:00 p.m. hearing was to begin, the White House

 published the Proclamation on its website. See Invocation of the Alien Enemies Act Regarding

 the Invasion of The United States by Tren De Aragua, White House (Mar. 15, 2025),

 https://perma.cc/D3GM-5YBM; ECF No. 28-1 (Robert L. Cerna Second Decl.), ¶ 5. As

 expected, it announced that that because Tren de Aragua had committed an “invasion” and

 “predatory incursion” against the United States, the Government could begin immediately

 deporting any Venezuelan noncitizens over the age of 14 whom it deemed to be members of Tren

 de Aragua. See 90 Fed. Reg. 13033, 13034 (Mar. 14, 2025).

        During the hearing, two planes loaded with Venezuelan noncitizens departed from

 Harlingen, Texas, one around 5:25 p.m. and the other around 5:45 p.m. — i.e., less than two

 hours after the Proclamation was made public. See J.G.G., 2025 WL 1119481, at *3. Although

 these precise facts were unknown to the Court at the time, Plaintiffs’ counsel stated during the

 hearing that various “sources” had informed him that two removal flights that were scheduled to

 depart that afternoon “may have already taken off,” including “during [the] hearing.” ECF No.

 20 (Mar. 15 Hrg. Tr.) at 12. The Court then provisionally certified the class and ordered that for

 14 days the Government was enjoined from conducting the “removal” of any noncitizens in its

 custody solely on the basis of the Proclamation. Id. at 42. The Court also stated orally to

 Government counsel that he was to ensure that the Order was complied with “immediately,”

 including as to class members who were already “in the air.” Id. at 43. The Court then

 memorialized the TRO in a written Minute Order. See Minute Order of Mar. 15, 2025, 7:25 p.m.




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 A third plane took off from Harlingen approximately ten minutes later, which the Government

 maintains carried only noncitizens subject to final orders of removal under the Immigration and

 Nationality Act. See J.G.G., 2025 WL 1119481, at *4; Cerna Second Decl., ¶ 6.

          Despite this Court’s Order, the planes carrying noncitizens pursuant to the Proclamation

 continued on their journey. They first touched down in Honduras and remained there for several

 hours before taking off again for El Salvador, where they landed shortly after midnight on March

 16 and transferred most of their passengers into CECOT. J.G.G., 2025 WL 1119481, at *4

 (noting that several women and one man were apparently returned to the United States because

 Salvadoran officials refused their admission).

          B.      Procedural Background

          Because the Court had to act on such an expedited basis, it wished to afford the

 Government an opportunity to brief the issues involved, so it permitted Defendants to move to

 vacate the TROs, which they did. See ECF No. 26 (Mot. to Vacate). Plaintiffs responded, and

 the Court held oral argument on March 21. See ECF No. 51 (Mar. 21 Hrg. Tr.). The

 Government also appealed to the D.C. Circuit, seeking a stay of the TROs. See Corrected

 Emergency Motion for a Stay Pending Appeal, J.G.G. v. Trump, No. 25-5067 (D.C. Cir. Mar. 16,

 2025).

          In a written Opinion, the Court denied the Government’s Motion to Vacate. It held that

 Plaintiffs had shown a likelihood of success on one of their core claims — i.e., those subject to

 removal under the Proclamation have a right to challenge the Government’s determination that

 they are removable — and that they would face irreparable harm if the TROs were dissolved,

 which also tipped the balance of equities in their favor. See J.G.G., 2025 WL 890401, at *11–14,




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 16–17. It subsequently set a schedule for briefing Plaintiffs’ Motion for a Preliminary

 Injunction. See Minute Order of Mar. 26, 2025, 6:29 p.m.; see also ECF No. 67 (First PI Mot.).

          The Court of Appeals also rejected Defendants’ request to stay the Orders. Two members

 of the panel expressed concerns about the lawfulness of the Proclamation and noted that due

 process entitled Plaintiffs to hearings to challenge their removals under the Act. See J.G.G. v.

 Trump, 2025 WL 914682, at *8–10 (D.C. Cir. Mar. 26, 2025) (Henderson, J., concurring); id. at

 *13–14 (Millett, J., concurring). The Government then applied to the Supreme Court for

 emergency relief from the TRO. See Application to Vacate Orders, No. 24A391 (U.S. Mar. 28,

 2025).

          On the eve of the hearing on Plaintiffs’ PI Motion, the Supreme Court vacated the TROs

 on a narrow ground. It held that challenges to removal under the Act must be brought through a

 habeas-corpus proceeding — not, as Plaintiffs did, through the Administrative Procedure Act —

 and venue therefore lay in the district of the class members’ confinement, not the District of

 Columbia. See Trump v. J.G.G., 145 S. Ct. at 1005–06. While the Court was narrowly divided

 on that venue question, it unanimously agreed with this Court that those subject to removal under

 the Act must be allowed to challenge their removability in federal court before being deported.

 Id. at 1006; id. (Kavanaugh, J., concurring); id. at 1012 (Sotomayor, J., dissenting). Specifically,

 all Justices confirmed that the Due Process Clause requires the Government to provide anyone it

 seeks to remove notice “that they are subject to removal under the Act,” and to do so “within a

 reasonable time and in such a manner as will allow them to actually seek habeas relief” before

 being removed. Id. at 1006 (per curiam); id. at 1012 (Sotomayor, J., dissenting).

          Following the Supreme Court’s vacatur of the TRO, this Court ordered the original

 named Plaintiffs to file a Notice indicating whether they “believe that they still have a basis to




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 proceed on their Motion for Preliminary Injunction in this Court and, if so, proposing a briefing

 schedule.” Minute Order of Apr. 8, 2025. Plaintiffs subsequently filed that Notice, along with a

 new Motion for a TRO. See ECF No. 85 (Second TRO Mot.). They asked this Court to order

 the Government to provide class members with 30 days’ notice before seeking to remove any of

 them from the country under the Alien Enemies Act, id. at 1, and indicated that they intended to

 amend their Complaint to seek habeas relief on behalf of those sent to CECOT on March 15–

 16. Id. at 2. Meanwhile, named Plaintiffs — as well as other erstwhile class members

 throughout the country — began filing their own habeas petitions in the districts of their

 confinement. See, e.g., G.F.F. v. Trump, No. 25-2886, ECF No. 1 (S.D.N.Y. Apr. 9, 2025); J.A.V.

 v. Trump, No. 25-72, ECF No. 1 (S.D. Tex. Apr. 9, 2025).

        On April 18, the Government endeavored to reprise its March 15 conduct. According to

 Plaintiffs, it attempted to remove individuals held in the Northern District of Texas without

 giving them constitutionally adequate notice or an opportunity to file for habeas relief. See ECF

 No. 90 (Mot. to Expedite) at 1–2. Plaintiffs asked this Court to expedite its ruling on their TRO

 in light of the “refus[al]” of the district court there to timely act. Id. at 2. The Court convened an

 emergency hearing, at which it agreed that the allegations were “very troubling” but declined to

 enjoin removals in light of ongoing proceedings in the Northern District of Texas and the

 Supreme Court’s instruction that challenges to removal must be brought in detainees’ districts of

 confinement. See ECF No. 93 (Apr. 18 Hrg. Tr.) at 24–25, 27–28; Minute Order of Apr. 18,

 2025, 7:39 p.m. Later that evening, the Supreme Court enjoined removals from that district. See

 A.A.R.P. v. Trump, 145 S. Ct. 1034, 1034 (2025) (mem.).

        On April 24 and 25, Plaintiffs filed their Amended Complaint, along with new Motions

 for a Preliminary Injunction and Class Certification. See Am. Compl.; ECF Nos. 102 (PI Mot.);




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 103 (Class Cert. Mot.). As they had previewed, they added new parties and now seek to certify

 two new classes (which they originally termed “subclasses”): one comprising the detainees held

 at CECOT, and the other individuals in criminal custody throughout the United States subject to

 removal under the Proclamation. See Class Cert. Mot. at 2; Am. Compl., ¶¶ 12–23 (parties).

 They also asked to “amend” the previously certified class of all noncitizens in U.S. custody

 subject to the Proclamation to include future class members. See Class Cert. Mot. at 2. For the

 putative CECOT Class, they seek habeas relief on the basis that their removal to El Salvador

 under the Proclamation was unlawful, and they ask the Court to facilitate their return to the

 United States. See PI Mot. at 1–2. For the putative Criminal Custody Class, they seek an order

 enjoining their removal under the Act and requiring the Government to provide constitutionally

 adequate notice and at least 30 days to challenge their detention and removal under the Act. Id.

 at 2. In addition, both Classes allege that their Fifth Amendment due-process rights were or will

 be violated by the Government’s removal procedures. See Am. Compl., ¶¶ 142–45. The new

 named Petitioners-Plaintiffs also dispute that they are members of Tren de Aragua. Id., ¶¶ 12–

 18, 23.

           In order to provide habeas relief to the CECOT Class, the Court would have to find that

 the United States retains “custody” of the putative Class members within the meaning of the

 federal habeas statute. See 28 U.S.C. § 2241(c). Although some facts in the record supported

 Plaintiffs’ argument that the Government retains “constructive custody” over Class members

 through the arrangement that the United States made with El Salvador to imprison them, the

 Court ordered Plaintiffs to propose a plan for jurisdictional discovery on that question. See ECF

 No. 116 (First Discovery Order). It also ordered the Government to submit any additional

 declarations it wished to provide prior to Plaintiffs’ discovery plan. Id. The next day, the




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 Government submitted a declaration and several documents under seal. See ECF No. 118

 (Sealed Documents). It has since filed on the public docket a redacted version of that

 declaration. See ECF No. 129 (Michael G. Kozak Redacted Decl.). As described in more detail

 shortly, the upshot of Defendants’ submission is that the United States has relinquished custody

 of the CECOT Class to El Salvador.

        Plaintiffs subsequently proposed jurisdictional discovery consisting of a set of

 admissions, interrogatories, and requests for production. See ECF No. 125 (Jurisdictional

 Discovery Plan). After narrowing that request, the Court permitted discovery to proceed. See

 ECF No. 128 (Second Discovery Order). By May 27, 2025, Defendants’ discovery production

 was substantially complete. See ECF No. 145 (Pls. Discovery Resp.) at 3. The Court is

 therefore prepared to rule on Plaintiffs’ Motions for Preliminary Injunction and Class

 Certification.

 II.    Legal Standard

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

 v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). “A plaintiff seeking a preliminary

 injunction must establish [1] that he is likely to succeed on the merits, [2] that he is likely to

 suffer irreparable harm in the absence of preliminary relief, [3] that the balance of equities tips in

 his favor, and [4] that an injunction is in the public interest.” Sherley v. Sebelius, 644 F.3d 388,

 392 (D.C. Cir. 2011) (alterations in original) (quoting Winter, 555 U.S. at 20). “The moving

 party bears the burden of persuasion and must demonstrate, ‘by a clear showing,’ that the

 requested relief is warranted.” Hospitality Staffing Solutions, LLC v. Reyes, 736 F. Supp. 2d

 192, 197 (D.D.C. 2010) (quoting Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290,

 297 (D.C. Cir. 2006)).




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 III.   Analysis

        In moving for a preliminary injunction, the putative Classes seek related but distinct

 relief. The CECOT Class asks this Court to order Defendants to facilitate their return to the

 physical custody of the United States. See ECF No. 102-1 (PI Br.) at 1. That Class does so

 primarily through a petition for habeas corpus, arguing that Class members — although in El

 Salvador — are in the United States’s constructive custody and the Proclamation is unlawful. Id.

 at 17–25; Am. Compl. at 37. The CECOT Plaintiffs also argue that their summary removals

 violated the Fifth Amendment’s Due Process Clause. See Am. Compl., ¶¶ 69–70, 144, 147; PI

 Br. at 14–16; ECF No. 103-1 (Class Cert. Br.) at 3. The Criminal Custody Class — noncitizens

 in state or federal criminal custody with detainers lodged against them by Defendants pursuant to

 the Proclamation — also brings a habeas and a due-process claim. Those Class members

 contend that they can attack their future removal in this Court through habeas, and that, in the

 alternative, Defendants will remove them without providing them sufficient opportunity to file

 such a habeas challenge, thereby violating their due-process rights. See Am. Compl., ¶¶ 94, 142–

 45; PI Br. 10–11, 14–16.

        The Court concludes that of these various claims, only one is likely to succeed on the

 merits: the CECOT Class was removed from the United States before its members had any

 meaningful opportunity “to actually seek habeas relief,” thereby violating their due-process

 rights. J.G.G., 145 S. Ct. at 1006. Because this Class also faces irreparable harm from continued

 incarceration at CECOT, and because the balance of equities and public interest favor it,

 preliminary relief is warranted here. Specifically, members of the CECOT Class must be

 allowed the practical opportunity to seek habeas relief that they were previously denied, such

 that their cases are “handled as [they] would have been had [they] not been improperly sent to El




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 Salvador.” Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018 (2025). Defendants must facilitate as

 much. Given that such a remedy may involve delicate questions relating to diplomacy and

 national security — core Executive Branch functions — the Court will proceed in measured

 fashion. It will begin by allowing the Government to propose how it will ensure that the CECOT

 Class receives the process it is constitutionally due. That process must nonetheless be

 forthcoming.

        Before delving into the analysis, some housekeeping is in order. On March 15, when

 granting the TRO, the Court certified a class of all noncitizens in U.S. custody subject to the

 Proclamation. See Minute Order of Mar. 15, 2025, 7:25 p.m. The Supreme Court later vacated

 “[t]he March 15, 2025 minute order[] granting a temporary restraining order.” J.G.G., 145 S. Ct.

 at 1006. To the extent that the Supreme Court did not thereby also vacate the provisional class

 certification, Plaintiffs have now clarified that they no longer seek to certify that original class.

 See ECF Nos. 127 (Class Cert. Reply) at 3 & n.1; 124 (May 7 Hrg. Tr.) at 5:2–23. They have

 also explained that the original named Plaintiffs are not members of either putative Class. See

 Class Cert. Reply at 3. This Opinion therefore does not discuss either the original class or the

 original named Plaintiffs; it instead evaluates only the viability of the CECOT and Criminal

 Custody Classes and their distinct claims. Last, because the Court ultimately concludes that it

 cannot exercise habeas jurisdiction over either putative Class, it refers to the challengers only as

 Plaintiffs, not Petitioners-Plaintiffs. It likewise uses the term Defendants, rather than

 Respondents-Defendants.

        In the sections that follow, the Court first addresses whether Plaintiffs satisfy the factors

 governing preliminary relief before it turns to whether either Class may be certified. It does so




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 because such certification turns in part on the nature of the claim(s) the putative Classes can

 bring. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

        A.      Preliminary-Injunction Factors

                1.      Likelihood of Success on the Merits

                        a.       CECOT Class

        Plaintiffs’ proposed CECOT Class comprises those noncitizens removed from the United

 States under the Proclamation and currently detained at CECOT. See Class Cert. Mot. at 2.

 Reyes Mota, Hernandez Romero, J.A.B.V., M.A.O.R., G.A.A.A., and M.R.M. — all previously

 residing in the United States and presently imprisoned at CECOT — seek to represent the class

 through their next friends. See Am. Compl., ¶¶ 12–17. Each contests his designation as an alien

 enemy. Id. Prior to their removal on March 15, these men allege that they were not informed

 that they had been designated alien enemies or that they could challenge that designation, “[n]or

 were they given an opportunity to do so.” Id., ¶ 69. Since their removal, they have been held

 incommunicado at CECOT. Id., ¶¶ 12–17. They allege that at least one additional flight has

 transported detainees to CECOT since the initial March 15 flights. Id., ¶ 75.

        The Court construes the CECOT Plaintiffs’ habeas and due-process claims as mutually

 exclusive. That is, if Plaintiffs are able to seek class-wide habeas relief, then their habeas

 petition vindicates their due-process rights and thereby moots the latter claim. See J.A.V. v.

 Trump, 2025 WL 1257450, at *11–12 (S.D. Tex. 2025). If, conversely, they cannot access the

 habeas writ, then their due-process claims may be able to proceed. The Court therefore

 examines the viability of each claim in that order.

                               i.       Habeas

        To obtain habeas relief, the CECOT Plaintiffs bear the burden of establishing the Court’s

 statutory jurisdiction to entertain their challenge. See In re Petitioners Seeking Habeas Corpus


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 Relief in Rel. to Prior Dets. at Guantanamo Bay, 700 F. Supp. 2d 119, 127 (D.D.C. 2010), aff’d

 sub nom., Chaman v. Obama, 2012 WL 3797596 (D.C. Cir. Aug. 10, 2012). A threshold to

 invoking that jurisdiction is establishing that the proposed CECOT Class is “in custody” “under

 or by color of the authority of the United States” or “in violation of the Constitution or laws or

 treaties of the United States.” First Discovery Order at 1 (quoting 28 U.S.C. § 2241(c)(1), (3)).

 Resolution of this inquiry alone determines whether the CECOT Plaintiffs’ habeas action may

 proceed. If the Court answers in the affirmative, Defendants concede — as they must — that

 this Court sitting in the District of Columbia would be the proper venue for any such claim. See

 May 7 Hrg. Tr. at 14:18–24; Rumsfeld v. Padilla, 542 U.S. 426, 447 n.16 (2004); Rasul v. Bush,

 542 U.S. 466, 483–84 (2004).

        To begin, the fact that the CECOT Plaintiffs are in the physical custody of El Salvador is

 not dispositive of the analysis, as “the use of habeas corpus has not been restricted to situations

 in which the applicant is in actual, physical custody.” Jones v. Cunningham, 371 U.S. 236, 239

 (1963). Rather, the Supreme Court has “very liberally construed the ‘in custody’ requirement”

 of the habeas statute, Maleng v. Cook, 490 U.S. 488, 492 (1989), extending habeas jurisdiction

 to petitioners who are not in anyone’s physical custody at all, see, e.g., Justices of Bos. Mun.

 Court v. Lydon, 466 U.S. 294, 300–02 (1984) (free on personal recognizance awaiting trial), to

 those who are in the physical custody of a private party, see, e.g., United States v. Jung Ah Lung,

 124 U.S. 621, 622, 626 (1888) (captured by captain of steamship), and to those who are

 imprisoned in one jurisdiction but subject to a detainer in the respondent’s jurisdiction. See

 Braden v. 30th Jud. Circuit Court of Ky., 410 U.S. 484, 498–99 (1973). As this Court has

 previously explained, “The organizing principle for such disparate situations is the concept of

 ‘constructive custody,’” First Discovery Order at 3, which exists whenever “the imprisoning




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 sovereign is the respondent’s agent,” the prisoner’s “liberty is restrained by the respondent’s

 parole conditions,” or the prisoner “can point to some continuing collateral disability which is

 the result of the respondent’s action.” Steinberg v. Police Court of Albany, 610 F.2d 449, 453

 (6th Cir. 1979). Courts in this district have thus held that the habeas statute extends to situations

 where, despite lacking physical custody of the prisoner, “the respondent [is] responsible for

 significant restraints on the petitioner’s liberty.” Abu Ali v. Ashcroft, 350 F. Supp. 2d 28, 48

 (D.D.C. 2004); see In re Petitioners Seeking Habeas Corpus Relief, 700 F. Supp. 2d at 127.

        The CECOT Plaintiffs pursue that theory of custody here. According to them,

 Defendants retain “the power to produce” members of the CECOT Class, see Munaf v. Geren,

 553 U.S. 674, 686 (2008) (quoting Wales v. Whitney, 114 U.S. 564, 574 (1885)), because the

 Government “is responsible for” their detention abroad. See PI Br. at 7. That is so, they

 contend, because Defendants have been “working through an intermediary or agent” (i.e., El

 Salvador) to detain class members at CECOT at the “behest” of the United States, which in turn

 requested, directed, and currently funds their incarceration. Id.; see also Am. Compl., ¶ 77. In

 their view, that puts this case on all fours with Abu Ali, a decision from Judge John Bates in this

 district that held that the court likely had habeas jurisdiction to adjudicate a U.S. citizen’s

 challenge to his detention in a Saudi Arabian prison at the request of U.S. authorities. See 350 F.

 Supp. 2d at 31, 67–69. They also rely on Munaf, where the Supreme Court ruled that American

 citizens held by U.S. authorities abroad at the behest of a multinational force were “in custody”

 for purposes of the habeas statute, “even if that custody could be viewed as ‘under . . . color of’

 another authority.” 553 U.S. at 686 (alteration in original) (quoting 28 U.S.C. § 2241(c)(1)).

 According to Plaintiffs, moreover, the fact that Defendants “have sought to ‘deliberately shield’”




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 the CECOT Class “from seeking judicial review further supports habeas jurisdiction.” PI Br. at

 8 (quoting Abu Ali, 350 F. Supp. 2d at 54); see also Am. Compl., ¶ 80.

        Defendants offer three principal responses to these arguments. First, they maintain that

 any understanding between the United States and El Salvador “is not an enforceable agreement

 providing that the United States can obtain or retain control over aliens imprisoned on

 Salvadoran soil by Salvadoran guards.” ECF No. 108 (PI Opp.) at 5; see also id. at 8 (similar).

 Put another way, because constructive custody requires an agent-principal relationship,

 “[a]gency requires control,” and the United States does not control El Salvador, no constructive

 custody exists here. Id. at 6. Second, they contend that “plenary and indefinite control over the

 detention site is key” to habeas jurisdiction, id. (citing Boumediene v. Bush, 553 U.S. 723, 765

 (2008)), and the United States does not exercise even “de facto sovereignty” over CECOT. Id. at

 7. Third, Defendants emphasize “the importance of citizenship” to the jurisdictional inquiry,

 noting that “when it comes to detention abroad, the writ may run to citizens where it does not run

 to aliens” — “[a]nd no Petitioner here alleges United States citizenship.” Id. at 9–10.

        As Plaintiffs point out, see ECF No. 111 (PI Reply) at 4–5, the Government’s reliance on

 the latter two factors as the basis for habeas jurisdiction confuses § 2241 with the prerequisites

 for constitutional habeas, which they are not asserting here. Where statutory habeas jurisdiction

 does not lie, courts have indeed looked to such considerations — among other practical concerns

 — to determine whether the Suspension Clause nonetheless guarantees access to the writ. See,

 e.g., Johnson v. Eisentrager, 339 U.S. 763, 769–79 (1950); Boumediene, 553 U.S. at 766 (listing

 “at least three factors” relevant to constitutional analysis, including citizenship of detainee and

 nature of sites of apprehension and detention); Al Maqaleh v. Gates, 605 F.3d 84, 94–99 (D.C.

 Cir. 2010) (applying these factors to hold that aliens captured and held by U.S. military at




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 military base in Afghanistan lacked constitutional habeas right); see also Rasul, 542 U.S. at 476–

 78 (construing Eisentrager as constitutional habeas case).

        At issue here, however, is the meaning of § 2241, a statutory inquiry governed by the text

 of the habeas statute. See Munaf, 553 U.S. at 686. That text makes no mention of either the

 citizenship of the detainee or of “plenary” U.S. control over the detention site. See Rasul, 542

 U.S. at 481 (“[T]here is little reason to think that Congress intended the geographical coverage of

 the statute to vary depending on the detainee’s citizenship.”); id. at 483–84 (“nothing more”

 required under § 2241 than federal custody of petitioner and jurisdiction over custodians). While

 the Supreme Court, admittedly, has not always been clear on the relationship between

 constitutional and statutory habeas jurisdiction, cf. Munaf, 553 U.S. at 688 (noting, in statutory

 habeas case, that “habeas jurisdiction can depend on citizenship”), this Court sees little reason to

 graft onto § 2241 extra-textual requirements derived from the Supreme Court’s Suspension

 Clause cases and relevant only when § 2241 itself does not apply.

        That leaves the heart of the issue: the legal requirements for constructive custody under

 the habeas statute. Defendants, as previously noted, contend that the inquiry turns on the

 respondent’s legal control over the jailer — a theory that would seem to essentially preclude

 finding constructive custody whenever a foreign sovereign holds the keys. Cf. Opati v. Republic

 of Sudan, 590 U.S. 418, 420 (2020) (“The jurisdiction of the nation within its own territory is

 necessarily exclusive and absolute. It is susceptible of no limitation not imposed by itself.”)

 (quoting Schooner Exchange v. McFaddon, 11 U.S. (7 Cranch) 116, 136 (1812) (Marshall,

 C.J.)). That approach, however, is difficult to reconcile with Braden, which explained that a

 state “holding [a] prisoner in immediate confinement acts as [an] agent” for a state with a

 detainer against that individual, see 410 U.S. at 498–99, even though states “are separate




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 sovereigns from one another.” Denezpi v. United States, 596 U.S. 591, 598 (2022) (citation

 omitted). Defendants’ theory of constructive custody also sits in significant tension with Munaf,

 which noted that American soldiers could be viewed as operating by “color” of a multinational

 force, even though they “answer[ed] only to an American chain of command.” 553 U.S. at 685–

 86 (cleaned up). While “actual custody” by the United States thus “suffice[d] for jurisdiction”

 there, the Court acknowledged that the “disjunctive” construction of § 2241, id. at 686, permits

 habeas jurisdiction whenever a petitioner is held in custody either “under” the authority (legal

 control) or by “color” of the authority of the United States. See 28 U.S.C. § 2241(c)(1).

        Rather than adopting the Government’s bright-line rule, the Court is persuaded to follow

 the factors outlined by Judge Bates, which ask whether:

                (i) [Petitioners are] detained at the behest of United States officials;
                (ii) [their] ongoing detention is at the direction of the United States
                enlisting a foreign state as an agent or intermediary who is
                indifferent to the detention of the prisoner[s]; (iii) [they are] being
                detained in the foreign state to deny [them] an opportunity to assert
                [their] rights in a United States tribunal; and (iv) [they] would be
                released upon nothing more than a request by the United States.

 Abu Ali, 350 F. Supp. 2d at 68 (footnotes omitted). As he explained, “Any one of these factors

 may not be sufficient to establish jurisdiction,” id., and the list may not be exhaustive. Id. at 68

 n.42. Collectively, however, they sketch the appropriate contours of whether and when a foreign

 state might hold individuals “in custody . . . by color of the authority of the United States.” 28

 U.S.C. § 2241(c)(1). They also roughly track how the Supreme Court has interpreted parallel

 language in other statutes. For instance, it has long been established that a person acts “under

 color of” law for the purposes of 42 U.S.C. § 1983 or 18 U.S.C. § 242 when “he is a willful

 participant in joint action with the State or its agents,” and not only when he is himself “an

 officer of the State.” Dennis v. Sparks, 449 U.S. 24, 27 (1980); see also Adickes v. S.H. Kress &

 Co., 398 U.S. 144, 152 (1970); United States v. Price, 383 U.S. 787, 794 (1966). So, too, the


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 Abu Ali factors capture situations where foreign states, while outside the legal control of the

 United States, nonetheless act “by color” of its authority to detain individuals. Such

 circumstances, however, will be “exceptional.” Abu Ali, 350 F. Supp. 2d at 41.

        What, then, does the record here suggest? No one disputes that members of the proposed

 CECOT Class are noncitizens apprehended inside the United States by U.S. officials pursuant to

 U.S. law and subsequently transferred to Salvadoran custody. In a declaration attached to their

 Motion, Plaintiffs also collect public statements from U.S. and Salvadoran officials documenting

 an arrangement in which El Salvador would accommodate deported Class members in exchange

 for monetary compensation from the United States. See ECF No. 102-14 (Oscar Sarabia Roman

 Decl.), Exhs. 8, 17 (statement by Secretary of State Marco Rubio explaining that El Salvador

 agreed to confine 250 alleged members of Tren de Aragua in its “very good jails at a fair price

 that will also save our taxpayer dollars”); id., Exhs. 9, 11 (statements by El Salvador’s president

 that it is holding 238 alleged members of Tren de Aragua for “fee” paid by United States, thus

 offering United States “the opportunity to outsource part of its prison system”). Plaintiffs also

 point to an interview that President Trump conducted with ABC News on April 29, in which he

 indicated that he had the power to order the return of Kilmar Abrego Garcia, a Salvadoran

 national deported to El Salvador at the same time as the CECOT Class. See PI Reply at 2–3.

 That admission, they contend, shows that “the U.S. government has power over the detainees it

 removed to CECOT.” Id. at 2. Relying on similar evidence, other courts have appeared to agree

 that those removed from the United States to CECOT remain in U.S. constructive custody.

 See Abrego Garcia v. Noem, 2025 WL 1014261, at *5–7 (D. Md. Apr. 6, 2025); Abrego Garcia

 v. Noem, 2025 WL 1021113, at *4 (4th Cir. Apr. 7, 2025) (Thacker, J., concurring).




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        Defendants dispute that characterization of the agreement reached with El Salvador.

 They have filed on the public docket a redacted declaration from Michael G. Kozak, who serves

 as the Senior Bureau Official with the Bureau of Western Hemisphere Affairs at the State

 Department. See Redacted Kozak Decl. He avers that “the detention and ultimate disposition of

 those detained in CECOT and other Salvadoran detention facilities are matters within the legal

 authority of El Salvador in accordance with its domestic and international legal obligations.” Id.,

 ¶ 9. As evidence, he cites statements by President Nayib Bukele of El Salvador, allegedly

 making “a public proposal to [President] Nicolas Maduro of Venezuela for a ‘humanitarian

 agreement that contemplates the repatriation of 100%’ of the [Tren de Aragua] members

 transferred from the United States to El Salvador ‘in exchange for the release and surrender of an

 identical number (252) of the thousands of political prisoners [Venezuela] hold[s].’” Id. (quoting

 and translating Nayib Bukele (@nayibbukele), X (Apr. 20, 2025, at 5:34 p.m.),

 https://perma.cc/M4FB-6THH). Kozak also observes that El Salvador has refused some

 members of Congress access to Abrego Garcia and even transferred him out of CECOT without

 giving advance notice to the United States. Id., ¶ 10. In portions of Kozak’s declaration filed

 under seal along with additional exhibits, the Court has also been furnished with greater specifics

 about the contours of the arrangement reached between the United States and El Salvador. See

 Sealed Documents. According to Defendants, these facts demonstrate that members of the

 proposed Class are currently in custody solely by color of Salvadoran authority. See PI Opp. at

 8. Besides, they maintain, contrary public statements by political officials cannot be credited,

 especially compared to a “clear official declaration under oath.” Id. at 10 (citing Trump v.

 Hawaii, 585 U.S. 667, 701–02 (2018)).




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         On the basis of the above conflicting evidence, the Court ordered jurisdictional discovery

 in hopes of further elucidation of the particulars of the relationship. See Second Discovery

 Order. That discovery, which the Government asserts is now substantially complete, consists of

 Defendants’ responses to Plaintiffs’ requests for admission and interrogatories, various redacted

 State Department records, four congressional hearing transcripts, and a privilege log explaining

 the basis for withholding 24 responsive records. See Pls. Discovery Resp. at 2–3, 19. The Court

 has reviewed the responses and documents, which were filed under seal. Rather than adjudicate

 the parties’ disputes over the sufficiency of the production and the propriety of the Government’s

 privilege invocations, it believes it has enough information to resolve the jurisdictional question

 now.

        While it is a close question, the current record does not support Plaintiffs’ assertion that

 they are in the constructive custody of the United States. Even crediting the public statements

 characterizing the arrangement as outsourcing the U.S. prison system and acknowledging the

 President’s unofficial assertion of his power to request a release, such comments cannot

 overcome a sworn declaration from a knowledgeable government official attesting that the

 CECOT Class’s ongoing detention is a question of Salvadoran law. See Redacted Kozak Decl.,

 ¶ 9 (both “detention” and “ultimate disposition” of CECOT Plaintiffs “are matters within the

 legal authority of El Salvador”); cf. Trump, 585 U.S. at 699–710 (considering extrinsic

 statements made by President but finding policy sufficient to survive rational-basis review based

 on facially legitimate stated justifications). Sealed portions of that declaration shed further light

 on the diplomatic arrangement between the United States and El Salvador, as do the sealed

 exhibits that the Government has concurrently filed. They appear to show that, while the United

 States and El Salvador have struck a diplomatic bargain vis-à-vis the detainees, the ongoing




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 detention of the CECOT Class is not solely at the “behest” of the United States, nor is El

 Salvador “indifferent” to their detention. Abu Ali, 350 F. Supp. 2d at 68. Rather, the picture that

 emerges from the current record is that El Salvador has chosen — in negotiation with the United

 States and for reasons far outside the ken of a federal district court — to detain Plaintiffs at

 CECOT, and it can choose to release them as well.

        This conclusion, to be sure, presumes the truthfulness and reliability of the Kozak

 Declaration, which is rendered more difficult given the Government’s troubling conduct

 throughout this case. The Court nonetheless follows the lead of the Supreme Court, the D.C.

 Circuit, and other courts within this district in taking Kozak at his word. In Munaf, the Supreme

 Court instructed federal district courts not to “second-guess” assessments of the political

 branches as to the nature of detention under a foreign sovereign. See 553 U.S. at 702. Applying

 that principle, our Circuit has found governmental submissions similar to the Kozak Declaration

 to be conclusive on the question whether ongoing detention is “on behalf of the United States.”

 Kiyemba v. Obama, 561 F.3d 509, 515 (D.C. Cir. 2009) (quoting declaration from Deputy

 Assistant Secretary of Defense for Detainee Affairs); see Gul v. Obama, 652 F.3d 12, 18 & n.*

 (D.C. Cir. 2011) (quoting declaration from different Deputy Assistant Secretary of Defense for

 Detainee Affairs that detainees were “transferred entirely to the custody and control of the

 [receiving] government”) (alteration in original). So, too, have other judges in this district. See,

 e.g., In re Petitioners Seeking Habeas Corpus Relief, 700 F. Supp. 2d at 127–28; Al Hajji v.

 Obama, 2009 WL 4251108, at *1–2 (D.D.C. Nov. 23, 2009).

        Indeed, those cases themselves evaluated habeas challenges to the transfer of

 Guantánamo detainees to foreign detention, a process that involved diplomatic negotiations

 between the United States and other governments “to ascertain or establish what measures the




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 receiving government intend[ed] to take pursuant to its own domestic laws and independent

 determinations that will ensure that the detainee [would] not pose a continuing threat to the

 United States and its allies.” Obaydullah v. Bush, No. 08-1173, ECF No. 15-1 (Sandra L.

 Hodgkinson Decl.), ¶ 5 (D.D.C. Aug. 12, 2008). Despite the diplomatic involvement of the

 United States in those petitioners’ subsequent and ongoing detention in the foreign states, courts

 nonetheless consistently held, in reliance on the Government’s representations, that detention

 abroad was not on behalf of the United States. See Kiyemba, 561 F.3d at 515; Gul, 652 F.3d at

 18; In re Petitioners Seeking Habeas Corpus Relief, 700 F. Supp. 2d at 127–29; Al Hajji, 2009

 WL 4251108, at *2. Put differently, the fact that the United States had negotiated the continued

 detention of the Guantánamo prisoners post-transfer was not sufficient to bring their

 imprisonment abroad within the reach of the habeas statute.

        It should be noted that the declarations filed in those cases were substantially more on

 point than what the Government has proffered here. Compare, e.g., Obaydullah, No. 08-1173,

 Hodgkinson Decl., ¶ 5 (stating unequivocally that once transferred, detainees are “no longer in

 the custody and control of the United States”), and Kiyemba, 561 F.3d at 515 (quoting

 declaration from Deputy Assistant Secretary of Defense for Detainee Affairs stating that after

 release from U.S. custody, detention by foreign sovereign was “pursuant to its own laws and not

 on behalf of the United States”), with Redacted Kozak Decl., ¶ 9 (stating only that “the detention

 and ultimate disposition of those detained in CECOT and other Salvadoran detention facilities

 are matters within the legal authority of El Salvador”). Plaintiffs, however, have unearthed no

 comparably reliable evidence to rebut the Kozak Declaration. The Court must therefore at this

 point accept the Government’s representations as to the nature of the CECOT Plaintiffs’ ongoing

 detention, despite their incongruity with multiple public statements made by both Salvadoran and




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 U.S. officials. Cf. Kiyemba, 561 F.3d at 521 (Kavanaugh, J., concurring) (“Under the principles

 of Munaf, [the Government’s] declaration suffices to demonstrate that the proposed transfer of

 an alien to the custody of a foreign nation is not the same thing as the U.S. Government’s

 maintaining the detainee in U.S. custody.”). Those representations position this case closer to

 the Guantánamo transfer cases just referenced than to Abu Ali or any other constructive-custody

 case in which the jailer acts merely at the behest of the respondent.

        The Court is nonetheless mindful of the possibility, raised by Plaintiffs, that the

 Government has adopted and presented its arrangement with El Salvador as a “ruse — and a

 fraud on the court — designed to maintain control over the detainees beyond the reach of the

 writ.” Kiyemba, 561 F.3d at 515 n.7. Courts are rightfully wary of enabling the Executive “to

 switch the Constitution on or off at will” by “manipulat[ing]” detainees’ place of confinement to

 escape habeas jurisdiction. Al Maqaleh, 605 F.3d at 98–99 (quotation marks omitted). Our legal

 tradition is wholly incompatible with the establishment of a network of overseas prisons,

 shielded from the Great Writ by the facade of foreign control, to which the Government routinely

 exports detainees without due process — a legal no man’s land. Indeed, the Habeas Corpus Act

 of 1679 generally prohibited detention “beyond the seas” to places where the writ did not run,

 see 31 Car. 2, c. 2, § 12 (1679) (Eng.), and such abuses partly animated this nation’s War for

 Independence. See Declaration of Independence para. 21 (U.S. 1776) (listing amongst

 grievances against the King that he “transport[ed]” colonists “beyond Seas to be tried for

 pretended offences”). Were such a scheme to subsequently be made apparent to the Court, it

 would follow the Supreme Court’s instruction to “take such action as will defeat attempts to

 wrongfully deprive parties entitled to sue in Federal courts [for] the protection of their rights in

 those tribunals.” Ala. Great S. Ry. Co. v. Thompson, 200 U.S. 206, 218 (1906).




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        As matters currently stand, however, the Court takes the Government at its word that El

 Salvador is the legally responsible sovereign for the CECOT Plaintiffs’ ongoing detention. And

 Plaintiffs — who bear the burden of establishing habeas jurisdiction, In re Petitioners Seeking

 Habeas Corpus Relief, 700 F. Supp. 2d at 127 — have pointed the Court to no robust evidence to

 the contrary. The Court nonetheless reminds the Government that any official who makes

 knowingly false statements in a sworn declaration subjects himself to perjury prosecution. See

 18 U.S.C. § 1621(2).

        Given the lack of habeas jurisdiction, the Court must next consider whether the CECOT

 Plaintiffs may obtain relief via another route.

                              ii.       Due Process

                                        (a)    Standalone Claim

        CECOT Plaintiffs also contend that the Government violated their Fifth Amendment due-

 process rights by denying them “adequate notice and meaningful procedural protections to

 challenge their removal.” Am. Compl., ¶ 144; see PI Br. at 14–17. One might understandably

 wonder whether Plaintiffs can bring an independent due-process claim after the Supreme Court

 made clear that all challenges to removability under the Act must be via habeas. After all, that

 Court wrote in J.G.G. that plaintiffs’ claims for “relief against the implementation of the

 Proclamation and against their removal under the [Act] . . . must be brought in habeas.” 145 S.

 Ct. at 1005. According to Plaintiffs, however, their due-process claim “is a precondition to the

 effective exercise of habeas rights” and therefore “lies outside of habeas.” Class Cert. Br. at 3;

 see also Am. Compl., ¶ 95; Second TRO Mot. at 2–4. The Court agrees.

        Claims challenging the legality of Act-based removals must be brought in habeas, the

 Supreme Court wrote, because they “necessarily imply the invalidity of [one’s] confinement and




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 removal under the [Act],” which brings them “within the core of the writ of habeas corpus.”

 J.G.G., 145 S. Ct. at 1005 (quotation marks omitted). A claim that does not imply the invalidity

 of the challenger’s “confinement and removal,” then, need not be brought in habeas. That

 principle has been well established by cases detailing “the relationship between § 1983 and the

 federal habeas statutes,” including whether and when habeas provides the sole avenue for relief.

 See Wilkinson v. Dotson, 544 U.S. 74, 78–82 (2005) (describing doctrine’s “legal journey”).

 After several decades of development, the black-letter law is clear: habeas remedies displace

 other actions only when success in the non-habeas action would “necessarily vitiate the legality

 of . . . confinement.” Id. at 81.

         In light of that rule, prisoners are free to challenge outside of habeas certain procedures

 they are afforded, even when they hope or expect that victory on those procedural claims will

 bring about a speedier release. In Wilkinson, for example, inmates who received unfavorable

 parole determinations brought § 1983 claims attacking the parole proceedings on the ground that

 they were unconstitutional, including by violating the Due Process Clause. See 544 U.S. at 76–

 77. The Supreme Court soundly rejected the state’s argument that those challenges could be

 brought only in habeas, explaining that the state “jump[ed] from a true premise (that in all

 likelihood the prisoners hope these actions will help bring about earlier release) to a faulty

 conclusion (that habeas is their sole avenue for relief).” Id. at 78. The Court reiterated that

 claims must be brought in habeas only if “success in the action would . . . necessarily spell

 immediate or speedier release for the prisoner” or “would necessarily imply the unlawfulness of

 a . . . conviction or sentence.” Id. at 81. Because success for those plaintiffs “[did] not mean

 immediate release from confinement or a shorter stay in prison” and instead “mean[t] at most” a




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 new hearing at which authorities retained “their discretion [to] decline to shorten [the] prison

 term,” the Court explained, the inmates could bring their challenges outside of habeas. Id. at 82.

        The federal reporters are replete with additional examples of that distinction. In Edwards

 v. Balisok, 520 U.S. 641 (1997), for example, the Supreme Court held that a challenger’s claim

 “based on allegations of deceit and bias on the part of the decisionmaker that necessarily imply

 the invalidity of the punishment” could be brought only in habeas. Id. at 648. The Court also

 made clear, however, that the challenger’s request for an injunction against future allegedly

 unconstitutional procedures could be brought outside the writ. Id. at 648–49; see Wilkinson, 544

 U.S. at 80. Likewise, in Skinner v. Switzer, 562 U.S. 521 (2011), the Supreme Court reiterated

 its earlier holdings by concluding that a prisoner complaining that he was unconstitutionally

 deprived of DNA testing could bring that claim outside of habeas. Id. at 533–34. Although the

 inmate surely hoped that any DNA results would facilitate a later attack on his conviction, the

 Court stressed the importance of the requirement that the prisoner’s challenge “necessarily”

 attacks the validity of his confinement in order for habeas to provide the exclusive remedy. Id. at

 534 (quotation marks omitted). As the Court pointed out, “While test results might prove

 exculpatory, that outcome is hardly inevitable . . . [because the] results might prove inconclusive

 or they might further incriminate [the plaintiff].” Id. The Court accordingly allowed the

 prisoner to bring his claim outside of habeas. Id. And in Davis v. U.S. Sentencing Commission,

 716 F.3d 660 (D.C. Cir. 2013), our Circuit held that a prisoner challenging the Sentencing

 Guidelines on constitutional grounds did not need to bring a habeas claim because a successful

 challenge “would do no more than allow him to seek a sentence reduction, which the district

 court retains the discretion to deny.” Id. at 666. The upshot is that while claims that actually

 “seek[]” habeas relief must be brought through the writ itself, claims that “simply relate[]




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 to . . . core habeas corpus relief” need not. Wilkinson, 544 U.S. at 81 (quotation marks omitted).

 Rather, they may be brought “through a variety of causes of action.” Davis, 716 F.3d at 666.

        Here, Plaintiffs allege that their constitutional rights were violated because they were

 denied “notice and a meaningful opportunity to challenge their designation as alien enemies.” PI

 Br. at 14. In related litigation, the Supreme Court just weeks ago expressed “skeptic[ism] of the

 self-defeating notion that the right to the notice necessary to ‘actually seek habeas relief’

 must itself be vindicated through individual habeas petitions, somehow by plaintiffs who have

 not received notice.” A.A.R.P., 145 S. Ct. at 1370 (quoting J.G.G., 145 S. Ct. at 1006). Guided

 by both that statement and the repeated instructions of that Court regarding the parameters of

 habeas, this Court concludes that if the CECOT Plaintiffs succeed on their due-process claims,

 that success would not necessarily imply that their confinement and removal under the Alien

 Enemies Act are invalid. It would instead grant them only the chance to argue as much. Put

 simply, Plaintiffs’ due-process claim “attack[s] only the wrong procedures” (i.e., the process that

 denied them a chance to actually seek habeas relief), “not the wrong result” of the sought-after

 procedures (i.e., removal). Wilkinson, 544 U.S. at 80 (cleaned up) (quoting Heck v. Humphrey,

 512 U.S. 477, 483 (1994)). The CECOT Plaintiffs’ due-process challenge is legally independent

 from their habeas claims regarding their removability under the Act and therefore need not be

 raised through habeas.

        Such a suit may be brought in equity. As the Supreme Court has long established, “[I]n a

 proper case, relief may be given in a court of equity . . . to prevent an injurious act by a public

 officer,” including “violations of federal law by federal officials.” Armstrong v. Exceptional

 Child Ctr., Inc., 575 U.S. 320, 327 (2015) (quoting Carroll v. Safford, 44 U.S. (3 How.) 441, 463

 (1845)); see also id. at 337–39 (Sotomayor, J., dissenting) (“That parties may call upon the




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 federal courts [in equity] to enjoin unconstitutional government action is not subject to serious

 dispute.”). That principle derives from “a long history of judicial review of illegal executive

 action, tracing back to England.” Id. at 327 (majority opinion). Pursuant to that principle, “it is

 established practice for [the Supreme] Court to sustain the jurisdiction of federal courts to issue

 injunctions to protect rights safeguarded by the Constitution.” Bell, 327 U.S. at 684. Because

 such relief is “a judge-made remedy,” the Supreme Court has explained, it does not “rest[] upon”

 the existence of a right of action. Armstrong, 575 U.S. at 327; see also Samuel L. Bray & Paul

 B. Miller, Getting Into Equity, 97 Notre Dame L. Rev. 1763, 1772–76 (2022) (“It is a mistake, or

 at least conducive of a mistake, to refer to ‘causes of action’ in equity.”). Plaintiffs with

 constitutional grievances can therefore seek “the equitable relief that is traditionally available to

 enforce federal law” absent a specific cause of action, as long as Congress has not displaced the

 equitable power of the federal courts. See Armstrong, 575 U.S. at 329; cf. Heikkila v. Barber,

 345 U.S. 229, 234–36 (1953) (holding habeas available to vindicate due-process rights even in

 face of statutes precluding judicial review). Courts, for example, often permit plaintiffs to bring

 suits directly under the Constitution’s guarantees of individual rights, such as the First

 Amendment. See, e.g., Trudeau v. FTC, 456 F.3d 178, 190 & n.22 (D.C. Cir. 2006).

        That principle permits Plaintiffs to proceed here. Just like litigants have since the

 beginning of our legal tradition, they may invoke this Court’s equitable authority to restrain the

 Government from infringing upon constitutional protections. They need not do so in habeas, nor

 are they obligated to identify a cause of action conferring that right. See Am. Compl., ¶¶ 142–45

 (styling due-process argument as an independent claim for relief separate from any other

 statutory causes of action).




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                                        (b)     Venue

        Even though Plaintiffs can bring a freestanding due-process claim outside of habeas,

 given the physical distance between the events in question and the District of Columbia, the

 Court believes it prudent to ensure that this is a proper venue. The relevant statute, which

 “govern[s] the venue of all civil actions brought in district courts of the United States” provides:

                A civil action in which a defendant is an officer or employee of the
                United States or any agency thereof acting in his official capacity or
                under color of legal authority, or an agency of the United States, or
                the United States, may, except as otherwise provided by law, be
                brought in any judicial district in which (A) a defendant in the action
                resides, (B) a substantial part of the events or omissions giving rise
                to the claim occurred, or a substantial part of property that is the
                subject of the action is situated, or (C) the plaintiff resides if no real
                property is involved in the action.

 28 U.S.C. § 1391(a)(1), (e)(1).

        Plaintiffs bring this action against a variety of Government officials in their official

 capacities, as well as Government agencies, all of whom reside here in Washington. See Am.

 Compl. at ECF pp. 1–2. Plaintiffs have adequately pled that “each Government-official

 defendant, through the official’s own individual actions, has violated the Constitution,” rather

 than attempting to hold them “liable for the unconstitutional conduct of their subordinates.”

 Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009). For example, Plaintiffs allege that Acting Director

 of Immigrant and Customs Enforcement Todd Lyons “is responsible for ICE’s policies, practices,

 and procedures, including those relating to the detention of immigrants during their removal

 procedures.” Am. Compl., ¶ 28. They also plead that Secretary of State Rubio “negotiates and

 enters into contracts or agreements with El Salvador for the removal and detention of [Plaintiffs]

 and others, and would be responsible for facilitating the return of [Plaintiffs] sent to El Salvador

 or any other country.” Id., ¶ 30. Plaintiffs have therefore named proper defendants and sued

 them in the district in which they reside. As such, this matter falls well within the permissive


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 venue statute. See 14D Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure

 § 3815 (4th ed. May 2025 Update).

                                        (c)     Merits

        Having established that the CECOT Plaintiffs may raise a standalone due-process claim

 based on their right to file for habeas relief prior to removal under the Proclamation, the

 remaining question is whether they are likely to succeed in showing that they were unlawfully

 prevented from doing so. See Am. Compl., ¶¶ 69–70; PI Br. at 15. They are.

        As previously noted, earlier in the lifespan of this litigation, the Supreme Court held —

 with all nine Justices agreeing — that detainees seeking to challenge their detention or removal

 under the Alien Enemies Act “must receive notice after the date of this order that they are subject

 to removal under the Act,” and such notice “must . . . allow them to actually seek habeas relief in

 the proper venue before such removal occurs.” J.G.G., 145 S. Ct. at 1006. It grounded that

 holding in the Due Process Clause, pointing out that it is “‘well established that the Fifth

 Amendment entitles aliens to due process of law’ in the context of removal proceedings.” Id.

 (quoting Reno v. Flores, 507 U.S. 292, 306 (1993)); see also Yamataya v. Fisher (The Japanese

 Immigrant Case), 189 U.S. 86, 100–01 (1903). That conclusion follows from the words of the

 Amendment itself, which applies to “any person” — not, as do other constitutional guarantees, to

 “citizens.” Cf. U.S. Const., amend. XIV, § 1, cl. 2 (Privileges or Immunities Clause). While the

 process that is constitutionally due in any case is “flexible,” Morrissey v. Brewer, 408 U.S. 471,

 481 (1972), in every circumstance its core purpose is to “protect” against “the mistaken or

 unjustified deprivation of life, liberty, or property.” Carey, 435 U.S. at 259. In this context, as

 the Supreme Court held, habeas serves that purpose — and a pivotal purpose it is, as at least one

 federal court has already found the Government’s evidence insufficient to warrant alien-enemy




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 designation for certain habeas petitioners labeled members of Tren de Aragua. See Sanchez

 Puentes v. Garite, 2025 WL 1203179, at *2 (W.D. Tex. Apr. 25, 2025).

        Although the Government had previously denied that individuals were entitled to judicial

 review of their detention and removal under the Act, see Am. Compl., ¶ 70, it now acknowledges

 that it is required to provide detainees with notice of their designation under the Act and an

 opportunity to seek habeas relief prior to removal. See PI Opp. at 14. A declaration from Carlos

 D. Cisneros, an Assistant Field Office Director for ICE in Harlingen, Texas, sets forth the current

 parameters of the process the Government believes adequate: an English-only form that makes

 no mention of the right to file a habeas petition; “oral interpretation or assistance” to those who

 do not speak English or are illiterate; 12 hours once he receives that notice for a noncitizen to

 “express[]” an “intent to file a habeas petition”; and a further 24 hours to file such petition, only

 if the noncitizen expresses that intent. See ECF No. 108-2 (Carlos D. Cisneros Decl.), ¶¶ 4–11 &

 ECF p. 5.

        Unsurprisingly, the Supreme Court has since cast serious doubt on the sufficiency of

 those procedures. In a separate case, it has explained that an Alien Enemies Act detainee “must

 have sufficient time and information to reasonably be able to contact counsel, file a petition, and

 pursue appropriate relief.” A.A.R.P., 145 S. Ct. at 1368. “[N]otice roughly 24 hours before

 removal, devoid of information about how to exercise due process rights to contest that

 removal,” the Court noted, “surely does not pass muster.” Id. Lower courts confronting this

 question have uniformly agreed. The amount of time they have deemed constitutionally

 sufficient to enable detainees to file habeas petitions after receiving notice has ranged from 10 to

 21 days — but never as few as 36 hours or even close. See G.F.F. v. Trump, 2025 WL 1301052,

 at *6 (S.D.N.Y. May 6, 2025) (10 days); Gutierrez-Contreras v. Warden, 2025 WL 1202547, at




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 *3 (C.D. Cal. Apr. 25, 2025) (14 days); D.B.U. v. Trump, 2025 WL 1163530, at *1 (D. Colo.

 Apr. 22, 2025) (21 days); A.S.R. v. Trump, 2025 WL 1378784, at *20 (W.D. Pa. May 13, 2025)

 (21 days). Courts have also held that the notice to detainees must be provided in a language they

 understand, see D.B.U., 2025 WL 1163530, at *1; see also A.S.R., 2025 WL 1378784, at *20

 (requiring notice in Spanish), and it must offer enough information for detainees to pursue their

 right to seek judicial review. See A.A.R.P., 145 S. Ct. at 1367–68; D.B.U., 2025 WL 1163530, at

 *1. At least one court has held that the notice must inform individuals of the “particular

 allegations” establishing the Government’s case for alien-enemy designation. G.F.F., 2025 WL

 1301052, at *6–8.

        The CECOT Plaintiffs, however, got none of that. Indeed, according to the allegations in

 the Amended Complaint, which are supported by the declarations, they did not receive even the

 anemic process that the Government subsequently committed to provide. See Am. Compl.,

 ¶¶ 69–70. Defendants admitted as much during oral argument on this Motion. See May 7 Hrg.

 Tr. at 30:19–30:20 (conceding that CECOT Class did not receive “the 12 hours that we are

 providing at this moment”). Instead, Plaintiffs allege that they were “already being transported

 to the airport and loaded onto planes” when the Proclamation establishing the basis for their

 removal was — as the Act requires — made public for the first time. See Am. Compl., ¶ 66; see

 also id., ¶ 35. According to the Amended Complaint, moreover, they “received no advance

 notice of the basis for their removal”; neither they nor their attorneys were told of their alien-

 enemy designation; and they were not informed they could challenge any such designation, much

 less given the opportunity to do so. Id., ¶ 69. “They were not even told where the plane was

 going when they boarded.” Id. These allegations — which Defendants either concede or thus

 far do not dispute — suggest that the CECOT Class was removed before its members were




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 “actually” allowed to “seek habeas relief,” J.G.G., 145 S. Ct. at 1006, as the Fifth Amendment

 required.

        It is therefore beside the point that, as a general matter, noncitizens outside the United

 States — as the CECOT Plaintiffs currently are — lack due-process rights. See Ali v. Rumsfeld,

 649 F.3d 762, 767 n.5 (D.C. Cir. 2011). This is not a case in which overseas noncitizens claim

 that a constitutional violation occurred abroad; such a claim would urge the “extraterritorial

 application of the Fifth Amendment,” which the Supreme Court has rejected. United States v.

 Verdugo-Urquidez, 494 U.S. 259, 269 (1990) (discussing Eisentrager, 339 U.S. 763). Instead,

 the Supreme Court has already held that Plaintiffs possessed due-process rights when they were

 on U.S. soil, as they concededly were at the time of the violation (i.e., their removal). They seek

 here to vindicate those established rights, and they are entitled to a remedy for a past violation of

 those rights even if they now find themselves overseas for reasons beyond their control. Indeed,

 the “remedy for a procedural due process violation is restoration of the status quo ante and an

 injunction barring deprivation of the plaintiff’s rights without the requisite procedural

 protections.” Ray v. Foltz, 370 F.3d 1079, 1085 n.8 (11th Cir. 2004) (quotation marks omitted);

 accord U.S. Pub. Int. Rsch. Grp. v. Atl. Salmon of Maine, LLC, 339 F.3d 23, 33 (1st Cir. 2003)

 (“Injunctive remedies for past harm commonly dictate future conduct so as to mitigate past

 harm.”). Plaintiffs are thus likely to succeed on the merits of their claim.

        Defendants barely resist this conclusion. See May 7 Hrg. Tr. at 31:3–11. Their sole

 response is to argue in passing that the Supreme Court established Plaintiffs’ due-process rights

 only prospectively — i.e., “after the date of [its] order.” PI Opp. at 18–19 (quoting J.G.G., 145

 S. Ct. at 1006). They neither cite any authority for this surprising claim nor develop it beyond a

 single sentence, thereby effectively forfeiting it. See Al-Tamimi v. Adelson, 916 F.3d 1, 6 (D.C.




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 Cir. 2019). Even taking that argument on its terms, however, the Government’s constitutional

 theory has already been roundly rejected. As the Supreme Court has explained, the “source” of

 any newly announced constitutional rule “is the Constitution itself,” and thus the “underlying

 right necessarily pre-exists [the Court’s] articulation” of it. Danforth v. Minnesota, 552 U.S. 264,

 271 (2008); see also Am. Trucking Ass’ns, Inc. v. Smith, 496 U.S. 167, 201 (1990) (Scalia, J.,

 concurring in the judgment) (“Since the Constitution does not change from year to year; since it

 does not conform to our decisions, but our decisions are supposed to conform to it; the notion

 that our interpretation of the Constitution in a particular decision could take prospective form

 does not make sense.”). If the Due Process Clause now entitles a party to certain procedures, it

 always has; the Supreme Court does not change its meaning by clarifying how it applies in a

 particular case.

         To the extent that Defendants mean to suggest that, even if Plaintiffs’ due-process rights

 were in fact violated, they are nonetheless not entitled to a remedy for actions that predate the

 Supreme Court’s constitutional holding, they are wrong there, too. “[T]he fundamental rule of

 retrospective operation . . . has governed judicial decisions for near a thousand years.” Harper v.

 Va. Dep’t of Taxation, 509 U.S. 86, 94 (1993) (cleaned up). Whenever the Court announces a

 “new principle of law,” id. at 94 (quotation marks omitted), and “applies [it] to the parties before

 it,” that rule becomes “the controlling interpretation of federal law and must be given full

 retroactive effect in all cases still open on direct review and as to all events, regardless of

 whether such events predate or postdate [the] announcement of the rule.” Id. at 97. There is no

 equitable exception to this rule of general retroactivity for the remedial stage alone. See

 Reynoldsville Casket Co. v. Hyde, 514 U.S. 749, 754–55 (1995); Nat’l Fuel Gas Supply Corp. v.

 FERC, 59 F.3d 1281, 1288 (D.C. Cir. 1995) (noting that, after Hyde, courts may not “depart,




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 even at the remedial stage, from the rule of Harper requiring that a judicial decision be applied

 retroactively”).

        And here, that rule applies with full force: the Court’s due-process holding was handed

 down in this very case — that is, it was applied not just to “the parties before it,” Harper, 509

 U.S. at 97, but to a putative class that included, at the time, individuals who currently comprise

 the CECOT Plaintiffs whose case is “still open on direct review.” Id. The Court’s instruction

 that Alien Enemies Act “detainees must receive notice after the date of this order that they are

 subject to removal under the Act,” J.G.G., 145 S. Ct. at 1006, clarified only that, whatever prior

 notice they had been given, new and constitutionally adequate notice was required. It in no way

 indicated that prior summary removals were lawful, nor did it explicitly “reserve the question

 whether its holding should be applied to the parties before it.” Harper, 509 U.S. at 97 (quotation

 marks omitted).

        Besides, even if the Court had reserved that question, retroactivity rears its head at most

 when the Court announces a “new principle of law,” which occurs when it “overrul[es] clear past

 precedent on which litigants may have relied” or “decid[es] an issue of first impression whose

 resolution was not clearly foreshadowed.” Chevron Oil Co. v. Huson, 404 U.S. 97, 106 (1971).

 Neither circumstance applies here. Just the opposite: the Supreme Court grounded its holding in

 the “well established” principle that “the Fifth Amendment entitles aliens to due process of law

 in the context of removal proceedings.” J.G.G., 145 S. Ct. at 1006 (quotation marks omitted).

 And it later emphasized that it has “long held” that due process in the removal context requires

 an “opportunity . . . to be heard.” A.A.R.P., 145 S. Ct. at 1367 (quotation marks omitted). Its

 clarification that such opportunity must take the form of a habeas petition also accorded with

 over a century of caselaw under the Alien Enemies Act, see, e.g., Ex parte Gilroy, 257 F. 110,




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 110 (S.D.N.Y. 1919); U.S. ex rel. Zdunic v. Uhl, 137 F.2d 858, 859 (2d Cir. 1943); Ludecke v.

 Watkins, 335 U.S. 160, 163 (1948) — caselaw that the Government itself previously invoked to

 argue that habeas was the exclusive remedy available to Plaintiffs. See Mot. to Vacate at 8–11.

 In light of the above, it is unsurprising that Defendants have identified no case — not even a

 stray comment in a case — that would support their position that the summary deportation of the

 CECOT Class on March 15, in the midst of ongoing court proceedings concerning the legality of

 the Government’s actions, was lawful. All the available precedent says the opposite. To the

 extent, moreover, that Chevron Oil’s equitable factors for denying retrospective relief have any

 “continuing validity” after Harper and Hyde, this case does not present “the sort of grave

 disruption or inequity . . . that would bring that doctrine into play.” Ryder v. United States, 515

 U.S. 177, 184–85 (1995).

         The simplest answer here is thus the right one: the CECOT Class’s removal from the

 United States, before its members had received constitutionally adequate notice of the reason for

 that removal or any meaningful opportunity “to actually seek habeas relief,” J.G.G., 145 S. Ct. at

 1006, violated their Fifth Amendment right to “due process of law.” U.S. Const. amend. V. That

 violation entitles them to appropriately tailored equitable relief. See Swann v. Charlotte-

 Mecklenburg Bd. of Ed., 402 U.S. 1, 15 (1971) (“Once a right and a violation have been shown,

 the scope of a district court’s equitable powers to remedy past wrongs is broad, for breadth and

 flexibility are inherent in equitable remedies.”). The Court will discuss the nature of that relief in

 Section III.C, infra.

                         b.     Criminal Custody Class

         The second potential Class before the Court comprises noncitizens in the United States in

 state or federal criminal custody — not DHS immigration detention — who have detainers

 pursuant to the Proclamation. See Class Cert. Br. at 2. Through a next friend, T.C.I. seeks to


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 represent the Class. Id. at 2–3; see Am. Compl., ¶¶ 18, 94. He is in criminal custody in New

 Jersey while he awaits sentencing on federal charges for a case in the Eastern District of New

 York. See PI Br. at 10–11; ECF No. 102-13 (Eylan Schulman Decl.), ¶ 2. He claims that the

 Government has lodged a detainer on him and served him with a “Notice of Apprehension”

 indicating that he will be removed pursuant to the Proclamation, although he does not know

 when or where such removal will happen. See Schulman Decl., ¶¶ 3–4; Roman Decl., Exh. 2

 (Second Notice of Apprehension) at 1 (informing recipient that “he or she shall be apprehended,

 restrained, and removed from the United States” under Alien Enemies Act). Pointing to a

 declaration offered by Defendants in mid-March, T.C.I. contends that there are several dozen

 Venezuelan noncitizens who, like him, are in criminal custody with an active detainer under the

 Proclamation. See Am. Compl., ¶ 97; PI Br. at 10; Cerna Second Decl., ¶ 6 (stating that as of

 March 18, 2025, “approximately 32 [alleged members of Tren de Aragua] are in criminal custody

 with active detainers against them”).

        T.C.I. seeks two forms of relief for himself and the putative Class via what the Court

 again construes to be alternative — and mutually exclusive — grounds. See supra p. 15. First,

 he desires a writ of habeas corpus that would enjoin their removal under the Proclamation, which

 he argues is unlawful. See PI Br. at 17–37; Am. Compl., ¶ 94 & pp. 36–37. He also alleges that

 when they exercise the detainers, Defendants will provide him and the Class insufficient notice

 and opportunity to file a habeas petition prior to their removal, thereby violating their Fifth

 Amendment due-process rights. See PI Br. 14–15; PI Reply at 9–10; Am. Compl., ¶¶ 94, 142–45

 & p. 36. He therefore requests that this Court order Defendants to provide this Class sufficient

 notice and at least 30 days to file a habeas petition before removing them. See PI Br. at 1–2, 14–




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 17; Am. Compl. at 36. The Court looks separately at the habeas and due-process claims,

 ultimately concluding that T.C.I. and the Class are unlikely to succeed on either.

                               i.       Habeas

        As explained below, the Court agrees with T.C.I. that, while still in criminal custody, he

 can challenge his impending deportation through a proper habeas petition. So, too, can members

 of the putative Class if the detainers on them also reflect the Government’s intention to

 apprehend and remove them pursuant to the Act. This Court, however, does not presently have

 statutory jurisdiction over any of those habeas challenges. The two questions are analyzed

 separately.

                                        (a)      Future Challenge

        As discussed above in relation to constructive custody, § 2241(c) of the federal habeas

 statute provides that in order to seek relief, T.C.I. and Class members must be in “custody.” 28

 U.S.C. § 2241(c)(1)–(4). In this context, one is in “custody” for purposes of the Alien Enemies

 Act if he is subject to removal under the Act. Cf. J.G.G., 135 S. Ct. at 1005 (claim “seek[ing]

 equitable relief . . . against [one’s] removal under the” Act “fall[s] within the core of the writ of

 habeas corpus and thus must be brought in habeas” “[r]egardless of whether” the petitioner

 “formally request[s] release from [Act-based] confinement”) (quotation marks omitted). While

 one would therefore fall within the scope of the habeas statute if he were currently subject to

 removal, the first question raised by this Class’s petition is whether its members can challenge

 through habeas their future removal even while confined by federal or state officials on criminal

 charges. They can.

        It is well established that one held in confinement can use habeas to attack a detainer

 lodged against him by a separate sovereign. Challenges to future custody can be brought through




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 habeas not just when two sentences are imposed by the same jailer, see, e.g., Peyton v. Rowe,

 391 U.S. 54, 67 (1968) (holding that prisoner could challenge through habeas second of two

 consecutive sentences while still serving first), but also when a prisoner seeks to attack future

 custody imposed by an authority different from the one currently holding him. As the Supreme

 Court explained in Braden, for instance, “a petitioner held in one State” may “attack a detainer

 lodged against him by another State.” 410 U.S. at 498. There, the petitioner was serving a

 sentence in an Alabama prison for violating Alabama law, but Kentucky had lodged a detainer

 against him pursuant to a pending indictment in that state on criminal charges. Id. at 486–87.

 From Alabama prison, Braden filed a habeas petition in the Western District of Kentucky,

 naming a Kentucky state court as respondent and seeking an order granting him a speedy trial on

 the indictment, which at the time had been pending for three years. Id. at 485. The petitioner

 therefore did not “challenge the present effect being given the Kentucky detainer by the Alabama

 authorities,” but rather attacked “the validity of the Kentucky indictment which underl[ay] the

 detainer lodged against him by [Kentucky] officials.” Id. at 486–87 (cleaned up). The Supreme

 Court explained why Braden was “in custody” for purposes of § 2241(c)(3) even though “the

 future custody under attack [would] not be imposed by the same sovereign which [held] [him] in

 his current confinement”: the Alabama warden was “act[ing] as the agent of the Commonwealth

 of Kentucky in holding the petitioner pursuant to the Kentucky detainer.” Id. at 489 n.4

 (quotation marks omitted); see id. at 498–99 (same).

        From Braden and the Supreme Court’s decision in our case, then, it follows that T.C.I.

 may avail himself of habeas corpus to challenge his future Act-based removal even as he is

 detained under other authorities. The record indicates that Defendants will seek to apprehend

 and remove T.C.I. upon resolution of his federal criminal proceedings. The Notice of




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 Apprehension he claims to have received informs him that Defendants have determined that he is

 removable under the Proclamation and that he “shall be . . . removed,” Second Notice of

 Apprehension at 1, so there is no reason to doubt that they have lodged a detainer in order to

 effectuate such removal. Any challenge to an Act-based removal can and must be brought

 through habeas. J.G.G., 135 S. Ct. at 1005. Contrary to what Defendants appear to argue, see

 ECF No. 114 (Class Cert. Opp.) at 7 (“[Habeas] jurisdiction cannot be premised on future

 custody because custody is a jurisdictional prerequisite.”), “habeas corpus relief is not limited to

 immediate release from illegal custody”; instead, “the writ is available as well to attack future

 confinement and obtain future releases.” Preiser v. Rodriguez, 411 U.S. 475, 487 (1973).

        Concluding that T.C.I. can attack his future deportation while still in criminal custody

 breaks no new ground. In the INA context, while courts often hold that a prisoner cannot use

 habeas to challenge a detainer indicating merely that he will be subject to future immigration

 proceedings, see, e.g., Zolicoffer v. DOJ, 315 F.3d 538, 540–41 (5th Cir. 2003); Prieto v. Gluch,

 913 F.2d 1159, 1160–61, 1164 (6th Cir. 1990), the courts of appeals consistently hold that such a

 prisoner can challenge a detainer through habeas if immigration officials intend to take him into

 custody upon his release or if he has a final order of removal under the INA. See, e.g.,

 Simmonds v. INS, 326 F.3d 351, 354–56 (2d Cir. 2003); Korac v. Warden Fairton FCI, 814 F.

 App’x 722, 723 (3d Cir. 2020) (citing Kolkevich v. Att’y Gen., 501 F.3d 323, 334 n.6 (3d Cir.

 2007)); Ortiz v. Mayorkas, 2022 WL 595147, at *2–3 (4th Cir. Feb. 28, 2022); Rosales v. ICE,

 426 F.3d 733, 735 (5th Cir. 2005); Garcia-Echaverria v. United States, 376 F.3d 507, 510–11 (6th

 Cir. 2004); Nakaranurack v. United States, 68 F.3d 290, 293 (9th Cir. 1995); Aguilera v.

 Kirkpatrick, 241 F.3d 1286, 1291 (10th Cir. 2001) (citing Galaviz-Medina v. Wooten, 27 F.3d

 487, 493 (10th Cir. 1994)). The Notice of Apprehension that T.C.I. received is analogous to a




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 final order of removal insofar as it is an administratively final determination of his deportability

 under the Act, cf. Nasrallah v. Barr, 590 U.S. 573, 579 (2020) (“[I]n the deportation context, a

 final order of removal is a final order concluding that the alien is deportable or ordering

 deportation.”) (quotation marks omitted); 8 U.S.C. § 1231(a)(1)(B)(i); 8 C.F.R. § 1241.33(a), and

 it therefore suffices to indicate Defendants’ intention to apprehend and remove him under the Act

 upon the conclusion of his criminal proceedings. Cf. Garcia-Echaverria, 376 F.3d at 511;

 Galaviz-Medina, 27 F.3d at 493.

                                        (b)     Proper Respondent

        Even if members of the Class can challenge their impending removals through habeas,

 the question remains: does this Court have statutory jurisdiction over those petitions? That

 question “breaks down into two related subquestions”: who is the proper respondent to the

 petition, and does this Court have jurisdiction over him? Padilla, 542 U.S. at 434. That is

 because a district court is “limited to granting habeas relief ‘within [its] respective

 jurisdiction[],’” id. at 442 (quoting 28 U.S.C. § 2241(a)), which means that to issue a writ, it

 must “have jurisdiction over the custodian” — i.e., over the habeas respondent. Id. (quoting

 Braden, 410 U.S. at 495).

        “[T]here is generally only one proper respondent to a given prisoner’s habeas petition,”

 id. at 434, and it is the person “who has the immediate custody of the party detained.” Id. at 435

 (quoting Wales, 114 U.S. at 574). That precept flows from the federal habeas statute, id. at 434,

 which provides that the writ “shall be directed to the person having custody of the” petitioner.

 See 28 U.S.C. § 2243 (emphasis added); see also id. § 2242 (“Application for a writ of habeas

 corpus . . . shall allege . . . the name of the person who has custody over him and by virtue of

 what claim or authority, if known.”). Those statutory provisions, in turn, reflect the nature of the




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 Great Writ, which acts not “upon the prisoner who seeks relief, but upon the person who holds

 him in what is alleged to be unlawful custody.” Braden, 410 U.S. at 494–95 (citing Wales, 114

 U.S. at 574). For habeas challenges concerning “present physical confinement,” therefore, “the

 default rule is that the proper respondent is the warden of the facility where the prisoner is being

 held, not the Attorney General or some other remote supervisory official.” Padilla, 542 U.S. at

 435. In such cases, only the district court in the district of confinement has statutory jurisdiction.

 Id. at 443.

         T.C.I. is of course correct that this “immediate physical custodian rule” does not fully

 apply “when a habeas petitioner challenges something other than his present physical

 confinement” — e.g., his future custody. Id. at 438. Braden established as much. In that case,

 the Court held that the habeas petition could be brought against a Kentucky state court in

 Kentucky because the Alabama prisoner “was in the custody of Kentucky officials” “by virtue of

 the detainer,” and the Kentucky state court was where that detainer “was lodged.” Padilla, 542

 U.S. at 438 (quotation marks omitted); see Braden, 410 U.S. at 497–500.

         Despite Braden’s limitation on the immediate-custodian rule, Plaintiffs take a wrong turn

 in claiming that Defendants — the President, the Secretaries of Defense, Justice, Homeland

 Security, and State, and the Acting Director of ICE — are proper respondents. The Court reaches

 that conclusion for a reason other than that urged by Defendants. They agree that, given their

 presence in the District, they would fall within this Court’s habeas jurisdiction. Cf. May 7 Hrg.

 Tr. at 14:18–22. But none is the future custodian, they object, because it is “speculative” that the

 Class “will be confined in CECOT under the constructive custody of one of” them. See PI Opp.

 at 13. Such objection misunderstands T.C.I.’s argument, which does not turn on a prediction that

 the Class will be deported to CECOT or another facility where the United States might have




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 constructive custody. See PI Br. at 37–39 (claiming that, when removed, he and Class members

 will likely be sent to CECOT or to Venezuela); Am. Compl., ¶¶ 94, 100, 105, 107. Rather, he

 contends that Defendants are proper respondents because they “are responsible for implementing

 the [Alien Enemies Act] process” that will culminate in his and others’ removal from the United

 States. See PI Br. at 11 (emphasis added).

        The Court nevertheless cannot find Defendants to be proper respondents. These officials’

 ostensible roles in authorizing and supervising the program of Act-based removals does not

 render any of them a custodian for the Class’s habeas challenges. Such a petition must be

 brought against the official who has lodged the detainer and/or who will be the immediate

 physical custodian of Plaintiffs upon the detainers’ execution, not against those who, like

 Defendants, simply oversee the federal removal policy.

        T.C.I. errs principally in thinking that the limited exception to the immediate-custodian

 rule established by Braden frees him to bring his habeas petition against any official to whom his

 future “custody” might be traced, such as the President who issued the Proclamation or a Cabinet

 official overseeing its implementation. Even if the present physical custodian — i.e., Braden’s

 Alabama jailer or T.C.I.’s warden in New Jersey — is not the respondent in a challenge to future

 custody, that does not mean that courts can jettison the longstanding requirement that the proper

 respondent be the “the person who [will have] custody over” the petitioner. See 28 U.S.C.

 § 2242; id. § 2243 (same). That is, in bringing a challenge to future custody, the petitioner must

 still name as respondent “the person” who will be the immediate custodian or the closest analog.

 This is particularly true when the future custody entails physical confinement and is thus “core”

 habeas — as is the case here. J.G.G., 145 S. Ct. at 1005 (challenges to “confinement and

 removal under the [Act] . . . fall within the ‘core’ of the writ of habeas corpus”) (emphasis




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 added); cf. Padilla, 542 U.S. at 439 (rejecting that habeas petitioner can “name someone other

 than his immediate physical custodian as respondent simply because the challenged physical

 custody . . . stems from a military order by the President”). By those terms, the proper

 respondent for T.C.I.’s future challenge is the person who would take physical custody of him

 upon conclusion of his criminal proceedings or the official or office that issued his detainer.

 While we may not now know who that will be, we do know that it is not any of Defendants.

        These conclusions follow from the Supreme Court’s decision in Padilla and the Seventh

 Circuit’s in al-Marri v. Rumsfeld, 360 F.3d 707 (7th Cir. 2004), upon whose reasoning Padilla

 drew heavily. In both cases, the habeas petitioners started out in federal criminal custody.

 Padilla, 542 U.S. at 431; al-Marri, 360 F.3d at 708. While their criminal proceedings were

 pending (in New York for Padilla and Illinois for al-Marri), the President ordered the Secretary

 of Defense to designate them as enemy combatants, and they were subsequently transferred to a

 naval brig in South Carolina. Padilla, 542 U.S. at 430–32; al-Marri, 360 F.3d at 708. Each then

 filed a habeas petition in New York and Illinois, respectively, naming as respondents the

 President, the Secretary of Defense, and the brig commander. Padilla, 542 U.S. at 432; al-Marri,

 360 F.3d at 707, 709. Both the Supreme Court and Seventh Circuit held that only the latter was

 the proper habeas respondent because she was the one “exercis[ing] day-to-day control over

 [petitioners’] physical custody.” Padilla, 542 U.S. at 439; see id. at 434–42; al-Marri, 360 F.3d at

 709.

        In both cases, the courts addressed the contention that because “physical detention” is no

 longer “a prerequisite to habeas relief, the immediate custodian rule” is also “no longer

 bind[ing],” “even in challenges to physical custody.” Id. at 437. In response, Padilla explained:

                That argument, as the Seventh Circuit aptly concluded [in al-Marri],
                is a “non sequitur.” That our understanding of custody has



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                broadened to include restraints short of physical confinement does
                nothing to undermine the rationale or statutory foundation of [the]
                immediate custodian rule where physical custody is at issue. . . .

 Id. (emphasis added) (quoting al-Marri, 360 F.3d at 711) (citation omitted). As the Seventh

 Circuit elaborated, the fact that “Braden severed the link between physical detention and

 ‘custody’” does not mean that “anyone with legal authority to influence the physical custodian’s

 actions may be the respondent, and thus the litigation may be conducted against a Cabinet officer

 in any district.” al-Marri, 360 F.3d at 711.

        The Padilla Court moreover clarified the sole scenario in which a habeas respondent can

 name “the party exercising legal control” over him, rather than his immediate custodian. See

 542 U.S. at 439. That possibility “only comes into play when there is no immediate physical

 custodian with respect to the challenged ‘custody,’” as was the case in Braden. Id. Padilla

 therefore emphasized that despite Braden and the “expanding definition of ‘custody’ under the

 habeas statute,” when it is possible to do so, the petitioner must name the person who is the

 immediate custodian “exercis[ing] day-to-day control over” him. Id. Even “when custody takes

 a form other than physical detention,” the immediate-custodian rule still exerts gravitational pull:

 in such a case, “it is necessary to identify” the closest individual to the immediate custodian,

 which will be the person “who asserts the legal right to control that is being contested in the

 litigation,” al-Marri, 360 F.3d at 711 (emphasis added), or, stated slightly differently, the person

 who is “responsible for maintaining — not authorizing — the [challenged] custody.” Padilla,

 542 U.S. at 440 n.13 (citing id.); al-Marri, 360 F.3d at 708 (explaining that while “President

 authorized al-Marri’s custody by designating him as an enemy combatant,” “there is a difference

 between authorizing and exercising custody,” and habeas custodian is one who does the latter).

        The fact that Padilla and al-Marri concerned challenges to present custody does not mean

 that these propositions apply with any less force in challenges to future custody. In other words,


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 just because a future challenge need not be brought against the petitioner’s current physical

 custodian, that does not also mean that the rules defining the proper habeas respondent no longer

 constrain who the future custodian is. To argue otherwise would be another non sequitur. After

 all, in a scenario like this or like Braden in which a prisoner can challenge some future custody,

 there are two “ongoing custodies imply[ing] [two] custodians.” al-Marri, 360 F.3d at 711. There

 is no reason to conclude that the proper-respondent rules apply to one custodian but not the other.

 Indeed, “the fact that” the immediate-custodian rule is “subject to exceptions does not mean that,

 in the exceptional case,” courts can disregard “the considerations that in the ordinary case are

 served by the immediate-custodian rule.” Padilla, 542 U.S. at 453 (Kennedy, J., concurring).

 Instead, even “[w]hen an exception applies,” courts must still give effect to those considerations.

 Id. In short, then, the habeas petitioner must name as respondent the person who is or will be the

 immediate-most custodian, which is the person who does or will have physical custody, or, if

 none can be identified, the one who does or will exercise — rather than authorize or supervise —

 the “custody” being attacked.

        Applied here, those principles dictate that none of Defendants is a proper habeas

 respondent. T.C.I. challenges his future “confinement and removal under the [Act],” J.G.G., 145

 S. Ct. at 1005, based on the detainer lodged against him. When Defendants take him into

 custody upon resolution of his criminal proceedings in order to initiate his removal under the

 Act, there will almost certainly be an official (or office) exercising day-to-day physical control

 over him. If that person (or entity) can be identified, T.C.I. must name him (or it). If such

 physical custodian cannot be identified, T.C.I. would need to name the person asserting the right

 to physically apprehend and remove him under the Proclamation. See al-Marri, 360 F.3d at 711.

 That would presumably be the person (or office) who lodged the Proclamation-based detainer —




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 perhaps an ICE agent or field office in New York or New Jersey. See May 7 Hrg. Tr. at 24:25–

 25:2 (Government counsel unable to identify who issued detainers in question). If T.C.I. can

 identify no such person, then — and only then — might a more remote supervisory official be

 the proper respondent. T.C.I. has not suggested that an immediate custodian cannot be located,

 so the Court must conclude that the proper respondent is neither the President who issued the

 Proclamation nor the Cabinet secretaries and agency head who supervise the removal program.

 Cf. al-Marri, 360 F.3d at 708 (explaining that “for an inmate of a brig, jail, or prison the

 ‘custodian’ is the person in charge of that institution,” and “[i]n the federal system, this means

 the warden,” not “the Director of the Bureau of Prisons” or “the Attorney General”); Guerra v.

 Meese, 786 F.2d 414, 416 (D.C. Cir. 1986) (same).

          Finally, it bears mention that Padilla noted — but did not resolve — a question that the

 Supreme Court had “left open” in Ahrens v. Clark, 335 U.S. 188 (1948), and that had

 subsequently “divided” the courts of appeals: “whether the Attorney General is a proper

 respondent to a habeas petition filed by an alien detained pending deportation.” 542 U.S. at 435

 n.8 (collecting cases). The answer to whether she could be named in a habeas challenge to a

 final order of removal under the INA might, of course, illuminate the present inquiry. There are

 several reasons why the cases addressing that question bolster, rather than dislodge, this Court’s

 conclusions. For one, as the Ninth Circuit last year observed, there was not actually much of a

 split: “[T]he only case holding that the Attorney General was a proper respondent” — one of the

 Ninth Circuit’s own — “was subsequently withdrawn” and resolved on other grounds. Doe v.

 Garland, 109 F.4th 1188, 1195 (9th Cir. 2024) (citing Armentero v. INS, 340 F.3d 1058 (9th Cir.

 2003), reh’g granted, opinion withdrawn, 382 F.3d 1153 (9th Cir. 2004), opinion after grant of

 reh’g, 412 F.3d 1088 (9th Cir. 2005)). All other circuits held that the Attorney General was not a




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 proper respondent even when the challenge was to a final order of removal and not physical

 confinement. Armentero, 412 F.3d at 1098 n.17 (Berzon, J., dissenting).

        In several places, moreover, Padilla expressly undercuts weight-bearing arguments made

 in favor of permitting the Attorney General to be named as a habeas respondent. For instance,

 the Ninth Circuit endorsed (and other circuits considered) that she could sometimes be named

 because of her often “unique decisionmaking authority over immigration matters, including

 detention and parole of aliens.” Armentero, 340 F.3d at 1071; see, e.g., Henderson v. INS, 157

 F.3d 106, 125–27 (2d Cir. 1998); Vasquez v. Reno, 233 F.3d 688, 696 (1st Cir. 2000). The

 Padilla Court, however, directly repudiated this reasoning; while it acknowledged the Secretary

 of Defense’s “unique and pervasive personal involvement in authorizing Padilla’s detention,” it

 flatly rejected that such involvement “justifie[d] naming him as the respondent.” 542 U.S. at 440

 n.13 (quotation marks omitted); see id. (“If personal involvement were the standard, ‘then the

 prosecutor, the trial judge, or the governor would be named as respondents’ in criminal habeas

 cases.”) (quoting al-Marri, 360 F.3d at 711). The Court, moreover, reiterated that the immediate-

 custodian rule does not cease to apply “simply because the challenged physical custody does not

 arise out of a criminal conviction.” Id. at 439. For habeas challenges involving physical custody

 — be they criminal, military, or immigration detention — the immediate-custodian rule governs.

        In sum, this Court lacks statutory jurisdiction over the putative Criminal Custody Class’s

 habeas petitions because no Defendant is a proper respondent. The Class’s habeas claims are

 therefore unlikely to succeed.

                             ii.      Due Process

        The putative Criminal Custody Class is also unlikely to succeed on the merits of its due-

 process claim. Although in theory its members could bring such a standalone claim for the same




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 reasons the CECOT Class can, see supra Section III.A.1.a.ii.(a), the Court concludes that neither

 T.C.I. nor the putative Class members have Article III standing to pursue it.

        T.C.I. contends that when Defendants act to remove him and Class members pursuant to

 the Proclamation, their Fifth Amendment due-process rights will be violated twice over. He

 alleges first that they will not receive “adequate notice and meaningful procedural protections”

 and will therefore be denied a chance to challenge their removal through habeas before being

 deported. See Am. Compl., ¶ 144; J.G.G., 144 S. Ct. at 1006. Their due-process rights will

 additionally be violated, T.C.I. alleges, because they will be denied the opportunity to voluntarily

 depart the country within a reasonable time. See Am. Compl., ¶ 145; see 50 U.S.C. § 21 (when

 Act’s authorities are available to him, President “is authorized . . . to provide for removal of

 those [alien enemies] who . . . refuse or neglect to depart” United States); id. § 22 (in certain

 circumstances, removable alien enemy “shall be allowed” “reasonable time” to “settle [his]

 affairs” prior to removal).

        For himself and the putative Class, T.C.I. seeks preliminary relief only on the first of

 these due-process claims. He asks this Court to order Defendants “to provide immediate,

 adequate notice of designation to each [Class] member and [his] counsel, and a reasonable

 opportunity of no less than 30 days to challenge [his] designation, detention, and removal under

 the [Act], consistent with due process.” PI Br. at 1–2; see also Am. Compl. at 36. For slightly

 different reasons, however, neither T.C.I. nor the putative Class members have established that

 they have standing to sue for that relief.

        Plaintiffs bear the burden of establishing Article III standing, Susan B. Anthony List v.

 Driehaus, 573 U.S. 149, 158 (2014), and because “standing is not dispensed in gross,” they

 “must demonstrate standing for each claim that they press and for each form of relief that they




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 seek.” TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021). To do so, they must establish

 that they suffer (a) an injury-in-fact that is both (b) “fairly traceable to the challenged action of

 the defendant” and (c) “likely, as opposed to merely speculative,” to be “redressed by a favorable

 decision.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180–81

 (2000).

           Plaintiffs fall short of demonstrating an injury-in-fact. Such an injury must be both (1)

 “concrete and particularized” and (2) “actual or imminent, not conjectural or hypothetical.” Id.

 at 180. Plaintiffs stumble on the second of these requirements. Because they seek injunctive

 relief, they “must show either that [they are] ‘suffering an ongoing injury’ (actual) or that [they]

 ‘face[] an immediate threat of injury’ (imminent).” Animal Legal Def. Fund, Inc. v. Vilsack, 111

 F.4th 1219, 1227 (D.C. Cir. 2024) (quoting Dearth v. Holder, 641 F.3d 499, 501 (D.C. Cir.

 2011)). “To show an imminent injury,” Plaintiffs “must show ‘a substantial probability of injury’

 or ‘a substantial risk that the harm will occur.’” Id. (quoting Nat’l Ass’n of Broadcasters v. FCC,

 789 F.3d 165, 181 (D.C. Cir. 2015)); see Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409–10,

 414 n.5 (2013). This they have not done.

           Start with T.C.I. He contends that the notice and procedural protections that Defendants

 will likely provide will violate his due-process rights because — and only because — they will

 not allow him to challenge his removal through a habeas petition. See Am. Compl., ¶ 144; see

 also id., ¶ 87. In other words, he does not seek adequate notice and a 30-day period as ends unto

 themselves; he seeks them — and contends that the Due Process Clause requires that he receive

 them — so that he can bring a habeas petition in federal court contesting his removability under

 the Act. Id., ¶ 18 (T.C.I. wants to “be able to challenge his designation as an ‘alien enemy’ and

 to defend himself against the false allegations of his membership in a gang”). In making this




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 claim, he invokes the Supreme Court’s decision in this case, see PI Br. 1–2, 14–16; Am. Compl.,

 ¶ 95, and his legal theory indeed aligns with that decision. See J.G.G., 145 S. Ct. at 1006.

        Even by his terms, however, Defendants’ inadequate removal procedures violate his due-

 process rights only insofar as they deprive him of an opportunity to challenge his removability

 through habeas corpus; he suffers no due-process injury if he is able “to actually seek habeas

 relief . . . before [his] removal.” Id. Yet he has shown himself able to do just that by actually

 bringing a habeas petition in this very case. Cf. J.A.V., 2025 WL 1257450, at *12 (making this

 point in separate case). To be sure, as explained, such petition must be filed against different

 respondents. See supra Section III.A.b.i.(b). But T.C.I. nowhere argues that he cannot do so

 before being removed by Defendants. So even were it the case that the notice and procedures the

 Government will provide are constitutionally inadequate, T.C.I. falls short of showing that he is

 being injured by such inadequacy or that it is “substantially likely” that he will be moving

 forward. Animal Legal Def. Fund, 111 F.4th at 1226.

        It is also too conjectural or hypothetical that members of the putative Class are suffering

 or will suffer their asserted due-process injury. T.C.I. contends that Defendants provide a

 noncitizen detained under the Proclamation 12 hours to express his intent to file a habeas petition

 and 24 hours to file such a petition in a federal court. See Am. Compl., ¶ 87; PI Br. 4, 15.

 Defendants answer that noncitizens have “at least” those amounts of time and that the “notice is

 provided in a language the aliens can understand, generally through an interpreter.” PI Opp. at

 15 (emphasis omitted). Although the Supreme Court has since weighed in on what the Due

 Process Clause requires in these circumstances, A.A.R.P., 145 S. Ct. at 1367–68, for purposes of

 standing, the Court must “assume arguendo” that T.C.I. is right that Defendants’ alleged

 procedures are constitutionally inadequate. Tanner-Brown v. Haaland, 105 F.4th 437, 445 (D.C.




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 Cir. 2024); see Warth v. Seldin, 422 U.S. 490, 498, 500 (1975) (“Standing in no way depends on

 the merits of the plaintiff’s contention that particular conduct is illegal” because “the question of

 standing is whether the litigant is entitled to have the court decide the merits.”); cf. Schnitzler v.

 United States, 761 F.3d 33, 41 (D.C. Cir. 2014) (for standing purposes on equal-protection claim,

 plaintiff needed to show he was part of group that was denied equal treatment, but court must

 assume that group was suspect class).

        The problem for members of the putative Class, however, is that it is far from clear that

 they will likely receive the constitutionally inadequate notice and opportunity that they describe.

 The Amended Complaint cursorily asserts that Class members will be subject to the “same

 government practices” as noncitizens in Defendants’ custody, see Am. Compl., ¶ 100, but it

 provides nothing to support that assertion. A litany of court decisions, moreover, has now held

 that Defendants’ current pre-removal procedures are constitutionally inadequate, so it is possible

 that the Government will take a different tack. Even if that were not the case, however, T.C.I.

 does not establish that, given the putative Class members’ situation, they will have less than the

 30 days’ time to file a habeas petition that he says would be constitutionally sufficient. Like him,

 putative Class members are all currently in criminal custody with detainers, and he provides no

 reason to believe that they cannot also — like their lead Plaintiff — file a habeas petition in

 federal court (against the proper respondent) before being transferred to Defendants’ custody. It

 may be the case that they are now practically stymied from doing so, such that their only chance

 to challenge their removal will occur after such transfer — in which case they very well could be

 subject to the constitutionally inadequate procedures they identify. But Plaintiff makes no

 argument to that effect. By virtue of threadbare allegations, then, he has fallen well short of




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 establishing that putative Class members’ claimed due-process injury is ongoing or is

 substantially likely to occur.

                2.      Irreparable Harm

        Convinced that only the CECOT Plaintiffs are likely to succeed on the merits of their

 due-process claim, the Court limits its analysis of the other factors governing preliminary relief

 to that group. Irreparable harm is undoubtedly “a high standard,” Chaplaincy of Full Gospel

 Churches, 454 F.3d at 297, but the Court need not linger on this factor for long. It has already

 determined that deportees in Salvadoran prisons “readily meet” the criteria for showing

 irreparable harm given the “poor living conditions” there, as well as “the risk of torture, beatings,

 and even death.” J.G.G., 2025 WL 890401, at *16. The Court sees no reason to disturb that

 conclusion, which the Supreme Court has since echoed. See A.A.R.P., 145 S. Ct. at 1367–68

 (ordering preliminary relief after noting that “detainees fac[e] an imminent threat of severe,

 irreparable harm” if they are deported). Indeed, absent adequate due process and the associated

 opportunity to challenge their removal, the CECOT Plaintiffs are in danger of being transported

 to any number of other locations where they would also risk severe injury. See Redacted Kozak

 Decl., ¶ 9 (citing President Bukele’s apparent proposal to send Plaintiffs to Venezuela).

                3.      Balance of Equities & Public Interest

        The Court similarly will not dwell on “the balance of equities” and “the public interest,”

 which it considers together where the Government is a party. See Sherley, 644 F.3d at 392

 (quoting Winter, 555 U.S. at 20). The CECOT Plaintiffs have shown that they are likely to

 succeed on the merits of their claim that their constitutional rights have been violated and that

 they face irreparable harm if they are forced to stay in El Salvador. The Government, on the

 other hand, fears that its ability to conduct foreign affairs may be “compromis[ed]” by an




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 injunction. See PI Opp. at 44. The Supreme Court has made clear that such concerns, while

 surely weighty, do not defeat the need for the Government to fix its legal wrongs. See Abrego

 Garcia, 145 S. Ct. at 1018. Because of the “substantial public interest in having governmental

 agencies abide by the federal laws that govern their existence and operations,” League of Women

 Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (quotation marks omitted), the Court again

 concludes that the balance of equities and public interest fall in the CECOT Plaintiffs’ favor. See

 J.G.G., 2025 WL 890401, at *17.

         B.     Class Certification

         Having determined which claims, if any, Plaintiffs can bring and whether they have

 shown that they are entitled to preliminary-injunctive relief, the remaining question is whether

 they can bring those claims on behalf of a class. The Court concludes that the CECOT Class

 may be certified. As for the Criminal Custody Class, even if some members had standing to

 pursue a due-process claim, the Class could not be certified with T.C.I. as its sole named

 Plaintiff.

                1.     CECOT Class

         As indicated, the named CECOT Plaintiffs seek to certify and represent a class consisting

 of “[a]ll noncitizens in custody at [CECOT] in El Salvador who were, are, or will be subject to”

 the Proclamation “and/or its implementation.” Class Cert. Mot. at 2. Although their Class

 Certification Motion is mostly oriented toward their request for class-wide habeas relief, they

 also seek equitable relief on behalf of their proposed Class for “unlawful removal” because of

 the “denial of meaningful procedural protections.” Class Cert. Br. at 10; see id. at 3–4; Am.

 Compl. at 36–37. The Court will thus analyze their Motion in light of the CECOT Plaintiffs’

 due-process claims only, given its holding that habeas is unavailable here. The “overlap”




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 between the certification analysis and the merits of Plaintiffs’ claims “cannot be helped.” Wal-

 Mart, 564 U.S. at 351.

        A class action is “an exception to the usual rule that litigation is conducted by and on

 behalf of the individual named parties only.” Califano v. Yamasaki, 442 U.S. 682, 700–01

 (1979). Litigants seeking class-wide injunctive relief must therefore clear two hurdles to merit

 certification: Federal Rules of Civil Procedure 23(a) and 23(b)(2). Rule 23(a), which sets forth

 the baseline requirements for any class action, requires a party seeking certification to

 demonstrate that:

                (1) the class is so numerous that joinder of all members is
                impracticable;
                (2) there are questions of law or fact common to the class;
                (3) the claims or defenses of the representative parties are typical of
                the claims or defenses of the class; and
                (4) the representative parties will fairly and adequately protect the
                interests of the class.

 These requirements — “numerosity,” “commonality,” “typicality,” and “adequacy” —

 “effectively ‘limit the class claims to those fairly encompassed by the named plaintiff’s claims.’”

 Gen. Telephone Co. of Sw. v. Falcon, 457 U.S. 147, 156 (1982) (quoting Gen. Telephone Co. of

 Northwest v. EEOC, 446 U.S. 318, 330 (1980)).

        Once Rule 23(a)’s baseline is met, Rule 23(b)(2) then permits certification whenever “the

 party opposing the class” (here, the Government) “has acted or refused to act on grounds that

 apply generally to the class, so that final injunctive relief or corresponding declaratory relief is

 appropriate respecting the class as a whole.” Put otherwise, it codifies the “presumption that the

 interests of the class members are cohesive.” Lightfoot v. District of Columbia, 273 F.R.D. 314,

 329 (D.D.C. 2011) (quotation marks omitted). “The key to the (b)(2) class is the indivisible

 nature of the injunctive or declaratory remedy warranted — the notion that the conduct is such

 that it can be enjoined or declared unlawful only as to all of the class members or as to none of


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 them.” Wal-Mart, 564 U.S. at 360 (quotation marks omitted). It is thus well suited “to enable

 class resolution of civil-rights claims alleging classwide deprivations of protected rights.” J.D. v.

 Azar, 925 F.3d 1291, 1314 (D.C. Cir. 2019).

        In deciding whether class certification is appropriate, a district court must ordinarily

 undertake a “rigorous analysis” to see that the requirements of the Rule have been satisfied.

 Falcon, 457 U.S. at 161. “Rule 23 does not set forth a mere pleading standard.” Wal-Mart, 564

 U.S. at 350. Rather, the party seeking class certification bears the burden of “affirmatively

 demonstrat[ing] his compliance with the Rule — that is, he must be prepared to prove that there

 are in fact sufficiently numerous parties, common questions of law or fact, etc.” Id.

        The CECOT Plaintiffs easily surmount both of Rule 23’s hurdles. First, they assert that at

 least 137 individuals were removed to CECOT on March 15, see Class Cert. Br. at 8; Roman

 Decl., Exh. 13 (news report quoting “senior administration official”), all of whom lack contact

 with the outside world and face challenges in procuring legal representation. See Class Cert. Br.

 at 9. In such circumstances, joinder would be impracticable. See Taylor v. D.C. Water & Sewer

 Auth., 241 F.R.D. 33, 37 (D.D.C. 2007) (“[C]ourts in this jurisdiction have observed that a class

 of at least forty members is sufficiently large to meet [numerosity] requirement.”).

        Class members are also united by common “questions of law or fact.” Fed. R. Civ. P.

 23(a)(2). They have “suffered the same injury,” Falcon, 457 U.S. at 157 — removal to CECOT

 without adequate notice and an opportunity to file a habeas petition— and their claims “depend

 upon a common contention,” Wal-Mart, 564 U.S. at 350 — namely, that those actions violated

 their procedural-due-process rights. See Class Cert. Br. at 10. The Government disputes

 commonality, arguing that each Class member may differ in whether he contests Tren de Aragua

 membership, “the evidence available” to support his designation, the “process [he] has already




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 been given,” and “whether [he] is removable under a different provision of law.” Class Cert.

 Opp. at 15. Most of those purported differences, however, are irrelevant to whether each Class

 member was removed from the United States before he could “actually seek habeas relief.”

 J.G.G., 145 S. Ct. at 1006. As to that question, the CECOT Class is uniform: they all assert that

 they were summarily removed in a manner that vitiated any practical opportunity to file a habeas

 petition. See Class Cert. Br. at 10. The determination of the “truth or falsity” of that “common

 contention” will “resolve an issue that is central to the validity” of each Class member’s legal

 case “in one stroke.” Wal-Mart, 564 U.S. at 350. To provide common relief, moreover, there is

 no need to “delve into the specific facts of each alien’s case,” Class Cert. Opp. at 15, because the

 Class members are similarly situated with regard to the due-process violation providing the

 injury at the heart of each claim. And “if there is a single common question, factual variations

 among the class members will not defeat the commonality requirement.” Damus v. Nielsen, 313

 F. Supp. 3d 317, 332 (D.D.C. 2018) (quotation marks omitted).

        Typicality “often overlap[s]” with commonality. Id. at 331. That is true here, too. Each

 named Plaintiff alleges that he was removed from the United States to CECOT, see Am. Compl.,

 ¶¶ 12–17, and the Complaint asserts that all members of the putative CECOT Class (named

 Plaintiffs included) received similarly unconstitutional notice and no practical opportunity to file

 a habeas petition prior to removal. See id., ¶¶ 69–70, 99–100. The named Plaintiffs thus

 “suffered a similar injury from the same course of conduct.” Bynum v. District of Columbia, 214

 F.R.D. 27, 34 (D.D.C. 2003); accord Wal-Mart, 564 U.S. at 348–49. Defendants respond that the

 proposed Class representatives may not have “the same remedies” as other Class members, as

 “[s]ome detainees at CECOT may have final orders of removal under the INA and thus would

 not have the right to return to the United States.” Class Cert. Opp. at 17. To the extent that is




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 true, the Court agrees that the CECOT Class must be limited to those removed solely under the

 Proclamation, and, as it will shortly discuss, it will adjust the Class definition accordingly. But

 even so, that argument presumes that facilitating a “return” to the United States is the only

 appropriate equitable remedy for the asserted due-process violation. As the Court will discuss,

 see infra Section III.C, that is not necessarily so.

         Finally, the Government does not contest — and the Court agrees — that the named

 Plaintiffs can “adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). They have

 no “antagonistic or conflicting interests with the unnamed members of the class,” and they

 “appear able to vigorously prosecute the interests of the class through qualified counsel.”

 Twelve John Does v. District of Columbia, 117 F.3d 571, 575 (D.C. Cir. 1997) (quotation marks

 omitted). Their current counsel, moreover, are well qualified to vigorously litigate this case on

 behalf of the Class, as they have done heretofore. See ECF No. 103-2 (Daniel A. Galindo Decl.).

         For reasons that track those above, the CECOT Class also meets Rule 23(b)(2)’s

 standard. Defendants have acted “on grounds that apply generally to the class” by summarily

 removing them to CECOT under a single statutory authority, and injunctive relief — e.g.,

 mandating an opportunity to challenge that authority — “is appropriate respecting the class as a

 whole.” Fed. R. Civ. P. 23(b)(2); see Azar, 925 F.3d at 1314–15. “[A] single injunction” would

 thus “provide relief to each member of the class.” Wal-Mart, 564 U.S. at 360. The Government

 responds by rehashing its assertion that, because due process is “flexible,” Class members

 seeking relief for a violation of their due-process rights would each “be entitled to a different

 injunction or declaratory judgment.” Class Cert. Opp. at 18. As the Court has already explained,

 however, the CECOT Class complains of the same injury — denial of the right to seek habeas




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 relief — which would be redressable by the same injunction mandating that they receive such

 opportunity. That is the heartland of Rule 23(b)(2).

        Defendants separately protest that, even if the Rule 23(a) and (b)(2) factors are met, the

 CECOT Class falls short because it is not “definite” or “ascertainable.” Class Cert. Opp. at 19

 (quoting Azar, 925 F.3d at 1319–20). Such requirement is often phrased as the command that

 class members “be identified or identifiable early in the litigation.” In re White, 64 F.4th 302,

 313 (D.C. Cir. 2023). The Court is not persuaded, however, that it poses an issue here. The

 Government’s argument that the inclusion of “future claimants” renders a class non-ascertainable

 is at odds with existing law on Rule 23(b)(2) actions, which often include future members. See

 O.A. v. Trump, 404 F. Supp. 3d 109, 160 (D.D.C. 2019) (collecting cases). Besides, as will be

 next explained, the Court will exclude such members from the Class definition for separate

 reasons. Nor is the Court convinced by the argument that ascertainability “would require

 obtaining custodial records from El Salvador.” Class Cert. Opp. at 21. Under the Court’s Class

 definition, membership does not turn on whether Class members remain at CECOT; rather, the

 Class is simply whoever there was removed from U.S. custody — a group Defendants concede is

 ascertainable. Id. There is thus no barrier to certifying the CECOT Class.

        As the Court has just alluded to, however, Plaintiffs’ proffered class definition, viewed in

 light of their due-process claim, suffers from three deficiencies. First, it does not isolate those

 removed from the United States solely because of the Proclamation — i.e., those without final

 orders of removal under the INA. This litigation does not concern those who were removed

 under other immigration authorities, and the named Plaintiffs would not be appropriate

 representatives for such a class. Second, the proposed definition encompasses any noncitizen

 who “will be” subject to the Proclamation and held in custody at CECOT. See Class Cert. Mot.




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 at 2. But the Court has no way of knowing if any future prisoners will receive constitutionally

 adequate notice and an opportunity to file for habeas relief prior to their removal to CECOT,

 which could raise serious commonality concerns. Finally, Plaintiffs define the class as those “in

 custody” at CECOT. Id. If El Salvador, however, were to transfer any class members to a

 separate facility, see Class Cert. Opp. at 21, they would be arbitrarily excluded from that class —

 even though their underlying injury meriting injunctive relief would remain unchanged.

        In light of the above, the Court will “exercise its broad discretion to redefine and reshape

 the proposed class to the point that it qualifies for certification.” Wagner v. Taylor, 836 F.2d 578,

 589 (D.C. Cir. 1987). It defines the CECOT Class as follows:

                All noncitizens removed from U.S. custody and transferred to the
                Terrorism Confinement Center (CECOT) in El Salvador on March
                15 and 16, 2025, pursuant solely to the Presidential Proclamation
                entitled, “Invocation of the Alien Enemies Act Regarding the
                Invasion of The United States by Tren De Aragua.”

 This Class essentially comprises the vast majority of individuals who are similarly situated to the

 named CECOT Plaintiffs at the moment and who therefore meet the strictures of Rule 23.

 Although Plaintiffs allege that “at least one flight” has transported alleged members of Tren de

 Aragua to CECOT since March 15, see Am. Compl., ¶ 75, they provide no details about the

 process those individuals received or whether they were removed solely pursuant to the

 Proclamation. To the extent such individuals believe they have meritorious due-process claims,

 they may seek separate relief or Plaintiffs may move to amend the Class definition.

                2.      Criminal Custody Class

        The Court may dispense more swiftly with whether the Criminal Custody Class can be

 certified. It cannot. Because their due-process claim is the sole claim that this Court could hear,

 see supra Section III.A.1.b.i.(b), only it may undergird the Class. Yet neither named Plaintiff




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 T.C.I. nor any putative Class member has standing to seek injunctive relief on that claim. See

 supra Section II.A.1.b.ii. T.C.I.’s lack of standing alone defeats class certification.

        “A court is powerless to approve a proposed class settlement if it lacks jurisdiction over

 the dispute, and federal courts lack jurisdiction if” — as here — “no named plaintiff has

 standing.” Frank v. Gaos, 586 U.S. 485, 492 (2019); see also Cnty. of Riverside v. McLaughlin,

 500 U.S. 44, 51–52 (1991) (noting inapplicable exception when plaintiff has standing at outset

 but her claim is subsequently mooted). That is so because class certification “comes after [a] suit

 is filed, so if the named plaintiff[] lacked standing when [he] filed the suit,” there is properly

 speaking “no case” to speak of “when class certification [is] sought.” Walters v. Edgar, 163 F.3d

 430, 432–33 (7th Cir. 1998). Even if the Class were later able to establish that its members are

 suffering or will suffer a due-process injury, T.C.I. would probably still be fatally atypical. As

 the Supreme Court “has repeatedly held, a class representative must . . . suffer the same injury as

 the class members.’” E. Tex. Motor Freight Sys. Inc. v. Rodriguez, 431 U.S. 395, 403 (1977)

 (emphasis added) (quotation marks omitted); Wal-Mart, 564 U.S. at 348–49 (same). Unlike

 Class members, T.C.I. has actually filed a habeas petition, making it doubtful that he could suffer

 the Class’s claimed due-process injury. And if a named plaintiff “could have suffered no injury

 as a result of the alleged” wrong, he is “simply not eligible to represent a class of persons who

 did allegedly suffer injury.” Rodriguez, 431 U.S. at 403–04. Because the named Plaintiff’s lack

 of standing prevents certification, the Court need not address whether the putative Class could

 satisfy the remaining Rule 23 requirements.

        C.      Remedy

        While “the United States has been emphatically termed a government of laws, and not of

 men,” Chief Justice Marshall warned, “[i]t will certainly cease to deserve this high appellation, if




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 the laws furnish no remedy for the violation of a vested legal right.” Marbury v. Madison, 5 U.S.

 (1 Cranch) 137, 163 (1803); accord Bell, 327 U.S. at 684. Here, the Government has violated

 the CECOT Class’s vested right to due process, an infringement that risks inflicting irreparable

 harm for which the public interest requires a remedy. The question — simply asked but not so

 simply answered — thus becomes what relief they must obtain for that violation.

        Numerous courts have recognized “the duty of the court to supply corrective process

 where due process of law ha[s] been denied.” Brown v. Mississippi, 297 U.S. 278, 287 (1936)

 (citation omitted). As the Ninth Circuit has explained, “Broadly speaking, due process violations

 are remedied by providing the aggrieved party the process he or she was deprived (or an

 equivalent).” Lara-Torres v. Ashcroft, 383 F.3d 968, 975 (9th Cir. 2004); accord Ray, 370 F.3d at

 1085 n.8; Ahmed v. Gonzales, 398 F.3d 722, 728 (6th Cir. 2005) (holding that, in case where

 plaintiffs did not receive fair hearing before immigration judge, “[t]he proper remedy for this due

 process violation is to give the [plaintiffs] an opportunity to have their case heard fairly” and

 remanding “with instructions that the [plaintiffs] be provided with a new hearing before a

 different immigration judge”). Indeed, when other courts in this district have found violations of

 plaintiffs’ procedural-due-process rights, they have ordered the Government to provide the

 process that was due. See, e.g., Mills v. Bd. of Ed. of D.C., 348 F. Supp. 866, 880 (D.D.C.

 1972); Minney v. U.S. Off. of Personnel Mgmt., 130 F. Supp. 3d 225, 234 (D.D.C. 2015).

        The Supreme Court has already concluded that a proper remedy for an unlawful removal

 is for the Government to facilitate the restoration of that person’s rights. In Abrego Garcia, the

 Court reviewed an order requiring the Government to “facilitate and effectuate the return” of a

 noncitizen, Abrego Garcia, who had been deported to El Salvador in violation of a withholding

 order forbidding such removal. See 145 S. Ct. at 1018. The Court unanimously determined that




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 the district court’s “order properly requires the Government to ‘facilitate’ Abrego Garcia’s

 release from custody in El Salvador and to ensure that his case is handled as it would have been

 had he not been improperly sent to El Salvador.” Id. (emphasis added). At the same time, the

 Court noted that the “effectuate” requirement “may exceed the District Court’s authority” and

 instructed the court to “clarify its directive.” Id. Although the Court was thus cognizant of the

 “deference owed to the Executive Branch in the conduct of foreign affairs” and directed the

 district court to proceed accordingly, it nonetheless did not hesitate to require the Government to

 “facilitate” Abrego Garcia’s release from custody and redo its handling of his case. Id. The

 Court, moreover, instructed the Government to be “prepared to share what it can concerning the

 steps it has taken and the prospect of further steps.” Id.

        In light of that guidance, the district court on remand ordered the Government to “take all

 available steps to facilitate the return of Abrego Garcia to the United States as soon as possible.”

 Abrego Garcia v. Noem, 2025 WL 1085601, at *1 (D. Md. Apr. 10, 2025); see also Abrego

 Garcia v. Noem, 348 F.R.D. 589, 592 (D. Md. 2025) (“Defendants . . . remain obligated, at a

 minimum, to take the steps available to them toward aiding, assisting, or making easier Abrego

 Garcia’s release from custody in El Salvador and resuming his status quo ante.”). The Fourth

 Circuit, in turn, left that order in place over an objection from the Government. Abrego Garcia v.

 Noem, 2025 WL 1135112, at *1 (4th Cir. Apr. 17, 2025) (“‘Facilitate’ is an active verb.”). In a

 similar case in which a person was wrongfully removed to El Salvador, another district court

 likewise ordered the Government “to facilitate [the noncitizen’s] return to the United States so

 that he can receive the process he was entitled to.” J.O.P. v. DHS, 2025 WL 1180191, at *1 (D.

 Md. Apr. 23, 2025), app. for stay denied, 2025 WL 1431263 (4th Cir. May 19, 2025).




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        As is now clear, CECOT Class members were entitled to notice and an opportunity to

 challenge their removability pursuant to the Proclamation. That process — which was

 improperly withheld — must now be afforded to them. Put differently, Plaintiffs’ ability to bring

 habeas challenges to their removal must be restored. In light of the well-established law of

 remedies and the example that has already been set by all three levels of the federal judiciary,

 then, Defendants must facilitate Plaintiffs’ ability to proceed through habeas and ensure that their

 cases are handled as they would have been if the Government had not provided constitutionally

 inadequate process. The Court determines that such a remedy balances Defendants’ distinct role

 in conducting foreign affairs with the grave need to right their legal wrongs; absent this relief, the

 Government could snatch anyone off the street, turn him over to a foreign country, and then

 effectively foreclose any corrective course of action. See Abrego Garcia, 145 S. Ct. at 1019

 (statement of Sotomayor, J.). Mindful of national-security and foreign-policy concerns, the

 Court will not — at least yet — order the Government to take any specific steps. It will instead

 allow Defendants to submit proposals regarding the appropriate actions that would “allow

 [Plaintiffs] to actually seek habeas relief.” J.G.G., 145 S. Ct. at 1006.

        D.      Bond

        Federal Rule of Civil Procedure 65(c) provides that a “court may issue a preliminary

 injunction or a temporary restraining order only if the movant gives security in an amount that

 the court considers proper to pay the costs and damages sustained by any party found to have

 been wrongfully enjoined or restrained.” In response to Plaintiffs’ original motion for a

 preliminary injunction, the Government requested that they post a bond to compensate it for “the

 cost of continued detention during the pendency of the injunction of individuals who would

 otherwise have been removed.” ECF No. 72 (Opp. to First PI) at 32. Plaintiffs, for their part,




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 asked the Court to dispense with the bond requirement or impose a nominal bond. See ECF No.

 77 (First PI Reply) at 24. As Plaintiffs point out, however, see PI Reply at 25 n.18, Defendants

 do not request a bond this time around and have thus arguably forfeited (or waived) the issue of

 the appropriate amount. See United States v. Olano, 507 U.S. 725, 733 (1993)).

        Regardless, given the Rule’s apparently compulsory language, the Court will consider

 whether and how to require a bond. To be sure, “[c]ourts in this Circuit have found the Rule

 vests broad discretion in the district court to determine the appropriate amount of an injunction

 bond, including the discretion to require no bond at all.” Escobar Francisco ex rel. P.J.E.S. v.

 Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (cleaned up). Some courts have accordingly

 withheld bond requirements when the parties asking for an injunction were likely unable to pay

 and “seeking to vindicate important rights under the immigration laws.” Id.; see also Simms v.

 District of Columbia, 872 F. Supp. 2d 90, 107 (D.D.C. 2012) (imposing minimal security

 requirement when costs sustained would be “modest,” plaintiff had “extremely limited financial

 resources,” and plaintiff sought to protect constitutional rights). Courts have also determined

 that withholding a bond is especially warranted when the defendant has not shown it will suffer a

 material monetary injury from an injunction. See Fed. Prescription Serv., Inc. v. Am. Pharm.

 Ass’n, 636 F.2d 755, 759 (D.C. Cir. 1980); N. Am.’s Building Trades Unions v. Dep’t of Def.,

 2025 WL 1423610, at *15 (D.D.C. May 16, 2025). While our Circuit has noted the “widely

 recognized discretion” of a district court “not only to set the amount of security but to dispense

 with any security requirement whatsoever,” Fed. Prescription Serv., 636 F.3d at 759, however, it

 has more recently expressed skepticism of this longstanding practice. See Nat’l Treasury Emps.

 Union v. Trump, 2025 WL 1441563, at *3 n.4 (D.C. Cir. May 16, 2025); see also Widakuswara

 v. Lake, 2025 WL 1288817, at *5 n.7 (D.C. Cir. May 3, 2025).




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        Here, Plaintiffs and their next friends are seeking to vindicate fundamental rights and,

 given their vulnerable status, in all likelihood lack the monetary resources necessary to post a

 bond. Because the Court has not decided the exact scope of the remedy, it is difficult at this

 point to assess the potential costs to the Government. The Court, however, recognizes that

 Defendants will have to deploy some of their resources in order to facilitate Plaintiffs’ ability to

 seek habeas review. Given that reality and the uncertain nature of courts’ ability to forgo a bond

 altogether, the Court will require Plaintiffs to post a bond. In light of the circumstances and

 nature of this case, it finds that a nominal amount is proper and exercises its discretion to require

 Plaintiffs to collectively post $1.00. See A.S.R. v. Trump, 2025 WL 1378784, at *23 (W.D. Pa.

 May 13, 2025) (taking same approach).

 IV.    Conclusion

        For the foregoing reasons, the Court will grant in part and deny in part Plaintiffs’ Motion

 for Preliminary Injunction; grant their Motion for Class Certification as to the CECOT Class,

 subject to the revisions previously discussed; and deny without prejudice their Motion for Class

 Certification as to the Criminal Custody Class. It will give Defendants one week to submit a

 Notice to the Court advising how they intend to facilitate the ability of the CECOT Class to seek

 habeas relief. A separate Order so stating will issue this day.




                                                               /s/ James E. Boasberg
                                                               JAMES E. BOASBERG
                                                               Chief Judge
 Date: June 4, 2025




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